Case:Highly
      1:17-md-02804-DAP Doc #:
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                                                                            Review

     1               UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
     2                      EASTERN DIVISION
     3
            IN RE: NATIONAL              )
     4      PRESCRIPTION                 )   MDL No. 2804
            OPIATE LITIGATION            )
     5      _____________________        )   Case No.
                                         )   1:17-MD-2804
     6                                   )
            THIS DOCUMENT RELATES        )   Hon. Dan A.
     7      TO ALL CASES                 )   Polster
     8
                      WEDNESDAY, JANUARY 9, 2019
     9
              HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
    10                   CONFIDENTIALITY REVIEW
    11                              – – –
    12                  Videotaped deposition of Michael
    13     Wessler, held at the offices of STINSON
    14     LEONARD STREET LLP, 7700 Forsyth Boulevard,
    15     Suite 1000, St. Louis, Missouri, commencing
    16     at 9:02 a.m., on the above date, before
    17     Carrie A. Campbell, Registered Diplomate
    18     Reporter and Certified Realtime Reporter.
    19
    20
    21
    22                             – – –
                      GOLKOW LITIGATION SERVICES
    23          877.370.3377 ph | 917.591.5672 fax
                              deps@golkow.com
    24
    25

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                                                          5
             mchalos@lchb.com                             6
    5     222 2nd Avenue South, Suite 1640
          Nashville, Tennessee 37201
                                                          7 EXHIBITS
    6     (615) 313-9000                           No.    8 Description                Page
    7     and                                    Mallinckrodt Plaintiffs' Notice of Oral
                                                          9                                      9
    8     BY: PETER ROOS                         Wessler 1    Videotaped Deposition of
             proos@lchb.com                   10           Michael Wessler and
    9     275 Battery Street, 29th Floor                   Requests for Production of
          San Francisco, California 94111     11           Documents
   10     (415) 956-1000                      12 Mallinckrodt Michael Wessler LinkedIn             14
          Counsel for Plaintiffs                 Wessler 2    profile printout
   11                                                    13
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   13     BY: WILLIAM DAVISON
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             william.davison@ropesgray.com                              MNK-T1_0007845224 -
   14        MAX R. MAEROWITZ                            15             MNK-T1_0007845241
             max.maerowitz@ropesgray.com                 16   Mallinckrodt Organizational chart,    72
   15     800 Boylston Street                                 Wessler 4     MNK-T1_0000000264 -
          Boston, Massachusetts 02199-3600               17             MNK-T1_0000000287
   16     (617) 951-7000                                 18   Mallinckrodt Separation of Employment     79
   17                                                         Wessler 5     Agreement and General
   18     ARMSTRONG TEASDALE, LLP                        19             Release,
          BY: SARAH E. HARMON                                           MNK-T1_0007845172 -
   19         sharmon@armstrongteasdale.com              20             MNK-T1_0007845199
          7700 Forsyth Boulevard, Suite 1800             21   Mallinckrodt Separation Agreement       85
   20     St. Louis, Missouri 63105                           Wessler 6     Summary for Payroll
          (314) 621-5070
   21     Counsel for Cardinal Health, Inc.
                                                         22             Purposes Only,
   22                                                                   MNK-T1_0007845168 -
   23                                                    23             MNK-T1_0007845171
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          BY: SYLVIA WINSTON NICHOLS                          Wessler 7   interview,
    2        sylvia.winston@jacksonkelly.com              2             MNK-T1_0007845318 -
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    3     150 Clay Street, Suite 500                      3
          Morgantown, West Virginia 26501                     Mallinckrodt Magnacet Presentation to    87
    4     (304) 284-4138                                  4   Wessler 8   Argent, 9/17/2007,
          Counsel for AmerisourceBergen                                 MNK-T1_0002713694
    5                                                     5
    6                                                         Mallinckrodt E-mail(s),             106
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    7     BY: NICHOLAS HODGES                             7   Mallinckrodt Pharmacy Guaranteed Sales   110
             nhodges@jonesday.com                             Wessler 10    Program Selling Scenario,
    8     4655 Executive Drive, Suite 1500                8             MNK-T1_0003064798
          San Diego, California 92121                     9   Mallinckrodt 2009 TussiCaps A&P Budget    113
    9     (858) 314-1200                                      Wessler 11    Presentation, December 10,
          Counsel for Walmart                            10             2008,
   10                                                                   MNK-T1_0001126586
   11                                                    11
          FOX ROTHSCHILD LLP                                  Mallinckrodt Mallinckrodt Interoffice   124
   12     BY: ADAM BUSLER                                12   Wessler 12   Correspondence, to VJ
             abusler@foxrothschild.com                                 Kaiman from Marco Polizzi,
   13        (VIA TELECONFERENCE)                        13            MNK-T1_0007901756 -
          1301 Atlantic Avenue, Suite 400                              MNK-T1_0007901762
   14     Atlantic City, New Jersey 08401                14
          (609) 572-2355                                      Mallinckrodt FY10 TussiCaps and Exalgo      127
   15     Counsel for Validus Pharmaceuticals            15   Wessler 13    Commercial Plans, October
   16                                                                  28, 2009,
   17     ARNOLD & PORTER KAYE SCHOLER, LLP              16            MNK-T1_0001192760
          BY: DAVID HIBEY                                17   Mallinckrodt Covidien Specialty         145
   18        david.hibey@arnoldporter.com                     Wessler 14    Pharmaceuticals Medical
             (VIA TELECONFERENCE)                        18            Affairs Team Meeting,
   19     601 Massachusetts Avenue, NW                                 February 18, 2010,
          Washington, DC 20001-3743                      19            MNK-T1_0001188838
   20     (202) 942-5000                                 20   Mallinckrodt Exalgo 32mg Launch Update, 158
          Counsel for Endo Pharmaceuticals                    Wessler 15    June 25, 2012,
   21     Inc., and Endo Health Solutions Inc.           21            MNK-T1_000078285 -
   22                                                                  MNK-T1_000078350
   23   VIDEOGRAPHER:                                    22
           JAMES ARNDT,                                  23
   24      Golkow Litigation Services                    24
   25                                                    25

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    1   Mallinckrodt FY15 Xartemis XR Brand                  172      1       defendants.                    09:02:51
        Wessler 16 Planning, Key Strategic                            2            MR. HODGES: Nick Hodges for           09:02:53
    2            Imperatives & Critical                               3       Walmart.                       09:02:53
                 Success Factors, August 7,                           4            MS. HARMON: Sarah Harmon for 09:02:55
    3            2014, Michael Wessler,                               5       Cardinal Health.                 09:02:55
                 Product Director,                                    6            VIDEOGRAPHER: Will counsel             09:02:56
    4            MNK-T1_0000942223
    5    (Exhibits attached to the deposition.)
                                                                      7       present on the phone please identify 09:02:57
    6                                                                 8       themselves.                    09:02:59
    7                                                                 9            MR. BUSLER: This is Adam            09:03:05
    8                                                                10       Busler from Fox Rothschild on behalf 09:03:08
    9                                                                11       of Validus Pharmaceuticals.           09:03:08
   10                                                                12            MR. HIBEY: David Hibey of          09:03:10
   11
                                                                     13       Arnold & Porter for Par and Endo.       09:03:12
   12
   13
                                                                     14            MS. WINSTON: Sylvia Winston           09:03:13
   14                                                                15       from Jackson Kelly for              09:03:17
   15                                                                16       AmerisourceBergen.                  09:03:19
   16                                                                17            MR. CHALOS: Adam, can you say 09:03:23
   17                                                                18       what company you're representing         09:03:26
   18                                                                19       again, please?                  09:03:27
   19                                                                20            MR. BUSLER: It's Validus.         09:03:29
   20
                                                                     21            VIDEOGRAPHER: The court              09:03:34
   21
   22
                                                                     22       reporter is Carrie Campbell, and she 09:03:36
   23
                                                                     23       will now swear in the witness.        09:03:37
   24                                                                24
   25                                                                25

                                                          Page 7                                                              Page 9
    1           VIDEOGRAPHER: We are now on               09:01:46    1              MICHAEL WESSLER,
    2      the record. My name is James Arndt.        09:02:09        2   of lawful age, having been first duly sworn
    3      I'm a videographer for Golkow            09:02:12          3   to tell the truth, the whole truth and
    4      Litigation Services.               09:02:13                4   nothing but the truth, deposes and says on
    5           Today's date is January 9,      09:02:13              5   behalf of the Plaintiffs, as follows:
    6      2019, and the time is 9:02 a m.        09:02:17            6                                    09:03:43
    7           This video deposition is being 09:02:21               7             DIRECT EXAMINATION                     09:03:43
    8      held in St. Louis, Missouri, in the    09:02:22            8   QUESTIONS BY MR. CHALOS:                            09:03:44
    9      matter of the National Prescription     09:02:24           9       Q. Thank you, Mr. Wessler, for           09:03:45
   10      Opiate Litigation for the United       09:02:26           10   being here today.                      09:03:48
   11      States District Court for the Northern 09:02:28           11             Have you ever given a           09:03:49
   12      District of Ohio, Eastern Division.     09:02:30          12   deposition before?                      09:03:50
   13           The deponent is Michael          09:02:31            13       A. No, I have not.                 09:03:51
   14      Wessler.                       09:02:33                   14       Q. Okay. So I'm sure you've             09:03:52
   15           Will counsel please identify     09:02:33            15   talked with your counsel about how to conduct 09:03:53
   16      themselves.                      09:02:34                 16   yourself here today. If I ask a question      09:03:56
   17           MR. CHALOS: Mark Chalos for            09:02:35      17   that you don't understand, will you please 09:03:59
   18      the plaintiffs.                 09:02:37                  18   let me know that you don't understand it?       09:04:01
   19           MR. ROOS: Peter Roos for the         09:02:39        19       A. Yes.                         09:04:03
   20      plaintiffs.                   09:02:40                    20       Q. Okay. And if you answer the            09:04:03
   21           MR. DAVISON: Williams Davison 09:02:42               21   question, I'm going to assume that you         09:04:05
   22      on behalf of Mallinckrodt, LLC,          09:02:43         22   understood it.                        09:04:07
   23      SpecGx, LLC, and the witness.            09:02:46         23             Is that fair?             09:04:07
   24           MR. MAEROWITZ: And Max                   09:02:48    24       A. Yes.                         09:04:08
   25      Maerowitz on behalf of the same           09:02:49        25             (Mallinckrodt-Wessler Exhibit 1 09:04:10

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                                                             Page 10                                                        Page 12
    1       marked for identification.)          09:04:10                 1            Do you see that? It starts on 09:05:55
    2   QUESTIONS BY MR. CHALOS:                            09:04:10      2   page number 4 of Exhibit Number 1 on the very 09:05:57
    3       Q. Okay. Let me hand you what we 09:04:11                     3   bottom there, Request for Production           09:06:01
    4   have marked as Exhibit Number 1, which is the 09:04:12            4   Number 1.                            09:06:02
    5   deposition notice for today.              09:04:15                5       A. Oh, okay.                     09:06:03
    6            We've got paper copies of most 09:04:22                  6       Q. And then it spills over the        09:06:03
    7   of these -- extra paper copies of most of      09:04:25           7   next page where there's Request for           09:06:06
    8   them, but he's going to be putting them up on 09:04:29            8   Productions Number 2 and 3.                 09:06:08
    9   the Elmo as well, so one way or another you 09:04:31              9            Do you have any documents in        09:06:13
   10   guys will be able to see them.             09:04:34              10   your possession that fit with the          09:06:17
   11            MR. CHALOS: And before we get 09:04:36                  11   descriptions in either Request for Production 09:06:19
   12       into this, I just wanted to make one     09:04:37            12   1, 2 or 3?                         09:06:21
   13       statement for the record before I       09:04:39             13       A. Yes.                        09:06:22
   14       forget.                       09:04:40                       14       Q. Okay. Have you produced those 09:06:23
   15            We last night received about -- 09:04:41                15   to counsel for Mallinckrodt?               09:06:26
   16       sometime after 9 p m. local time a       09:04:44            16       A. Yes.                        09:06:29
   17       batch of documents from Mallinckrodt         09:04:46        17       Q. Okay. What did you have in            09:06:29
   18       related to Mr. Wessler. I believe       09:04:50             18   your possession?                       09:06:30
   19       they came from his custodial file, and 09:04:52              19       A. Consistent with Request for          09:06:32
   20       I think there are somewhere north of       09:04:54          20   Production Number 1, a résumé.               09:06:37
   21       90 of those, 90 or 92 documents. We         09:04:56         21       Q. Okay.                        09:06:39
   22       haven't had a chance to review those       09:05:03          22       A. So that was -- that was           09:06:39
   23       and analyze those documents.             09:05:04            23   provided.                           09:06:41
   24            And I asked the Ropes & Gray         09:05:05           24            And then I had a binder related 09:06:41
   25       team to bring with them paper copies, 09:05:07               25   to the product launch of Xartemis and a        09:06:49

                                                             Page 11                                                        Page 13
    1       which they did -- and thank you very        09:05:08          1 couple of additional PowerPoint presentations 09:06:54
    2       much for doing that, Mr. Davison --         09:05:10          2 I think that were draft presentations for      09:06:58
    3       but I want to make clear for the         09:05:11             3 Exalgo or Xartemis. I can't recall off the      09:07:04
    4       record that we haven't really had a       09:05:13            4   top of my head.                       09:07:09
    5       chance to do anything meaningful with 09:05:14                5       Q. Okay. Did you have any other 09:07:09
    6       those documents.                     09:05:16                 6   documents in your possession that fit within 09:07:12
    7            So we'll reserve whatever         09:05:16               7   any of the categories in Exhibit 1?         09:07:14
    8       rights we have with respect to this       09:05:18            8       A. No.                         09:07:16
    9       deposition and those documents, and          09:05:20         9       Q. You produced those to counsel 09:07:17
   10       we're not waiving any rights we might 09:05:22               10   for Mallinckrodt?                      09:07:19
   11       have by going forward today, so...         09:05:26          11       A. I did.                      09:07:20
   12            MR. DAVISON: And understood               09:05:27      12       Q. When was that?                   09:07:20
   13       we're not waiving our rights to object 09:05:27              13       A. Early December.                   09:07:22
   14       either.                       09:05:29                       14            MR. CHALOS: Do you know, have 09:07:30
   15   QUESTIONS BY MR. CHALOS:                              09:05:30   15       we gotten those?                   09:07:32
   16       Q. Okay. So Exhibit Number 1, the 09:05:30                   16            MR. DAVISON: You should have 09:07:33
   17   deposition notice for today, Mr. Wessler,         09:05:34       17       received -- the résumé we received        09:07:33
   18   have you had a chance to review that            09:05:37         18       later, and I think we just produced     09:07:34
   19   document?                             09:05:39                   19       the résumé last week, but the other      09:07:36
   20       A. Yes.                         09:05:39                     20       documents produced were, I believe, in 09:07:37
   21       Q. Have you seen it before today? 09:05:40                   21       December, but you definitely have         09:07:39
   22       A. Yes.                         09:05:41                     22       them.                         09:07:41
   23       Q. If you look at Schedule A of           09:05:42           23            MR. CHALOS: Okay. Okay. I             09:07:42
   24   the deposition notice, there lists three      09:05:49           24       don't remember seeing the résumé, but 09:07:43
   25   requests for production of documents.            09:05:53        25       that may have been in that batch that 09:07:43

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    1        came before last night, but --        09:07:45              1 contained in Exhibit 2 is accurate?         09:10:02
    2             MR. DAVISON: I think it was          09:07:46          2       A. Yes.                       09:10:03
    3        earlier, maybe earlier this week or      09:07:46           3       Q. Did you input this information 09:10:03
    4        late last week. I'm not completely       09:07:48           4   into the LinkedIn system?                 09:10:05
    5        certain.                      09:07:50                      5       A. I did.                     09:10:06
    6             MR. CHALOS: Got it. Okay.            09:07:50          6       Q. Okay. Let's go back for just        09:10:07
    7   QUESTIONS BY MR. CHALOS:                             09:07:52    7   one second to the résumé that you produced to 09:10:12
    8        Q. So as you sit here today, there 09:07:52                 8   your counsel and to Mallinckrodt's counsel. 09:10:14
    9   are no documents in your possession that fit 09:07:54            9            Is the information contained     09:10:15
   10   within the categories in Exhibit 1 that you 09:07:57            10   within that résumé accurate?               09:10:17
   11   have not produced to counsel for              09:08:01          11       A. It is.                    09:10:18
   12   Mallinckrodt; is that correct?              09:08:02            12       Q. Okay. And is it --              09:10:19
   13        A. Correct.                      09:08:03                  13       A. To my knowledge, yeah.               09:10:20
   14             (Mallinckrodt-Wessler Exhibit 2 09:08:05              14       Q. Okay. And is it complete in          09:10:21
   15        marked for identification.)           09:08:06             15   terms of your work history and educational       09:10:24
   16   QUESTIONS BY MR. CHALOS:                             09:08:06   16   history?                          09:10:26
   17        Q. Okay. Let's mark as               09:08:06              17       A. My résumé?                      09:10:26
   18   Exhibit 2...                         09:08:11                   18       Q. Yes, sir.                   09:10:27
   19        A. Can I return this, or what do        09:08:20           19       A. I believe so. I might have         09:10:28
   20   I --                             09:08:21                       20   truncated it to a more germane experience, so 09:10:31
   21        Q. Oh, right. Good point. Yeah, 09:08:21                   21   I'm not sure how far back, off the top of my 09:10:34
   22   if you could just leave it to the side --    09:08:23           22   head, the résumé goes.                  09:10:36
   23        A. Okay.                        09:08:23                   23       Q. Okay. Let's talk now about           09:10:37
   24        Q. -- somewhere. There's about an 09:08:25                 24   Exhibit 2, your LinkedIn entry. And it has 09:10:40
   25   80 percent chance that I'm going to take that 09:08:26          25   you listed here as currently being the       09:10:47

                                                         Page 15                                                             Page 17
    1   and stash it in some of my papers and walk 09:08:28              1 director of marketing for North America for     09:10:50
    2   out of here with it. I know I'm not supposed 09:08:31            2 Curium Pharma.                             09:10:53
    3   to.                              09:08:33                        3            Is that your current job?        09:10:55
    4       A. Oh, okay.                      09:08:34                   4       A. Correct.                      09:10:56
    5       Q. Yeah. But, yeah, you can just 09:08:35                    5       Q. What do you do with them?               09:10:57
    6   put them to the side, and if it gets to be 09:08:36              6       A. I'm responsible for helping to 09:10:58
    7   too disorganized, let us know, and we can        09:08:37        7   develop a strategy to launch a new asset.       09:11:03
    8   maybe put them on a chair or something.          09:08:41        8       Q. Okay. What is the new asset?           09:11:06
    9       A. Okay.                         09:08:41                    9   I mean, is it public information, or is it    09:11:08
   10       Q. I tend not to go back to refer 09:08:42                  10   secret?                            09:11:11
   11   to earlier exhibits, but then again,        09:08:43            11       A. It is public information. It's 09:11:11
   12   sometimes I do.                         09:08:45                12   copper 64 Dotatate.                      09:11:15
   13            Exhibit 2 is a printout from      09:08:46             13       Q. What is that?                   09:11:15
   14   LinkedIn that we printed a week or so ago. 09:08:50             14       A. It's a diagnostic agent.           09:11:16
   15   Let me hand that to you --                 09:08:54             15       Q. Does Curium Pharmacy --                09:11:18
   16       A. Okay.                         09:08:54                   16   sorry -- Curium Pharma produce any opioids? 09:11:25
   17       Q. -- and we've got some copies of 09:08:55                 17       A. Not to my knowledge.                 09:11:28
   18   this as well.                        09:08:56                   18       Q. Okay. Do you in your current            09:11:30
   19            And if you could take a look       09:08:57            19   job have anything to do with opioids?           09:11:32
   20   through that. My first question to you will 09:09:03            20       A. No.                          09:11:33
   21   be is the information contained in Exhibit 2 09:09:05           21       Q. In the introduction to your -- 09:11:33
   22   accurate. So you can just take a minute to 09:09:07             22   I guess that's an introduction -- the first 09:11:38
   23   look at that.                        09:09:12                   23   section of your LinkedIn entry in Exhibit 2, 09:11:40
   24       A. Yes.                         09:09:13                    24   the second paragraph there it says, "Achieved 09:11:46
   25       Q. Okay. So the information             09:10:00            25   130 percent of the financial forecast of       09:11:50

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                                                              Page 18                                                           Page 20
    1 Exalgo with only nine months of preparation,        09:11:53       1             THE WITNESS: I'm not sure I         09:13:56
    2 and ensured significant sales force             09:11:56           2        understand the question.            09:13:59
    3 engagement through a robust communication and 09:12:00             3   QUESTIONS BY MR. CHALOS:                           09:13:59
    4 incentive plan amidst another product            09:12:03          4        Q. Okay. You know, let's put that 09:14:00
    5 launch."                             09:12:08                      5   to the side. When we get to your experience 09:14:03
    6           Do you see that?              09:12:08                   6   at Mallinckrodt, maybe we'll dig into that a 09:14:05
    7      A.    Yes.                      09:12:08                      7   little bit more.                    09:14:08
    8      Q.    Okay. And that's referring to     09:12:09              8        A. Okay.                       09:14:09
    9 your time at Mallinckrodt?                  09:12:10               9        Q. Back to Exhibit Number 2, you 09:14:09
   10      A.    Correct.                   09:12:11                    10   said that you "ensured significant sales     09:14:12
   11      Q.    Okay. And what was your role          09:12:11         11   force engagement through a robust             09:14:14
   12 with respect to Exalgo at Mallinckrodt?           09:12:16        12   communication and incentive plan amidst          09:14:16
   13      A.    I helped develop the messaging        09:12:20         13   another product launch." Let's break that 09:14:20
   14 for the product and the sales collateral,       09:12:25          14   down a little bit.                   09:14:24
   15 meaning the material that the sales force         09:12:28        15             What was your role with respect 09:14:24
   16 used in their promotional efforts.          09:12:30              16   to the sales force engagement?             09:14:26
   17      Q.    Was the messaging that you           09:12:32          17        A. We communicated with them              09:14:28
   18 helped develop limited to just the messaging        09:12:37      18   regularly, and we presented and helped to       09:14:33
   19 that the sales force would deliver or was the 09:12:39            19   train them at the sales force launch meeting. 09:14:36
   20 messaging more broad than that?                  09:12:42         20        Q. Who is "we," when you say "we"? 09:14:39
   21           MR. DAVISON: Objection.                09:12:43         21        A. The marketing department.           09:14:44
   22           THE WITNESS: It was the               09:12:44          22        Q. Okay. And what was your role 09:14:45
   23      messaging that the sales force         09:12:47              23   with respect to the sales force incentive    09:14:46
   24      delivered, but we used that same           09:12:48          24   plan?                             09:14:49
   25      messaging in nonpersonal tactics as         09:12:52         25        A. I was aware of it and -- but      09:14:50

                                                              Page 19                                                           Page 21
    1       well.                        09:12:55                        1 that was -- I mean, it was a team, people        09:14:55
    2   QUESTIONS BY MR. CHALOS:                          09:12:55       2   that had awareness of the sales incentive      09:14:58
    3       Q. Okay. What does that mean            09:12:55             3   plan, but that was really driven by sales     09:15:00
    4   "nonpersonal tactics"?                  09:12:57                 4   operations in terms of the framework of the 09:15:02
    5       A. So like e-mail blasts, digital 09:12:58                   5   plan.                             09:15:05
    6   advertising, that type of thing.         09:13:01                6       Q. So your role with respect to        09:15:06
    7       Q. And who was the target audience 09:13:03                  7   the incentive plan was just to be aware of 09:15:08
    8   of the nonpersonal tactics?              09:13:09                8   it?                             09:15:11
    9       A. Physicians pretty consistent       09:13:11               9            MR. DAVISON: Objection.              09:15:11
   10   with the ones that we targeted through our     09:13:14         10            THE WITNESS: Yeah, I was aware 09:15:12
   11   sales force.                       09:13:16                     11       of it.                       09:15:13
   12       Q. Was the same messaging that you 09:13:16                 12   QUESTIONS BY MR. CHALOS:                            09:15:13
   13   developed for Exalgo also used for          09:13:21            13       Q. Did you have any role in            09:15:14
   14   pharmacies?                          09:13:27                   14   crafting the incentive plan for sales       09:15:15
   15       A. There might be a few different 09:13:28                  15   representatives?                      09:15:18
   16   messages, but for the most part the messaging 09:13:34          16       A. Not really.                   09:15:18
   17   was consistent.                      09:13:38                   17       Q. You go on to say here in            09:15:18
   18       Q. So what I'm getting at is the      09:13:39              18   Exhibit 2 that "Also increased revenue more 09:15:23
   19   messaging that you helped deliver -- or       09:13:42          19   than $20 million for Exalgo through the         09:15:26
   20   helped develop for Exalgo, was this the       09:13:44          20   development and execution of a molecule           09:15:29
   21   totality of the messaging for Exalgo, however 09:13:47          21   matching strategy."                    09:15:33
   22   it was used, or was there a separate group    09:13:50          22            What is that?               09:15:35
   23   that developed, for example, the messaging      09:13:52        23       A. It's a strategy that we          09:15:36
   24   for pharmacies?                       09:13:55                  24   developed to, I guess -- what's the best way 09:15:38
   25            MR. DAVISON: Objection.             09:13:55           25   to frame this? It was really to identify -- 09:15:48

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    1 or work with physicians to help them perhaps          09:15:53      1 prescriptions for Mallinckrodt product?         09:18:25
    2   identify patients appropriate for Exalgo.      09:15:55           2            MR. DAVISON: Objection.             09:18:27
    3            So hydromorphone, which is what 09:15:59                 3            THE WITNESS: Is that -- I'm        09:18:28
    4   Exalgo is, is the active metabolite of       09:16:03             4       sorry, is that a question?         09:18:32
    5   hydrocodone. So patients that fit the opioid 09:16:06             5   QUESTIONS BY MR. CHALOS:                          09:18:33
    6   tolerant definition, that had previously been 09:16:10            6       Q. Oh, yes, that is a question.      09:18:33
    7   exposed to hydrocodone, that had satisfactory 09:16:15            7   Yes.                            09:18:35
    8   results, meaning they didn't experience a lot 09:16:18            8       A. Okay. Can you -- can you            09:18:35
    9   of untoward effects, we felt that they might 09:16:21             9   repeat the question?                  09:18:36
   10   be appropriate candidates because of the fact 09:16:23           10       Q. Sure, yes.                  09:18:37
   11   they had been exposed to hydromorphone              09:16:26     11            And from time to time,         09:18:38
   12   previously through their exposure to           09:16:30          12   Mr. Davison or someone else may make an           09:18:39
   13   hydrocodone.                           09:16:32                  13   objection.                        09:18:42
   14       Q. Okay. And you go on to say             09:16:32           14       A. Yes.                       09:18:42
   15   here that you "drove widespread adoption          09:16:34       15       Q. And unless they tell you not to 09:18:42
   16   through a robust KOL," key opinion leader,         09:16:38      16   answer, you can go ahead and answer the         09:18:44
   17   "satellite broadcast of the scientific      09:16:42             17   question and pay no mind to --             09:18:46
   18   messaging to more than 1,000 physician           09:16:45        18       A. Understand.                   09:18:48
   19   attendees."                          09:16:49                    19       Q. -- the lawyers' back and forth. 09:18:50
   20            What does that mean?             09:16:49               20            So the question was: The        09:18:52
   21       A. We had a tactic where we             09:16:50             21   intention of using key opinion leaders was to 09:18:53
   22   broadcast a -- our marketing messaging to        09:16:54        22   increase the number of prescriptions of       09:18:55
   23   over a thousand physician attendees, and that 09:16:59           23   Mallinckrodt products where appropriate?        09:18:58
   24   was a peer-to-peer tactic that we worked with 09:17:02           24            MR. DAVISON: Same objection. 09:19:00
   25   our medical affairs team on where, you know, 09:17:04            25            THE WITNESS: The intention of 09:19:01

                                                             Page 23                                                              Page 25
    1 physicians talked about the appropriate            09:17:08         1       using a key opinion leader is to         09:19:03
    2   patients for Exalgo, the benefits and risks, 09:17:12             2       appropriately educate physicians on         09:19:05
    3   and that was broadcast to a thousand or more 09:17:16             3       the risks and benefits of the product 09:19:07
    4   physicians -- or more additional physicians. 09:17:19             4       so that they can make the decision on, 09:19:10
    5       Q. Was that a one-time event?             09:17:21            5       you know, the appropriate patients.        09:19:13
    6       A. I can't recall. I believe we        09:17:23               6   QUESTIONS BY MR. CHALOS:                             09:19:14
    7   did it twice.                        09:17:28                     7       Q. And the hope, from a marketing 09:19:15
    8       Q. What's a key opinion leader?           09:17:28            8   standpoint, is that that information          09:19:18
    9       A. A key opinion leader is a            09:17:34              9   encourages an increase in the number of           09:19:19
   10   physician that is -- has a good reputation in 09:17:36           10   Mallinckrodt products -- prescriptions where 09:19:23
   11   the community, and they are usually              09:17:42        11   they're appropriate to use; is that fair to 09:19:25
   12   well-published and perhaps in an academic           09:17:47     12   say?                              09:19:27
   13   center.                             09:17:50                     13       A. The intent is to, again,           09:19:27
   14       Q. What is the purpose of using a 09:17:51                   14   appropriately educate physicians on the risks 09:19:29
   15   key opinion leader in marketing?               09:17:57          15   and benefits of the product so that they can 09:19:32
   16             MR. DAVISON: Objection.               09:17:59         16   make the decision ultimately on which            09:19:34
   17             THE WITNESS: I can say that we 09:17:59                17   patients they should use the product.          09:19:38
   18       felt like they were -- they added        09:18:04            18       Q. And when more prescriptions for 09:19:40
   19       credibility. It's just like any sort 09:18:07                19   the Mallinckrodt product are written, the        09:19:51
   20       of tactic where you get an expert; you 09:18:11              20   marketing efforts are considered to be more 09:19:56
   21       would get an expert to speak on a          09:18:16          21   successful?                          09:20:00
   22       topic.                         09:18:17                      22            MR. DAVISON: Objection.               09:20:00
   23   QUESTIONS BY MR. CHALOS:                              09:18:18   23            THE WITNESS: As long as it's 09:20:00
   24       Q. The intention of using key            09:18:20            24       for the right patients and the         09:20:02
   25   opinion leaders was to increase the number of 09:18:21           25       appropriate patients.                09:20:03

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    1 QUESTIONS BY MR. CHALOS:                             09:20:05     1 QUESTIONS BY MR. CHALOS:                            09:21:50
    2       Q. Then yes?                       09:20:06                 2      Q.    With the goal of, for the         09:21:54
    3       A. Yes.                         09:20:07                    3 appropriate patients, increasing the number        09:21:56
    4       Q. Okay. Right. That's what I'm 09:20:08                    4   of Mallinckrodt prescriptions?               09:21:58
    5   driving at.                         09:20:13                    5            MR. DAVISON: Objection.               09:22:00
    6            So I'm not suggesting that your 09:20:13               6            THE WITNESS: Yes.                  09:22:01
    7   marketing efforts were encouraging              09:20:16        7   QUESTIONS BY MR. CHALOS:                            09:22:01
    8   prescriptions for inappropriate patients.      09:20:18         8       Q. You list here your jobs, back         09:22:08
    9   What I'm trying to understand is that when        09:20:21      9   to Exhibit 2, your jobs with Mallinckrodt -- 09:22:11
   10   you undertake from a marketing standpoint          09:20:25    10   well, let me take it more broadly.           09:22:13
   11   something like a broadcast of key opinion        09:20:27      11            You start in the present, and     09:22:16
   12   leaders to more than a thousand physicians, 09:20:29           12   you go back to your time with Jones Pharma, 09:22:18
   13   from a marketing standpoint, the hope is that 09:20:31         13   Inc., which was February 1996 through            09:22:24
   14   that will, for the appropriate patients,     09:20:34          14   July 2001.                           09:22:27
   15   drive up the number of prescriptions for that 09:20:38         15            Do you see that?              09:22:27
   16   product; is that fair to say?             09:20:40             16       A. Yes.                         09:22:27
   17       A. Yes, it's to -- it's to --      09:20:41                17       Q. Did you have any other jobs in 09:22:29
   18   again, as long as we're clear that it's for 09:20:45           18   the pharmaceutical industry between 1996 and 09:22:32
   19   the appropriate patients and that ultimately, 09:20:48         19   the present that are not listed in Exhibit 2? 09:22:36
   20   you know, it's the physician's decision        09:20:51        20            And you can take as much time        09:22:43
   21   regarding that.                       09:20:54                 21   as you need to review that.                09:22:45
   22       Q. Then the answer is yes?              09:20:54           22       A. No.                          09:22:46
   23       A. Yes.                         09:20:58                   23       Q. Okay. In what -- well, let me 09:22:55
   24       Q. Okay. Yeah, sorry, we're             09:20:59           24   just take it company by company.               09:23:01
   25   just -- we are communicating, but you have to 09:21:00         25            For Jones Pharma, did you have 09:23:03

                                                             Page 27                                                          Page 29
    1 sort of verbalize the answer, yes, no, I          09:21:04        1 anything to do with opioids there?              09:23:04
    2   don't know --                           09:21:07                2       A. No.                        09:23:05
    3        A. I understand.                    09:21:08               3       Q. And for Biomedical Systems, did 09:23:06
    4        Q. -- and feel free to explain as 09:21:08                 4   you have anything to do with opioids there? 09:23:09
    5   long as you want. But it's not exactly a         09:21:11       5       A. No.                        09:23:11
    6   regular conversation.                     09:21:13              6       Q. So your only professional           09:23:12
    7        A. Understand.                      09:21:17               7   experience with opioids was during the time 09:23:13
    8        Q. Okay. So let me see if I can 09:21:17                   8   that you were at Mallinckrodt?              09:23:15
    9   do that again so we can clear up the record. 09:21:19           9       A. Yes.                       09:23:16
   10              From a marketing standpoint,        09:21:22        10       Q. Okay. And you were there for 09:23:16
   11   the purpose of doing and undertaking like          09:21:24    11   14 years?                          09:23:18
   12   having key opinion leaders at a satellite        09:21:28      12       A. Yes.                       09:23:19
   13   broadcast to more than a thousand physicians 09:21:31          13       Q. The opioid products that you         09:23:19
   14   is to, for the appropriate patients, increase 09:21:33         14   were involved with professionally at          09:23:31
   15   the number of prescriptions for Mallinckrodt 09:21:36          15   Mallinckrodt, let me list the ones that I    09:23:32
   16   products?                             09:21:38                 16   know of, and tell me if I miss any.         09:23:36
   17              MR. DAVISON: Objection to              09:21:38     17            TussiCaps, Magnacet, Exalgo and 09:23:39
   18        form.                          09:21:39                   18   Xartemis.                           09:23:42
   19              THE WITNESS: It's -- again,         09:21:39        19            Were there any others that you 09:23:44
   20        it's to differentiate our product from 09:21:40           20   were involved with at Mallinckrodt? We're 09:23:46
   21        the competitive products so that we        09:21:43       21   talking about opioids.                  09:23:47
   22        can educate physicians on the            09:21:47         22       A. No.                        09:23:48
   23        features, benefits and risks of our      09:21:48         23       Q. Okay. Let's start with            09:23:50
   24        product.                        09:21:50                  24   Tussi -- no, sorry, Magnacet.              09:24:02
   25                                                                  25            Magnacet was the first in time; 09:24:04

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    1 is that right?                         09:24:06                       1       acute pain. That was the indication. 09:25:58
    2      A.    I believe so, yes.            09:24:06                     2   QUESTIONS BY MR. CHALOS:                          09:26:04
    3      Q.    Okay. Let's start with          09:24:07                   3       Q. Okay. Is that still on the      09:26:05
    4 Magnacet here.                           09:24:09                     4   market, Magnacet?                      09:26:13
    5           You list in Exhibit 2 on the      09:24:10                  5       A. I do not believe so.           09:26:14
    6 second page under your role as a senior             09:24:12          6       Q. Was it removed from the market 09:26:16
    7 product manager, October 2006 to                   09:24:16           7   while you were at Mallinckrodt?             09:26:18
    8 November 2009, you said you "led the                09:24:20          8       A. I do not believe so.           09:26:19
    9 commercial launch of Magnacet and TussiCaps,             09:24:21     9       Q. Do you think it's been removed 09:26:20
   10 inclusive of prelaunch market development,            09:24:26       10   since then?                        09:26:23
   11 manufacturing and clinical development               09:24:30        11       A. I believe so.                09:26:24
   12 management."                             09:24:32                    12       Q. Do you have any idea when?           09:26:24
   13           Do you see that?               09:24:32                    13       A. No, I do not.                09:26:28
   14      A.    Yes.                      09:24:33                        14       Q. Do you know why it was removed 09:26:28
   15      Q.    And that's true for Magnacet?          09:24:33           15   from the market?                      09:26:31
   16      A.    That's not true for Magnacet.        09:24:36             16            MR. DAVISON: Objection.            09:26:32
   17 That's more true for TussiCaps.                 09:24:38             17            THE WITNESS: I do not.            09:26:32
   18      Q.    Okay. What was your role with           09:24:40          18   QUESTIONS BY MR. CHALOS:                          09:26:33
   19 respect to Magnacet?                       09:24:41                  19       Q. Okay. For how long a period of 09:26:34
   20      A.    I helped to develop the          09:24:43                 20   time did Mallinckrodt actively promote        09:26:35
   21 marketing message for Magnacet and the sales           09:24:46      21   Magnacet?                           09:26:39
   22 collateral.                          09:24:52                        22       A. I can't recall.             09:26:40
   23      Q.    What is sales collateral?        09:24:52                 23       Q. Was it promoted during the          09:26:41
   24      A.    Like a sales aid.             09:24:54                    24   entire time that you were at Mallinckrodt?    09:26:43
   25      Q.    Does that include like the pens      09:24:57             25       A. No.                       09:26:45

                                                              Page 31                                                                 Page 33
    1 and pads and that stuff that you used to be           09:25:00        1      Q.    Okay. So there came a time         09:26:45
    2 able to do?                         09:25:02                          2 somewhere along the way during your 14 years            09:26:48
    3       A. Yes. Yes.                    09:25:03                        3 there that Mallinckrodt decided to no longer        09:26:51
    4       Q. Okay. That's called sales         09:25:04                   4 actively promote Magnacet?                    09:26:54
    5   collateral?                       09:25:07                          5      A.    Correct.                 09:26:56
    6       A. Yeah.                      09:25:07                          6      Q.    Were you involved in that         09:26:57
    7       Q. Okay. I learned a new word at 09:25:08                       7 addition at all?                      09:26:58
    8   the last deposition, too, armamentarium.      09:25:12              8      A.    No. I believe they sold the       09:26:59
    9       A. Armamentarium?                    09:25:15                   9 asset.                            09:27:00
   10       Q. Armamentarium. Yeah, there... 09:25:17                      10      Q.    Sold the product?              09:27:02
   11            Okay. So you developed the        09:25:19                11      A.    Yes.                    09:27:03
   12   messaging and the sales collateral for      09:25:20               12      Q.    The drug? Okay. Got it.           09:27:03
   13   Magnacet?                           09:25:23                       13           They didn't -- somebody else       09:27:06
   14       A. Yes.                      09:25:24                          14 took it over?                        09:27:08
   15       Q. Okay. Did you do anything else 09:25:24                     15      A.    That's my understanding.          09:27:09
   16   with respect to Magnacet?                09:25:26                  16      Q.    Okay. You go on to say here,        09:27:11
   17       A. Not that I can recall.          09:25:27                    17 "Within two years of launch, achieved full          09:27:15
   18       Q. Okay. What was Magnacet?              09:25:33              18 payback on Magnacet through development and              09:27:18
   19       A. It was an oxycodone-              09:25:34                  19 execution of a strategic promotional            09:27:21
   20   acetaminophen combination product.             09:25:37            20 messaging strategy."                      09:27:24
   21       Q. For what type of patients was 09:25:40                      21           Do you see that?               09:27:25
   22   Magnacet typically prescribed? Was it acute 09:25:52               22      A.    Yes.                    09:27:25
   23   pain or chronic pain or...             09:25:55                    23      Q.    What does that mean?              09:27:25
   24            MR. DAVISON: Objection.            09:25:56               24      A.    That we were able to fully        09:27:27
   25            THE WITNESS: I believe it was 09:25:57                    25 cover the cost of purchasing Magnacet through 09:27:32


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     1 the marketing messaging and sales force         09:27:39         1            So the return on investment for 09:29:28
     2 efforts.                            09:27:44                     2   the marketing expenditures for a product, was 09:29:33
     3       Q. Meaning the sales of Magnacet          09:27:45         3   that done for each of the four opioid         09:29:36
     4   were sufficient to cover with the revenue      09:27:51        4   products that you were involved with?            09:29:38
     5   generated by the costs of purchasing the       09:27:55        5       A. Generally, you do like return 09:29:40
     6   Magnacet product?                       09:28:00               6   on investment for a specific marketing          09:29:42
     7       A. Correct.                     09:28:01                   7   tactic, not for an overall brand.           09:29:45
     8       Q. Okay. Did you, at any time           09:28:02           8       Q. Okay. What do you mean by                09:29:48
     9   while you were at Mallinckrodt, develop a        09:28:06      9   that?                              09:29:49
    10   method for measuring the return on investment 09:28:09        10       A. So you had asked earlier about 09:29:49
    11   for marketing expenditures?                09:28:12           11   the satellite broadcast.                 09:29:52
    12            MR. DAVISON: Objection.             09:28:14         12       Q. Uh-huh.                        09:29:54
    13            THE WITNESS: I'm not sure I          09:28:15        13       A. So you would calculate the -- 09:29:55
    14       understand the question. Can you         09:28:20         14   sales operations would look at the physicians 09:29:58
    15       repeat that?                    09:28:22                  15   that attended, and they would calculate         09:30:00
    16   QUESTIONS BY MR. CHALOS:                           09:28:23   16   potential return on investment on that         09:30:02
    17       Q. Sure.                       09:28:23                   17   specific tactic but not on the entirety of    09:30:04
    18            Did you -- let me ask it maybe 09:28:23              18   the brand.                           09:30:09
    19   a different way.                     09:28:25                 19       Q. I see.                       09:30:09
    20            Did you -- when you were at       09:28:25           20            Was that calculation done for 09:30:09
    21   Mallinckrodt, did you ever have any           09:28:26        21   tactics for all four of the opioids that you 09:30:15
    22   experience with assessing the return on        09:28:27       22   were involved with at Mallinckrodt?             09:30:19
    23   investment for marketing expenditures?          09:28:30      23       A. I can't remember.                  09:30:20
    24            MR. DAVISON: Objection.             09:28:32         24       Q. Was there a return on               09:30:21
    25            THE WITNESS: I'm sure we did. 09:28:33               25   investment calculation made for each of the 09:30:24

                                                           Page 35                                                              Page 37
     1 QUESTIONS BY MR. CHALOS:                           09:28:34      1 marketing undertakings while you were at           09:30:29
     2        Q. Okay. Did you have any role in      09:28:34           2 Mallinckrodt?                            09:30:32
     3   that?                            09:28:36                      3             MR. DAVISON: Objection.              09:30:32
     4        A. Generally I did not calculate       09:28:37           4             THE WITNESS: So for every             09:30:33
     5   the return on investment. That was handled 09:28:43            5        marketing tactic, was a return on        09:30:34
     6   by another group in the organization.         09:28:45         6        investment calculated?               09:30:38
     7   Usually sales operations.                 09:28:48             7   QUESTIONS BY MR. CHALOS:                             09:30:39
     8        Q. Do you know how they calculated 09:28:49               8        Q. Yeah, in categorical terms. In 09:30:39
     9   the return on investment for marketing         09:28:54        9   other words -- well, let me ask you. How was 09:30:41
    10   expenditures?                         09:28:57                10   it -- let me try it a different way.       09:30:43
    11            MR. DAVISON: Objection.              09:28:58        11             How was it -- when you were at 09:30:45
    12            THE WITNESS: I can't speculate 09:28:59              12   Mallinckrodt, how did the company decide            09:30:46
    13        on how they did it.               09:29:00               13   whether to conduct a return on investment for 09:30:48
    14   QUESTIONS BY MR. CHALOS:                           09:29:01   14   a marketing expenditure?                    09:30:51
    15        Q. Was that -- was that             09:29:01             15             MR. DAVISON: Objection.              09:30:52
    16   calculation, meaning the return on investment 09:29:06        16             THE WITNESS: I think it really 09:30:53
    17   for marketing expenditures, was that done for 09:29:08        17        depended on the feasibility of that      09:30:57
    18   all four of the opioid products that you were 09:29:10        18        analysis based on the tactic itself.   09:30:59
    19   involved with at Mallinckrodt, to your         09:29:13       19   QUESTIONS BY MR. CHALOS:                             09:31:02
    20   knowledge?                            09:29:16                20        Q. Okay. And what do you mean by 09:31:02
    21        A. Generally -- that's a very        09:29:16            21   that?                              09:31:03
    22   broad question.                       09:29:24                22        A. A journal ad, for example,           09:31:03
    23            Can you ask it maybe a           09:29:24            23   might be very, very difficult to calculate      09:31:09
    24   different way?                        09:29:26                24   the return on investment because you don't 09:31:10
    25        Q. Yeah.                       09:29:27                  25   know what specific physicians might have           09:31:12

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                                                                  Page 38                                                            Page 40
     1 looked at it. So there are certain          09:31:14                   1 center of the page under actual result. It      09:33:34
     2   limitations based on the tactic, probably, to 09:31:19               2   says, "He created the database to measure the 09:33:36
     3   the ability to calculate that.          09:31:23                     3   ROI on many of the marketing programs and           09:33:40
     4       Q. What would be a tactic that          09:31:25                 4   trained the marketing analysts on its use." 09:33:44
     5   would be easier to calculate the return on     09:31:26              5            Do you see that?              09:33:47
     6   investment for?                       09:31:31                       6       A. Yes.                         09:33:47
     7       A. Sort of a -- like an e-mail       09:31:32                    7       Q. What is that referring to?          09:33:47
     8   blast.                           09:31:35                            8       A. That was referring to my time          09:33:48
     9       Q. Where you could then measure -- 09:31:37                      9   prior to being in marketing, when I was -- I 09:33:55
    10   you can calculate how much it cost to do the 09:31:44               10   can't remember my title at the time. I think 09:33:58
    11   e-mail blast, and then you know the doctors 09:31:46                11   manager of sales administration. I worked 09:34:01
    12   to whom it went, and then you calculate         09:31:49            12   with an outside vendor to create a call       09:34:04
    13   whether they prescribed additional           09:31:50               13   reporting database.                     09:34:07
    14   Mallinckrodt products after the e-mail blast? 09:31:53              14       Q. Call reporting database?            09:34:08
    15            Is that roughly how it        09:31:54                     15       A. Yes.                         09:34:11
    16   happened?                            09:31:56                       16       Q. Okay. What was the purpose of 09:34:12
    17            MR. DAVISON: Objection.              09:31:56              17   that?                             09:34:13
    18            THE WITNESS: I believe so.          09:31:56               18       A. So that representatives could        09:34:13
    19   QUESTIONS BY MR. CHALOS:                            09:31:56        19   enter into this database calls that they had 09:34:17
    20       Q. Okay.                        09:31:56                        20   made to physicians so that we could see, you 09:34:21
    21       A. But again, I mentioned a lot of 09:31:57                     21   know, which physicians the representatives 09:34:25
    22   times the sales operations group actually did 09:31:59              22   were detailing and educating.               09:34:27
    23   the analysis.                       09:32:02                        23       Q. And how did that measure the            09:34:29
    24            (Mallinckrodt-Wessler Exhibit 3 09:32:03                   24   ROI on many of the marketing programs?             09:34:35
    25       marked for identification.)          09:32:04                   25       A. We would look at a program that 09:34:39

                                                                  Page 39                                                            Page 41
     1 QUESTIONS BY MR. CHALOS:                                09:32:04       1 they did, and if that information was entered 09:34:42
     2      Q.    Got it. Let's mark this as the 09:32:04                     2 in the call reporting database, we could        09:34:45
     3 next exhibit.                        09:32:06                          3 match that up to prescribing data to see        09:34:47
     4           Okay. So we've marked as            09:32:07                 4   potentially what the impact was prior to the 09:34:52
     5 Exhibit 3 a document that has the Bates range 09:32:21                 5   tactic and post the tactic.             09:34:55
     6 MNK-T1_0007845224 through 7845241. And it                  09:32:24    6       Q. Was there a database that           09:34:58
     7 says it's a performance management document,            09:32:37       7   served a similar function in place during the 09:35:07
     8 October 2004.                             09:32:42                     8   entire rest of the time you were at         09:35:11
     9           This is the "this is your life" 09:32:44                     9   Mallinckrodt --                       09:35:12
    10 portion of the deposition. This is your         09:32:48              10            MR. DAVISON: Objection.              09:35:13
    11 performance evaluation to 2004.                 09:32:50              11   QUESTIONS BY MR. CHALOS:                           09:35:13
    12      A.    Okay.                     09:32:52                         12       Q. -- to your knowledge?              09:35:14
    13      Q.    And you can read the whole           09:32:52              13            MR. DAVISON: Objection.              09:35:14
    14 thing if you want. I'm going to refer you        09:32:56             14       Sorry.                         09:35:15
    15 specifically to page 4 of the document, and          09:32:58         15            THE WITNESS: I believe that          09:35:15
    16 I'm going to ask you about -- there's one        09:33:00             16       there was a call reporting database,     09:35:16
    17 particular sentence in there I wanted to ask         09:33:03         17       but this particular one that I worked 09:35:18
    18 you about. It's under actual results, right     09:33:05              18       on was disbanded.                   09:35:21
    19 kind of in the middle of the page.             09:33:07               19   QUESTIONS BY MR. CHALOS:                           09:35:24
    20      A.    Okay.                     09:33:10                         20       Q. Do you remember when that was? 09:35:28
    21      Q.    It's one page further along.      09:33:11                 21       A. I honestly do not.              09:35:30
    22 It says 4 at the bottom, but it's Bates        09:33:14               22       Q. So the database that's            09:35:31
    23 number MNK-T1_0007845230.                             09:33:17        23   referenced on the page 4 of Exhibit 3 is the 09:35:35
    24           And the sentence I want to ask       09:33:30               24   call reporting database?                 09:35:39
    25 you about there is the second one in the         09:33:32             25       A. Correct.                     09:35:41

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     1       Q. Okay. So there's no separate         09:35:42            1 marketing tactic?                        09:37:32
     2   database intended to measure the ROI for         09:35:44       2            MR. DAVISON: Objection.              09:37:34
     3   marketing programs?                       09:35:47              3            THE WITNESS: Sometimes -- you 09:37:35
     4            MR. DAVISON: Objection.              09:35:49          4       know, again, I mentioned that it's      09:37:43
     5            THE WITNESS: Not to my               09:35:49          5       difficult at times to measure the      09:37:46
     6       knowledge.                        09:35:51                  6       success of a marketing tactic, so a     09:37:48
     7   QUESTIONS BY MR. CHALOS:                            09:35:51    7       lot of times it was really, did we hit 09:37:51
     8       Q. Okay. Was the call reporting          09:35:53           8       the goal or did we not hit the goal     09:37:53
     9   database used, after they phased out the one 09:35:55           9       for the product.                  09:37:56
    10   you created with the outside vendor, was that 09:36:01         10   QUESTIONS BY MR. CHALOS:                           09:37:56
    11   used to measure ROI on marketing expenditures 09:36:03         11       Q. In terms of number of              09:37:57
    12   as well?                            09:36:06                   12   prescriptions?                        09:37:58
    13            MR. DAVISON: Objection.              09:36:06         13       A. Right.                       09:37:58
    14            THE WITNESS: I'm sorry, I'm           09:36:06        14       Q. Okay. Were there any other            09:37:59
    15       not sure I understand the question.      09:36:08          15   metrics used while you were at Mallinckrodt 09:38:02
    16   QUESTIONS BY MR. CHALOS:                            09:36:09   16   to measure whether a marketing tactic was        09:38:05
    17       Q. Sure. Okay.                     09:36:09                17   successful, other than the number of          09:38:09
    18            So you, I think, said that the 09:36:10               18   prescriptions written for Mallinckrodt        09:38:11
    19   database that you created with the outside      09:36:12       19   product?                            09:38:13
    20   vendor to record call reports, that was       09:36:13         20       A. Yes.                         09:38:13
    21   phased out at some point --                09:36:17            21            MR. DAVISON: Objection.              09:38:13
    22       A. Correct.                      09:36:20                  22   QUESTIONS BY MR. CHALOS:                           09:38:14
    23       Q. -- and replaced -- that was         09:36:20            23       Q. Okay. What other metrics were 09:38:14
    24   replaced with another database?              09:36:21          24   used?                              09:38:16
    25       A. I believe so.                  09:36:24                 25       A. It depends on, again, the          09:38:16

                                                           Page 43                                                             Page 45
     1       Q. Was that new database used to         09:36:24           1 specific tactic.                     09:38:18
     2   measure the ROI on marketing expenditures as 09:36:26           2       Q. And what would be an example of 09:38:20
     3   well?                             09:36:29                      3   another metric?                      09:38:21
     4       A. Again, this was when I was in a 09:36:29                 4       A. Number of views of an e-mail.         09:38:22
     5   sales operations role, and so I would imagine 09:36:33          5   Number of views of a digital ad.            09:38:27
     6   that, you know, the sales operations folks     09:36:36         6       Q. How would Mallinckrodt, while 09:38:30
     7   probably used a similar type of methodology, 09:36:38           7   you were there, how would they measure the 09:38:40
     8   but I can't really speculate on how they did 09:36:42           8   number of prescriptions written for a        09:38:44
     9   it.                             09:36:44                        9   Mallinckrodt product?                   09:38:46
    10       Q. Did you see any ROI                09:36:44             10           MR. DAVISON: Objection.              09:38:48
    11   calculations for marketing expenditures with 09:36:50          11           THE WITNESS: It depends on the 09:38:48
    12   respect to Xartemis?                    09:36:53               12       product.                      09:38:50
    13       A. I believe so, but I can't        09:36:57               13   QUESTIONS BY MR. CHALOS:                           09:38:50
    14   remember specifically.                   09:37:03              14       Q. Okay. What do you mean by              09:38:50
    15       Q. Okay. And did you see any ROI 09:37:04                  15   that?                           09:38:51
    16   calculations for marketing expenditures with 09:37:06          16       A. Well, they would usually           09:38:54
    17   respect to Exalgo?                     09:37:10                17   purchase the data from IMS.               09:38:56
    18       A. I'm sure I did, but I -- again, 09:37:12                18       Q. And that would tell them the        09:38:59
    19   I can't remember the specifics.            09:37:14            19   number of prescriptions written for that      09:39:00
    20       Q. How about for Magnacet?              09:37:15           20   product at a given time period?            09:39:02
    21       A. I can't recall.              09:37:18                   21       A. Correct.                    09:39:04
    22       Q. Okay. How about TussiCaps?             09:37:19         22       Q. In terms of measuring the          09:39:04
    23       A. I can't recall.              09:37:22                   23   effectiveness of a marketing tactic while you 09:39:09
    24       Q. When you were at Mallinckrodt, 09:37:23                 24   were at Mallinckrodt, was the primary method 09:39:12
    25   how did the company measure the success of a 09:37:29          25   for measuring the success the number of        09:39:16

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                                                             Page 46                                                              Page 48
     1 prescriptions written?                     09:39:18                1 QUESTIONS BY MR. CHALOS:                               09:41:00
     2            MR. DAVISON: Objection.               09:39:19          2       Q. Do you recall with respect to         09:41:04
     3            THE WITNESS: I don't -- I           09:39:20            3   any of the opioid products that you were         09:41:05
     4       don't recall if that was the primary     09:39:31            4   involved with at Mallinckrodt, whether           09:41:10
     5       objective. It was -- it was part of    09:39:33              5   Mallinckrodt measured what percentage of the 09:41:11
     6       the analysis.                    09:39:35                    6   patients who received prescriptions for that 09:41:15
     7   QUESTIONS BY MR. CHALOS:                            09:39:35     7   product were new to opioids?                 09:41:16
     8       Q. Was the marketing efforts that 09:39:40                   8             MR. DAVISON: Objection.              09:41:19
     9   you were involved with for Magnacet, were          09:39:45      9             THE WITNESS: I don't recall.         09:41:20
    10   they successful in increasing the number of 09:39:49            10       I mean, I -- certainly with Exalgo       09:41:22
    11   prescriptions for Magnacet?                 09:39:53            11       it's for -- it was for opioid-tolerant 09:41:24
    12            MR. DAVISON: Objection.               09:39:55         12       patients, so we certainly wouldn't        09:41:28
    13            THE WITNESS: Well, the product 09:39:56                13       look for patients to have been          09:41:29
    14       was newly launched, so it went from         09:39:58        14       opioid-naïve.                      09:41:32
    15       zero to something, but the ultimate       09:40:01          15   QUESTIONS BY MR. CHALOS:                             09:41:33
    16       market share of that product, I         09:40:03            16       Q. Opioid-naïve is the term for          09:41:33
    17       believe, was under 1 percent, so...      09:40:05           17   patients who had not had prior exposure to 09:41:35
    18   QUESTIONS BY MR. CHALOS:                            09:40:07    18   opioids?                             09:41:37
    19       Q. Meaning of the total market for 09:40:08                 19       A. Correct.                       09:41:37
    20   similar opioids?                       09:40:10                 20       Q. So for TussiCaps, Magnacet and 09:41:38
    21       A. Uh-huh.                        09:40:11                  21   Xartemis, the patients who received             09:41:44
    22       Q. Is that a yes?                 09:40:12                  22   prescriptions for those drugs included          09:41:48
    23       A. Yes, I'm sorry.                 09:40:13                 23   opioid-naïve patients?                    09:41:50
    24       Q. That's fine. You're doing           09:40:14             24             MR. DAVISON: Objection.              09:41:52
    25   great on that so far.                  09:40:15                 25             THE WITNESS: I don't -- I          09:41:52

                                                             Page 47                                                              Page 49
     1            Magnacet was for acute pain; is 09:40:17                1        can't say that.                09:41:53
     2   that right?                         09:40:20                     2   QUESTIONS BY MR. CHALOS:                            09:41:54
     3       A. That's my recollection.              09:40:20             3        Q. There was nothing -- well, let 09:41:59
     4       Q. So acute pain is not               09:40:22               4   me rephrase it.                      09:42:00
     5   necessarily opioid-tolerant patients; is that 09:40:25           5             The marketing for --          09:42:00
     6   right?                             09:40:27                      6        A. And if I could clarify.          09:42:01
     7       A. Generally, yes, you are              09:40:27             7        Q. Yeah, sure.                  09:42:02
     8   correct, it's not for opioid-tolerant        09:40:29            8        A. I'm sorry. TussiCaps is not        09:42:03
     9   patients.                           09:40:33                     9   indicated for -- was not indicated for pain. 09:42:04
    10       Q. Okay. So put another way,              09:40:33          10   So that's a cough and cold product, so that's 09:42:07
    11   acute pain -- acute pain patients are         09:40:34          11   a different product altogether. It does have 09:42:10
    12   generally patients who have not had prior         09:40:38      12   an opioid component, the hydrocodone             09:42:13
    13   exposure to opioids?                      09:40:41              13   component, but it's not indicated for pain at 09:42:15
    14            MR. DAVISON: Objection.                09:40:42        14   all.                            09:42:18
    15            THE WITNESS: I can't say              09:40:42         15        Q. Okay. Was TussiCaps indicated 09:42:18
    16       generally. They can be.                09:40:43             16   for only opioid-tolerant patients?          09:42:20
    17   QUESTIONS BY MR. CHALOS:                             09:40:45   17        A. That's kind of taking it out of 09:42:23
    18       Q. So they may be new to opioids; 09:40:45                  18   context. It's indicated for cough and cold, 09:42:25
    19   they may not be?                        09:40:47                19   so the FDA didn't render an opinion on         09:42:29
    20       A. Correct.                       09:40:48                  20   whether the patient had to have exposure to 09:42:30
    21       Q. Did Mallinckrodt undertake to            09:40:50        21   an opioid or not.                    09:42:32
    22   measure how many of the patients that were          09:40:52    22        Q. Okay. So among the target --         09:42:33
    23   prescribed Magnacet were new to opioids?            09:40:56    23   among the appropriate patients for TussiCaps 09:42:37
    24            MR. DAVISON: Objection.                09:40:58        24   would be opioid-naïve patients?              09:42:39
    25            THE WITNESS: I cannot recall. 09:40:59                 25             MR. DAVISON: Objection.             09:42:41

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                                                               Page 50                                                            Page 52
     1            THE WITNESS: It kind of             09:42:42             1       A. Yes.                         09:44:38
     2       doesn't work that way.               09:42:43                 2       Q. What are you referencing there? 09:44:38
     3   QUESTIONS BY MR. CHALOS:                            09:42:44      3       A. It was a campaign that we            09:44:40
     4       Q. Okay. What do you mean?                09:42:44            4   launched to speak to the safety components of 09:44:44
     5       A. Again, the FDA didn't make a -- 09:42:45                   5   taking cough and cold medications.             09:44:52
     6   doesn't make a statement on whether or not a 09:42:50             6       Q. Okay. Was TussiCaps a new               09:44:55
     7   patient has to have prior exposure or not      09:42:52           7   product?                            09:44:57
     8   because it's not a pain product. It's      09:42:55               8       A. It was.                      09:44:57
     9   indicated for cough and cold, so functionally 09:42:58            9       Q. And it was a bioequivalent of         09:44:58
    10   the indication is only around cough and cold, 09:43:01           10   an existing product; is that right?        09:45:00
    11   not opioid tolerance or lack thereof.        09:43:03            11       A. It was.                      09:45:01
    12       Q. So the FDA provided no guidance 09:43:06                  12       Q. What was the existing product? 09:45:01
    13   one way or the other on whether it's          09:43:08           13       A. I believe it was Tussionex.         09:45:03
    14   appropriate for patients who are            09:43:10             14       Q. Okay. Was that a Mallinckrodt 09:45:05
    15   opioid-naïve?                         09:43:13                   15   product?                            09:45:07
    16            MR. DAVISON: Objection.              09:43:14           16       A. It was not.                   09:45:07
    17            THE WITNESS: They were                09:43:15          17       Q. What does it mean to be a            09:45:08
    18       completely silent on that.           09:43:16                18   bioequivalent?                        09:45:13
    19   QUESTIONS BY MR. CHALOS:                            09:43:17     19            MR. DAVISON: Objection.               09:45:16
    20       Q. What about Mallinckrodt's            09:43:17             20            THE WITNESS: I can't really          09:45:17
    21   marketing? Did -- for TussiCaps. Did           09:43:18          21       speak to that. That's outside my area 09:45:20
    22   Mallinckrodt's marketing for TussiCaps say        09:43:22       22       of expertise.                    09:45:22
    23   anything one way or another as to whether it 09:43:27            23   QUESTIONS BY MR. CHALOS:                            09:45:22
    24   appropriate only for patients who were         09:43:30          24       Q. Okay. Was there -- okay.             09:45:23
    25   opioid-tolerant?                      09:43:32                   25            So here you said "accelerated      09:45:26

                                                               Page 51                                                            Page 53
     1      A.    No, the marketing materials        09:43:32              1 TussiCaps uptake." What does that mean?            09:45:28
     2 were consistent with the package insert.        09:43:34            2      A.     We -- the prescription volume      09:45:30
     3      Q.    Okay. So the marketing            09:43:36               3 went up.                             09:45:36
     4 materials were silent as to whether it should 09:43:37              4       Q. TussiCaps was -- you said it's 09:45:38
     5 be limited only to opioid-tolerant patients?    09:43:38            5   a cough and cold medicine?                  09:45:45
     6           MR. DAVISON: Objection.              09:43:41             6       A. Correct.                     09:45:46
     7           THE WITNESS: Consistent with             09:43:41         7       Q. Was there an indication for          09:45:47
     8      the PI.                      09:43:42                          8   children as well?                     09:45:49
     9 QUESTIONS BY MR. CHALOS:                              09:43:43      9       A. I believe so.                 09:45:50
    10      Q.    Okay. So let me try that        09:43:43                10       Q. Do you remember what age               09:45:52
    11 again.                            09:43:48                         11   children were included in the indication for 09:45:54
    12           The marketing materials for        09:43:48              12   TussiCaps?                           09:45:57
    13 TussiCaps, did they say anything one way or         09:43:50       13       A. I do not.                   09:45:58
    14 another as to whether TussiCaps was             09:43:53           14       Q. Is TussiCaps still on the          09:45:59
    15 appropriate for opioid-naïve patients?         09:43:56            15   market?                            09:46:06
    16           MR. DAVISON: Objection.              09:43:59            16       A. I don't know. Again, I believe 09:46:06
    17           THE WITNESS: Did not.               09:43:59             17   Mallinckrodt sold that asset.             09:46:10
    18 QUESTIONS BY MR. CHALOS:                              09:44:00     18       Q. Do you recall when that was?          09:46:12
    19      Q.    Okay. Back to Exhibit           09:44:12                19       A. I do not.                   09:46:13
    20 Number 2, your LinkedIn under the senior            09:44:14       20       Q. Okay. Let's move up here, and 09:46:14
    21 product manager section on page 2. The last         09:44:18       21   we're still on Exhibit 2. The position is    09:46:20
    22 sentence, "Accelerated TussiCaps uptake            09:44:29        22   product director, November 2009 to June 2015. 09:46:23
    23 through development and execution of an             09:44:32       23            Do you see that?             09:46:28
    24 award-winning prelaunch marketing campaign."            09:44:34   24       A. Yes.                       09:46:28
    25           Do you see that?              09:44:37                   25       Q. You said, "I led               09:46:28

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     1 commercialization, launched strategy and          09:46:31        1 optimized the physician sampling strategy to     09:48:55
     2   lifecycle management for Xartemis and Exalgo 09:46:33           2 accelerate ROI."                       09:49:00
     3   tablets."                        09:46:38                       3            Do you see that?             09:49:02
     4            Do you see that?            09:46:39                   4       A. Yes.                       09:49:02
     5       A. Yes.                       09:46:40                      5       Q. ROI is return on investment?         09:49:03
     6       Q. Okay. What does the                09:46:40              6       A. Yes.                       09:49:05
     7   commercialization mean?                    09:46:41             7       Q. Okay. What does that mean,            09:49:05
     8       A. It's principally the marketing 09:46:42                  8   "optimize the physician sampling strategy to 09:49:06
     9   messaging and collateral development.          09:46:44         9   accelerate ROI"?                      09:49:09
    10       Q. What's the launch strategy?         09:46:46            10       A. I honestly can't remember. I        09:49:11
    11       A. It's sort of the marketing       09:46:53               11   believe that we did an evaluation or an       09:49:15
    12   plan, the tactics that we would undertake.     09:46:56        12   analysis of the sampling program.            09:49:17
    13       Q. Okay. And lifecycle               09:46:59              13       Q. What is the sampling program? 09:49:22
    14   management, what does that mean?               09:47:03        14            MR. DAVISON: Objection.             09:49:24
    15       A. Working with medical affairs          09:47:04          15            THE WITNESS: It was physician 09:49:24
    16   and a large group of cohorts to understand if 09:47:10         16       sampling, so, you know, providing         09:49:27
    17   there are opportunities to work with the FDA 09:47:14          17       samples of product.                09:49:30
    18   on additional indications or anything like    09:47:16         18   QUESTIONS BY MR. CHALOS:                           09:49:32
    19   that.                           09:47:18                       19       Q. Oh, I see. Providing samples         09:49:34
    20       Q. Okay. And if you go to the          09:47:19            20   of the product to physicians for use with     09:49:36
    21   next paragraph it says, the second sentence, 09:47:22          21   patients?                         09:49:38
    22   "Generated more than $250 million in total      09:47:25       22       A. Correct.                    09:49:38
    23   revenue from the approval of a product         09:47:28        23       Q. Okay. It's not a sampling of       09:49:39
    24   extension."                        09:47:32                    24   physicians?                         09:49:41
    25            What does that mean?            09:47:33              25       A. Correct.                    09:49:41

                                                            Page 55                                                            Page 57
     1       A. That's approval of a             09:47:34                1      Q.     Got it. Okay.               09:49:41
     2   32-milligram strength of Exalgo.             09:47:36           2            What was your -- let's take     09:49:51
     3       Q. And how was that $250 million           09:47:40         3   your last position as product director with 09:49:55
     4   measured? That's the total revenue from         09:47:47        4   Mallinckrodt.                        09:49:58
     5   sales of the 32-milligram dosage of Exalgo? 09:47:49            5            Did you have any role in        09:49:59
     6            MR. DAVISON: Objection.              09:47:53          6   setting the marketing budget?              09:50:00
     7            THE WITNESS: I believe so.          09:47:53           7       A. I proposed a marketing budget, 09:50:02
     8   QUESTIONS BY MR. CHALOS:                            09:47:54    8   but ultimately I wasn't the decision-maker. 09:50:07
     9       Q. You go on to say, "I was a          09:48:01             9       Q. Who made the decision about -- 09:50:10
    10   key contributor in the development of the       09:48:03       10   who ultimately approved the marketing budget 09:50:13
    11   commercial framework for the submission to         09:48:05    11   when you were in the role as product          09:50:15
    12   petition FDA for approval."                09:48:09            12   director?                          09:50:17
    13            What does that mean?            09:48:10              13       A. Generally it was the general        09:50:17
    14       A. It was looking at the marketing 09:48:12                14   manager or president of the business unit. 09:50:20
    15   landscape, I believe. I can't remember        09:48:18         15       Q. Were you the person who              09:50:24
    16   specifically the -- all the components.      09:48:20          16   gathered the information and prepared the       09:50:28
    17       Q. If you move down here in this         09:48:26          17   budget for approval?                    09:50:30
    18   same Exhibit 2, product manager, November          09:48:32    18       A. Oftentimes.                   09:50:31
    19   2005 to October 2006.                    09:48:36              19       Q. Was that true with respect to       09:50:33
    20            Do you see that?             09:48:38                 20   Xartemis and Exalgo?                     09:50:38
    21       A. Yes.                       09:48:38                     21            MR. DAVISON: Objection.             09:50:41
    22       Q. Second sentence there,             09:48:38             22            THE WITNESS: I believe so.          09:50:42
    23   "Exceeded net sales and prescription demand 09:48:42           23   QUESTIONS BY MR. CHALOS:                           09:50:43
    24   budgets for Restoril 7.5 milligrams,         09:48:45          24       Q. With respect to Xartemis and         09:50:48
    25   22.5 milligrams, and tofranil PM, and          09:48:50        25   Exalgo -- well, scratch that. Let me start 09:50:51

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     1 again.                              09:50:54                     1 circumstance. Sometimes it would be             09:52:51
     2            With respect to the marketing     09:50:54            2   PowerPoint or sometimes it would be Excel.       09:52:52
     3   budgets that you were responsible for        09:50:55          3   It really depended.                  09:52:55
     4   preparing, how did you measure whether those 09:51:00          4        Q. Who would you typically present 09:52:56
     5   expenditures were successful on an ongoing       09:51:03      5   that to?                         09:52:58
     6   basis?                            09:51:08                     6        A. It probably varied, but it      09:52:59
     7            MR. DAVISON: Objection.             09:51:08          7   would be marketing folks and perhaps, you       09:53:03
     8   QUESTIONS BY MR. CHALOS:                           09:51:09    8   know, the general manager.                09:53:07
     9       Q. Do you follow what I'm saying? 09:51:10                 9        Q. Was there any sort of regular      09:53:09
    10       A. I would say consistent with         09:51:12           10   interval where you had to present an ROI for 09:53:16
    11   what you asked before, sometimes we would         09:51:16    11   the marketing budget in terms of quarterly     09:53:19
    12   work with sales operations to determine if     09:51:19       12   or, you know, annually or something like       09:53:22
    13   there was an ROI on the marketing tactic, but 09:51:23        13   that?                           09:53:24
    14   that wasn't always the case. It really     09:51:26           14        A. Not that I can recall.        09:53:24
    15   depended on the viability of an ROI analysis. 09:51:28        15        Q. When you presented your            09:53:26
    16       Q. So where you could do -- where 09:51:32                16   marketing budgets for approval at           09:53:27
    17   the company could do an ROI analysis, did it 09:51:35         17   Mallinckrodt, the ones that you prepared, did 09:53:30
    18   typically do an ROI analysis for marketing      09:51:37      18   you have to make a presentation on the -- on 09:53:34
    19   expenditures?                        09:51:39                 19   the budget itself to somebody?            09:53:38
    20            MR. DAVISON: Objection.             09:51:40         20        A. Generally.                  09:53:40
    21            THE WITNESS: Sometimes.              09:51:40        21        Q. Who would you typically make          09:53:41
    22   QUESTIONS BY MR. CHALOS:                           09:51:41   22   that to? Was it your boss?              09:53:43
    23       Q. Were there times where it could 09:51:41               23        A. Yes.                      09:53:45
    24   do an ROI -- like it was feasible to do an   09:51:44         24        Q. As part of that, did you ever    09:53:45
    25   ROI calculation for marketing expenditure but 09:51:47        25   present ROIs from prior years' budgets?       09:53:48

                                                           Page 59                                                           Page 61
     1 the company chose not to do it?               09:51:50           1       A. I can't recall if that was      09:53:51
     2            MR. DAVISON: Objection.             09:51:52          2   specifically included.                09:53:54
     3            THE WITNESS: I can't -- I         09:51:52            3       Q. Did you have marketing training 09:53:54
     4       don't remember.                   09:51:53                 4   or -- I'm sorry, marketing education when you 09:54:07
     5   QUESTIONS BY MR. CHALOS:                           09:51:53    5   were in college?                     09:54:10
     6       Q. When there was an ROI analysis 09:52:03                 6       A. No.                        09:54:11
     7   done of a marketing expenditure, how would        09:52:04     7       Q. How did you get into marketing? 09:54:11
     8   that be presented? In other words, was there 09:52:07          8            MR. DAVISON: Objection.             09:54:13
     9   a form that was used, or was it a PowerPoint? 09:52:09         9            THE WITNESS: Essentially           09:54:14
    10            MR. DAVISON: Objection.             09:52:14         10       through my marketing manager role,        09:54:18
    11            THE WITNESS: It really            09:52:14           11       which was more of a business           09:54:20
    12       probably depended on the time and on       09:52:15       12       development role.                 09:54:21
    13       the tactic.                   09:52:18                    13   QUESTIONS BY MR. CHALOS:                          09:54:22
    14   QUESTIONS BY MR. CHALOS:                           09:52:18   14       Q. Okay. And this is -- you're        09:54:23
    15       Q. Okay. What do you mean by             09:52:19         15   talking about the time at Mallinckrodt from 09:54:24
    16   that?                            09:52:20                     16   July 2004 through November 2005?               09:54:27
    17       A. There wasn't a specific           09:52:20             17       A. Yes.                       09:54:29
    18   formulaic approach to how it was presented. 09:52:25          18       Q. Okay. What do you mean when             09:54:30
    19       Q. Did you yourself ever do an ROI 09:52:27               19   you say it was more of a business development 09:54:32
    20   calculation for a marketing tactic while you 09:52:35         20   role?                            09:54:34
    21   were at Mallinckrodt?                   09:52:37              21       A. That role was looking at          09:54:35
    22       A. I'm sure I did.               09:52:38                 22   licensing opportunities, so that marketing 09:54:38
    23       Q. Do you recall how you presented 09:52:39               23   manager role was really more of a business 09:54:43
    24   those findings?                      09:52:46                 24   development role.                     09:54:44
    25       A. It would again depend on the         09:52:47          25       Q. Okay. So how did you learn how 09:54:45

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     1 to do marketing?                       09:54:48                 1 QUESTIONS BY MR. CHALOS:                              09:56:24
     2            MR. DAVISON: Objection.            09:54:51          2        Q. One of the goals of marketing        09:56:35
     3            THE WITNESS: Most of it was on 09:54:52              3   is to sell products, would you agree with       09:56:37
     4       the job.                    09:54:54                      4   that?                             09:56:39
     5   QUESTIONS BY MR. CHALOS:                         09:54:54     5             MR. DAVISON: Objection.             09:56:41
     6       Q. Have you ever had any formal         09:54:56          6             THE WITNESS: I would say the 09:56:41
     7   education on marketing?                 09:54:57              7        goal of marketing is to differentiate 09:56:44
     8       A. I believe I went to a training 09:54:58                8        your product from the competition.       09:56:46
     9   class.                         09:55:02                       9   QUESTIONS BY MR. CHALOS:                            09:56:48
    10       Q. With -- while you were at         09:55:02            10        Q. Is one of the goals of           09:56:54
    11   Mallinckrodt?                       09:55:07                 11   marketing to sell products?                09:56:55
    12       A. Correct.                   09:55:07                   12             MR. DAVISON: Objection.             09:56:58
    13       Q. Okay. When was that?              09:55:08            13             THE WITNESS: I would say it          09:56:58
    14       A. I can't recall.             09:55:09                  14        depends on the circumstances and          09:56:59
    15       Q. Was it just one class?          09:55:10              15        depends on...                    09:57:00
    16       A. It was a couple of days.         09:55:12             16   QUESTIONS BY MR. CHALOS:                            09:57:04
    17       Q. Who put that on?               09:55:15               17        Q. Are there any circumstances in 09:57:04
    18       A. I believe it was Rosenblatt and 09:55:18              18   which one of the goals of marketing is to       09:57:06
    19   Clouber.                          09:55:22                   19   sell products?                        09:57:08
    20       Q. What is that?                09:55:22                 20             MR. DAVISON: Objection.             09:57:09
    21       A. It's a marketing firm.         09:55:23               21             THE WITNESS: That's really          09:57:10
    22       Q. Here in St. Louis?             09:55:25               22        speculative.                    09:57:11
    23       A. No.                       09:55:29                    23   QUESTIONS BY MR. CHALOS:                            09:57:18
    24       Q. Where was that?                09:55:30               24        Q. Can you think of any              09:57:19
    25       A. I don't remember.              09:55:31               25   circumstances where the goal of marketing is 09:57:20

                                                          Page 63                                                             Page 65
     1       Q. Was that while you were in the 09:55:32                1 to sell products?                        09:57:22
     2   marketing manager role, do you think?         09:55:40        2       A. Again, that's really              09:57:25
     3       A. I can't recall. Either that or 09:55:43                3   speculative.                          09:57:28
     4   probably the product manager role.          09:55:45          4       Q. You can't think of any              09:57:29
     5       Q. Okay. So sometime between '04 09:55:46                 5   circumstances where the goal of marketing         09:57:33
     6   and '06?                          09:55:49                    6   would be to sell products?                 09:57:34
     7       A. That's my recollection.          09:55:50              7       A. Generally, marketing isn't           09:57:37
     8       Q. Okay. And that was -- other         09:55:50           8   responsible for the sales of the product.      09:57:40
     9   than that few days' class with Rosenblatt and 09:55:51        9       Q. What is marketing responsible           09:57:43
    10   Clouber, did you have any other formal        09:55:56       10   for?                               09:57:44
    11   education in marketing?                 09:55:57             11            MR. DAVISON: Objection.               09:57:45
    12       A. Not that I can recall.         09:55:58               12            THE WITNESS: Developing the             09:57:46
    13       Q. What is the definition of        09:56:00             13       marketing material and the              09:57:48
    14   "marketing" in your mind?                 09:56:03           14       communication material.                 09:57:49
    15            MR. DAVISON: Objection.            09:56:04         15   QUESTIONS BY MR. CHALOS:                            09:57:50
    16            THE WITNESS: That's a really        09:56:04        16       Q. Is one of the purposes of           09:58:10
    17       broad question.                 09:56:06                 17   marketing to create goodwill for a company? 09:58:12
    18   QUESTIONS BY MR. CHALOS:                          09:56:07   18            MR. DAVISON: Objection.               09:58:17
    19       Q. Yes, I agree with that.         09:56:10              19            THE WITNESS: I think, you             09:58:18
    20            Do you have a working           09:56:11            20       know, ultimately that -- I don't know 09:58:23
    21   definition of "marketing" in your mind?       09:56:12       21       if that -- that falls into marketing   09:58:24
    22            MR. DAVISON: Objection.            09:56:14         22       or not. Depends on the organization. 09:58:26
    23            THE WITNESS: Not that I can         09:56:15        23   QUESTIONS BY MR. CHALOS:                            09:58:31
    24       probably articulate.             09:56:22                24       Q. Was one of the purposes of the 09:58:31
    25                                                                25   marketing efforts that you undertook at         09:58:33

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     1 Mallinckrodt to create goodwill for the         09:58:35           1            THE WITNESS: So that               10:00:44
     2 company?                               09:58:37                    2       physicians can make an appropriate         10:00:45
     3            MR. DAVISON: Objection.              09:58:40           3       decision for viable candidates for the 10:00:48
     4            THE WITNESS: I don't believe         09:58:40           4       specific therapy.                 10:00:51
     5       that was a specific goal. I think     09:58:44               5   QUESTIONS BY MR. CHALOS:                            10:00:53
     6       there were probably other -- there      09:58:47             6       Q. And the decisions that             10:00:54
     7       were probably other functional areas      09:58:50           7   physicians make about a company's product are 10:00:57
     8       in the organization that were         09:58:56               8   influenced at least in part by the         10:01:02
     9       responsible for that.              09:58:56                  9   information that the pharmaceutical company 10:01:04
    10   QUESTIONS BY MR. CHALOS:                           09:58:57     10   provides through its marketing?             10:01:05
    11       Q. Like what?                     09:58:59                  11            MR. DAVISON: Objection.              10:01:07
    12       A. Probably advocacy and               09:59:00             12            THE WITNESS: I can't speculate 10:01:07
    13   communications.                         09:59:09                13       on how physicians make decisions.          10:01:08
    14       Q. So what did you believe was the 09:59:09                 14   QUESTIONS BY MR. CHALOS:                            10:01:10
    15   goal of marketing while you were the product 09:59:16           15       Q. Well, one of the intentions         10:01:10
    16   director at Mallinckrodt?                09:59:22               16   of -- one of the goals of marketing is to     10:01:13
    17            MR. DAVISON: Objection.              09:59:24          17   give information to physicians, right?        10:01:14
    18            THE WITNESS: To develop               09:59:24         18       A. Correct.                     10:01:15
    19       product, to develop marketing           09:59:27            19       Q. And one of the goals of            10:01:16
    20       messages, to differentiate our product 09:59:30             20   marketing is that physicians use that        10:01:21
    21       from competitors.                  09:59:33                 21   information, at least in part, to make       10:01:24
    22   QUESTIONS BY MR. CHALOS:                           09:59:34     22   decisions about whether to prescribe the        10:01:26
    23       Q. Was that true for the entire       09:59:38              23   company's products?                      10:01:28
    24   time you were at Mallinckrodt?               09:59:40           24            MR. DAVISON: Objection.              10:01:29
    25       A. Yes.                        09:59:41                     25            THE WITNESS: Probably.               10:01:30

                                                             Page 67                                                             Page 69
     1       Q. Do you agree that a company             09:59:42          1 QUESTIONS BY MR. CHALOS:                            10:01:31
     2   engaged in pharmaceutical marketing must           09:59:58      2       Q. Why do you say "probably"?            10:01:33
     3   never put patients at risk by putting profits 10:00:00           3   That's not one of the goals of marketing?     10:01:35
     4   over patient safety when marketing a product? 10:00:03           4       A. No, I don't know how -- and I        10:01:36
     5            MR. DAVISON: Objection.               10:00:06          5   can't speculate on how physicians make         10:01:39
     6            THE WITNESS: I'm sorry, can            10:00:07         6   decisions.                        10:01:41
     7       you repeat that?                   10:00:08                  7       Q. Yeah, right. I'm not asking        10:01:41
     8   QUESTIONS BY MR. CHALOS:                             10:00:08    8   whether they do.                      10:01:43
     9       Q. Sure.                       10:00:09                      9            What I'm asking is, one of the 10:01:43
    10            Do you agree that a             10:00:09               10   goals from the marketing standpoint of        10:01:45
    11   pharmaceutical company, when engaged in             10:00:10    11   providing information to physicians is that 10:01:47
    12   marketing, must never put patients at risk by 10:00:13          12   the physicians would then use that          10:01:48
    13   putting profits over patient safety?         10:00:16           13   information to help decide whether to use the 10:01:50
    14            MR. DAVISON: Objection.               10:00:18         14   company's products?                     10:01:53
    15            THE WITNESS: I believe that           10:00:19         15            MR. DAVISON: Objection.             10:01:53
    16       pharmaceutical companies should engage 10:00:23             16            THE WITNESS: Correct.             10:01:54
    17       in truthful -- truthful promotion of     10:00:25           17   QUESTIONS BY MR. CHALOS:                          10:01:54
    18       their product, but ultimately it's the 10:00:28             18       Q. And in that context, the -- it 10:01:55
    19       physician's decision to ascertain the 10:00:31              19   is very important that the information that 10:01:59
    20       appropriate patient for the product.      10:00:34          20   comes through marketing to the physician from 10:02:01
    21   QUESTIONS BY MR. CHALOS:                             10:00:36   21   the pharmaceutical company is accurate,        10:02:04
    22       Q. Why is it important that            10:00:37             22   right?                           10:02:06
    23   pharmaceutical companies should engage in           10:00:39    23            MR. DAVISON: Objection.             10:02:06
    24   truthful promotion of their product?           10:00:41         24            THE WITNESS: And consistent           10:02:06
    25            MR. DAVISON: Objection.               10:00:43         25       with the label.                 10:02:07

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                                                             Page 70                                                                   Page 72
     1 QUESTIONS BY MR. CHALOS:                               10:02:07    1           VIDEOGRAPHER: We are back on                 10:08:31
     2        Q. Okay. So, yes, accurate and           10:02:07           2      the record at 10:13 a m.              10:13:24
     3   also consistent with the label?             10:02:10             3           (Mallinckrodt-Wessler Exhibit 4 10:13:26
     4        A. Yes.                         10:02:11                    4      marked for identification.)            10:13:27
     5        Q. Okay. From a marketing                10:02:12           5 QUESTIONS BY MR. CHALOS:                                10:13:27
     6   standpoint, do you agree that pharmaceutical 10:02:18            6      Q.    Let's mark as the next numbered 10:13:27
     7   companies have a heightened responsibility to 10:02:21           7 exhibit, Exhibit 4, a document that starts        10:13:30
     8   provide truthful information to the users of 10:02:25            8 with MNK-T1_0000000264 through 287. And                    10:13:32
     9   its products?                         10:02:28                   9 this, I'll represent to you, is an          10:13:49
    10             MR. DAVISON: Objection.               10:02:28        10 organizational chart that was produced to us        10:13:50
    11             THE WITNESS: I don't know what 10:02:29               11 in this litigation. It was previously marked 10:13:54
    12        constitutes heightened responsibility. 10:02:29            12 as Exhibit 2 to Mr. Wickline's deposition on        10:13:57
    13        They have a responsibility.            10:02:31            13 November 13th of 2018. For some reason it              10:14:01
    14   QUESTIONS BY MR. CHALOS:                             10:02:33   14 says 2015 on the sticker.                   10:14:11
    15        Q. If you need a break at any           10:02:41           15      A.    Is that a -- well, that might    10:14:13
    16   time, let me know.                       10:02:43               16 be a weird 8.                          10:14:15
    17             MR. DAVISON: We've been going 10:02:44                17      Q.    Is it? Okay. It could be.        10:14:18
    18        about an hour, so if, you know, you       10:02:46         18           Anyway, so that's Exhibit          10:14:23
    19        come to a good spot.                 10:02:48              19 Number 4. I'm really going to ask you about          10:14:30
    20             MR. CHALOS: Yeah, let me get           10:02:50       20 the first page here, where on the side it       10:14:32
    21        to a good spot. I'll get there pretty 10:02:51             21 says -- it's dated 4/1 of '13. You can take       10:14:33
    22        soon, we'll take a break. But if you 10:02:54              22 a look through the whole document, but my              10:14:39
    23        need to force a break at any time, let 10:02:54            23 question is going to be limited to the first      10:14:41
    24        us know.                         10:02:57                  24 page.                                10:14:44
    25             THE WITNESS: Okay.                  10:02:57          25           Do you see your name there sort 10:14:44

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     1 QUESTIONS BY MR. CHALOS:                             10:02:57      1   of middle -- if you turn it landscape,        10:14:46
     2       Q. While you were at Mallinckrodt,        10:02:58           2   middle, lower middle, kind of?                10:14:49
     3   was the marketing messaging the same            10:02:59         3       A. Yes.                         10:14:51
     4   nationwide?                         10:03:02                     4       Q. And it's got you on this            10:14:51
     5       A. Yes, meaning -- can I clarify       10:03:04              5   diagram reporting directly to the vice         10:14:54
     6   that?                            10:03:06                        6   president of marketing, who at this time was 10:14:56
     7       Q. Absolutely, please do.            10:03:07                7   Terry Terifay.                         10:14:59
     8       A. So meaning did we use the same 10:03:09                   8            Do you see that?               10:15:01
     9   marketing message regardless of state or       10:03:12          9       A. Yes.                         10:15:01
    10   geography?                           10:03:14                   10       Q. Okay. Is that the -- this was 10:15:02
    11       Q. Yes, sir.                   10:03:16                     11   in your position as product director; is that 10:15:05
    12       A. Yes, that's my understanding         10:03:16            12   right?                             10:15:07
    13   and recollection.                    10:03:17                   13       A. Yes, but I was a product             10:15:07
    14       Q. Okay. So the marketing             10:03:17              14   director, I believe, before this particular 10:15:12
    15   messaging that was used, let's say, in Ohio 10:03:19            15   organizational structure as well.            10:15:15
    16   was the same as the messaging used in          10:03:21         16       Q. Okay. Was there -- in your            10:15:17
    17   California, for example?                 10:03:23               17   role as product director, did you always        10:15:22
    18       A. Yes.                       10:03:24                      18   report to a vice president of marketing?        10:15:24
    19            MR. CHALOS: Okay. This is           10:03:25           19       A. No.                          10:15:26
    20       probably a good spot to take a break     10:03:26           20       Q. Who else did you report to?            10:15:27
    21       then.                        10:03:27                       21       A. Senior director of marketing.          10:15:29
    22            THE WITNESS: Okay.                 10:03:28            22       Q. Okay. Is that -- who was that? 10:15:32
    23            VIDEOGRAPHER: We are going off 10:03:30                23       A. Rod Novak.                       10:15:34
    24       the record at 10:03 a m.            10:03:35                24       Q. So as a product director,           10:15:37
    25        (Off the record at 10:03 a m.)       10:03:37              25   there's a time where you reported to the        10:15:39

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     1 senior director of marketing?                 10:15:42          1       Q. Okay. Do you keep up with              10:17:25
     2       A. Yes.                         10:15:43                  2   anyone who's still with Mallinckrodt?          10:17:26
     3       Q. Okay. When was that?                 10:15:44          3       A. Not really.                   10:17:27
     4       A. I think it was around the 2009 10:15:45                4       Q. Okay. Are you like Facebook            10:17:29
     5   time frame, but I can't remember              10:15:51        5   friends or something?                   10:17:32
     6   specifically.                        10:15:52                 6       A. I'm not on Facebook.               10:17:33
     7       Q. Okay. And at some point then 10:15:52                  7       Q. Oh, good for you. Good. It's 10:17:34
     8   you were -- your direct reporting chain was 10:15:55          8   just a waste of time, I think, anyway.        10:17:36
     9   changed to where you reported directly to the 10:15:58        9           Where is Mr. Patterson now?          10:17:38
    10   vice president of marketing?                10:16:00         10       A. Curium.                       10:17:47
    11       A. That's correct.                 10:16:01              11       Q. Is that the company you're          10:17:47
    12       Q. And you think it was around            10:16:01       12   with?                             10:17:49
    13   that time, 2009, 2010?                    10:16:02           13       A. Correct.                     10:17:49
    14       A. I think it was when Terry came 10:16:04               14       Q. How about Mr. Novak?                  10:17:50
    15   on board, so I can't recall that --        10:16:07          15       A. I believe he's with a company 10:17:53
    16       Q. Okay.                         10:16:11                16   called GeneriCo.                       10:17:55
    17       A. -- date.                     10:16:13                 17       Q. What do they do?                  10:17:57
    18       Q. Okay. It has November 14th of 10:16:14                18       A. I -- I mean, they -- they, I      10:17:59
    19   2011, listed under Terry Terifay, vice         10:16:18      19   think, have generic pharmaceutical products, 10:18:00
    20   president of marketing.                   10:16:22           20   but I don't know much beyond that              10:18:03
    21           Do you see that?                10:16:23             21   specifically.                       10:18:04
    22       A. Yes.                         10:16:23                 22       Q. You know, there's one other           10:18:05
    23       Q. Do you think -- is that -- is 10:16:23                23   page I'd like to ask you about, the second to 10:18:13
    24   that consistent with your memory, that he        10:16:27    24   last page where it's got your direct reports. 10:18:14
    25   came on board sometime in 2011?                 10:16:28     25           MR. DAVISON: You're looking at 10:18:24

                                                          Page 75                                                             Page 77
     1       A. Around there. That's             10:16:30              1        286 Bates number?                   10:18:26
     2   consistent with what I remember.            10:16:31          2            MR. CHALOS: Yes, Bates number 10:18:27
     3       Q. Okay. In your role as senior        10:16:32           3        286, yes, sir. Thanks.             10:18:29
     4   product manager, to whom did you report?         10:16:36     4            THE WITNESS: Okay.                  10:18:32
     5   Both name and position, if you remember.        10:16:41      5   QUESTIONS BY MR. CHALOS:                            10:18:32
     6       A. I believe there was a time I       10:16:43            6        Q. Okay. It says -- it's got you 10:18:33
     7   reported to a product director, Geoffrey      10:16:48        7   listed as the director of pharma product, and 10:18:35
     8   Arbuckle, early on, and then I believe Rod     10:16:54       8   then it has two direct reports to you:       10:18:38
     9   Novak.                            10:16:56                    9   Melissa Falcone and Jennifer Lierman.           10:18:40
    10       Q. Is Mr. Novak still with           10:16:57            10            Do you see that?              10:18:43
    11   Mallinckrodt?                        10:17:00                11        A. Yes.                       10:18:43
    12       A. I do not believe so.            10:17:00              12        Q. Okay. Was there a time where 10:18:44
    13           MR. DAVISON: Objection.              10:17:02        13   Melissa Falcone no longer reported to you? 10:18:45
    14   QUESTIONS BY MR. CHALOS:                          10:17:02   14        A. Yes.                       10:18:49
    15       Q. Okay. Do you keep up with            10:17:03         15        Q. Okay. Did she get promoted?           10:18:50
    16   anyone at Mallinckrodt presently?            10:17:04        16        A. Yes.                       10:18:51
    17       A. I do.                     10:17:06                    17        Q. To what job did she get           10:18:52
    18       Q. Who do you keep up with over           10:17:08       18   promoted?                            10:18:54
    19   there?                           10:17:10                    19        A. She was the special assistant       10:18:54
    20       A. Rod. I do talk to Rod. Mike         10:17:10          20   to like the VP of commercial operations or 10:18:59
    21   Patterson. And those are probably the two      10:17:16      21   something like that.                   10:19:02
    22   people I talk to.                   10:17:21                 22        Q. Okay. Do you know where she is 10:19:03
    23       Q. Okay. Mr. Patterson still with 10:17:22               23   now? Is she still with Mallinckrodt?          10:19:04
    24   the company?                         10:17:24                24        A. I believe so.                10:19:06
    25       A. No.                        10:17:24                   25        Q. Do you keep up with her?            10:19:07

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     1        A. No, not really.               10:19:10                          1 It's Exhibit Number 5.                     10:21:33
     2        Q. You left the company in 2015;         10:19:11                  2            And you can look through that        10:21:41
     3   is that right?                     10:19:19                             3   as much as you need to. I can tell you the 10:21:42
     4        A. Correct.                    10:19:19                            4   questions I'm going to have are going to        10:21:46
     5        Q. Okay. Why did you leave?             10:19:20                   5   be -- probably start with page 3 of 14 about 10:21:49
     6        A. I was severed.                10:19:21                          6   your salary and bonus.                   10:21:53
     7        Q. What does that mean?               10:19:23                     7            Are you ready?                10:22:00
     8        A. The company no longer needed my 10:19:23                        8       A. Sure.                       10:22:49
     9   services.                         10:19:25                              9       Q. Okay. So if you look at             10:22:50
    10        Q. Why? Do you know?                   10:19:29                   10   Exhibit 5, page 3, which it ends in Bates       10:22:53
    11             MR. DAVISON: Objection.             10:19:30                 11   5176, it says -- looking at 2 A, salary       10:22:58
    12             THE WITNESS: I think they           10:19:30                 12   continuation payment.                     10:23:10
    13        phased out an entire business unit of 10:19:31                    13            So it says there that the      10:23:12
    14        which I was a part of.             10:19:35                       14   agreement was they'll pay you       weeks of      10:23:15
    15   QUESTIONS BY MR. CHALOS:                           10:19:36            15   salary, weekly gross of          .           10:23:17
    16        Q. At which business unit was          10:19:36                   16            Do you see that?              10:23:21
    17   that?                            10:19:37                              17            MR. DAVISON: Objection.               10:23:22
    18        A. The business unit that was         10:19:38                    18            THE WITNESS: I do.                 10:23:23
    19   promoting Xartemis XR.                     10:19:40                    19   QUESTIONS BY MR. CHALOS:                            10:23:23
    20        Q. Did that correspond with the        10:19:43                   20       Q. Did I get that wrong?              10:23:24
    21   time where the company was -- decided to no 10:19:47                   21            MR. DAVISON: I think it's           10:23:25
    22   longer promote Xartemis?                   10:19:50                    22       biweekly.                       10:23:27
    23             MR. DAVISON: Objection.             10:19:53                 23            MR. CHALOS: Oh, right. You             10:23:27
    24             THE WITNESS: That's my              10:19:54                 24       got to read the line before that.      10:23:28
    25        understanding.                  10:19:54                          25

                                                                     Page 79                                                            Page 81
     1 QUESTIONS BY MR. CHALOS:                                 10:19:54         1 QUESTIONS BY MR. CHALOS:                             10:23:31
     2      Q.    How much notice were you given           10:19:56              2       Q. Okay. I mean, I was trying to 10:23:31
     3 that you were being severed?                   10:19:57                   3   get you a little more money out of the deal. 10:23:34
     4      A.    I don't -- I don't believe any.    10:19:59                    4       A. Where were you years of ago?           10:23:38
     5 I think the -- we found out on a phone call        10:20:04               5       Q. Okay. So there -- they agreed 10:23:40
     6 on a Friday or a Monday, and they gave us --            10:20:07          6   to pay you basically              salary; is 10:23:42
     7 or they gave me -- I should speak               10:20:11                  7   that right?                       10:23:45
     8 specifically about myself -- they gave me           10:20:16              8       A.               , yes.           10:23:45
     9 like a couple of weeks.                      10:20:17                     9       Q. Yeah. Okay.                    10:23:47
    10           So, I mean, in terms of notice,      10:20:19                  10             And then you also were eligible 10:23:48
    11 I got notified I had a couple of weeks to          10:20:20              11   to receive your incentive bonus gross of       10:23:50
    12 finish up any projects, and that was it.        10:20:25                 12           . That's in paragraph B.           10:23:55
    13      Q.    You ultimately negotiated a          10:20:28                 13             Do you see that?            10:23:59
    14 severance with the company; is that right?          10:20:35             14       A. Yes.                       10:24:00
    15      A.    I did receive a severance.         10:20:37                   15       Q. Did you receive that bonus?          10:24:00
    16      Q.    Okay. Well, was it six months'        10:20:39                16       A. I did.                    10:24:01
    17 pay? Is that right?                     10:20:42                         17       Q. Okay. Did you ever receive any 10:24:02
    18      A.    I believe so.                10:20:42                         18   stock options from Mallinckrodt?             10:24:04
    19           (Mallinckrodt-Wessler Exhibit 5        10:20:43                19       A.                           10:24:06
    20      marked for identification.)             10:20:43                    20       Q.                                       10:24:07
    21 QUESTIONS BY MR. CHALOS:                                 10:20:43        21                                       10:24:09
    22      Q.    Okay. Let's mark as the next         10:20:44                 22       A.                           10:24:10
    23 numbered exhibit the severance agreement.               10:20:46         23       Q. Do you hold any stock currently 10:24:10
    24           So let's mark as Exhibit           10:20:51                    24   in Mallinckrodt?                      10:24:12
    25 Number 5 MNK-T1_0007845172 through 5199.                      10:21:22   25       A. Not that I'm aware of. I mean, 10:24:12

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     1   it might be through a -- you know, like a -- 10:24:15          1 decisions for -- after you left Mallinckrodt      10:26:24
     2   what is that called?                 10:24:23                  2   based -- or factoring in this provision of     10:26:29
     3       Q. A mutual fund?                 10:24:24                 3   your severance agreement that is labeled here 10:26:34
     4       A. Yes. Yes. But not               10:24:24                4   as noncompetition?                       10:26:36
     5   specifically.                     10:24:26                     5            MR. DAVISON: Objection.               10:26:37
     6       Q.                                      10:24:26           6            THE WITNESS: I'm sure that was 10:26:38
     7                                         10:24:28                 7       part of the decision, but it was       10:26:39
     8       A.                          10:24:28                       8       really more driven out of a need to       10:26:40
     9       Q.                                        10:24:29         9       get a job.                      10:26:42
    10   t                                 10:24:31                    10   QUESTIONS BY MR. CHALOS:                             10:26:42
    11       A.                           10:24:31                     11       Q. Right. Okay.                     10:26:43
    12       Q.                                        10:24:32        12            If you turn over to 9, page 9     10:26:45
    13                                                  10:24:35       13   of Exhibit 5, there's a provision here,       10:26:49
    14                                              10:24:36           14   paragraph 7. It says, "Nondisparagement.          10:26:54
    15       A.                                    10:24:38            15   Subject to the provision of this section       10:27:02
    16                                                10:24:42         16   entitled Permissible Disclosures, employee 10:27:05
    17                                     10:24:45                    17   agrees employee will not disparage or subvert 10:27:09
    18       Q.                                       10:24:47         18   the company or make any statement reflecting 10:27:14
    19                                        10:24:48                 19   negatively on the company, its affiliated       10:27:17
    20       A.                                    10:24:48            20   corporations or entities," et cetera, et     10:27:21
    21                                               10:24:52          21   cetera.                            10:27:22
    22             .                       10:24:54                    22            Do you see that?               10:27:22
    23                                                 10:24:54        23       A. I do.                       10:27:22
    24                                            10:24:57             24       Q. Is this provision in this          10:27:23
    25                                            10:24:59             25   agreement something that is impacting your         10:27:27

                                                           Page 83                                                              Page 85
     1                                               10:25:00           1 answers here today in any way?                  10:27:29
     2                                       10:25:02                   2       A. No. I'd honestly forgotten          10:27:31
     3       A.                         .       10:25:02                3   about this.                        10:27:37
     4       Q. If you turn to what's marked as 10:25:04                4       Q. Okay. So your answers here             10:27:38
     5   7 of 14, it ends in Bates 5184. Okay. So       10:25:09        5   today are being made irrespective of any        10:27:41
     6   we're at page 7 of Exhibit 5, noncompetition, 10:25:36         6   provision in your severance agreement?           10:27:46
     7   C 1.                             10:25:42                      7       A. Correct.                     10:27:47
     8            Do you see that?             10:25:43                 8       Q. Okay. You can put Exhibit 5            10:27:48
     9       A. I do.                      10:25:43                     9   aside.                           10:27:51
    10       Q. Okay. Did you -- for the           10:25:44            10           (Mallinckrodt-Wessler Exhibit 6 10:27:55
    11   period of 12 months after you left          10:25:48          11       marked for identification.)           10:27:56
    12   Mallinckrodt, did you refrain from working in 10:25:50        12   QUESTIONS BY MR. CHALOS:                            10:27:56
    13   the pharmaceutical industry?               10:25:55           13       Q. We'll mark as Exhibit Number 6 10:28:06
    14            MR. DAVISON: Objection.              10:25:56        14   a document that is MNK-T1_0007845168                10:28:10
    15            THE WITNESS: I don't think          10:25:57         15   through 5171.                         10:28:18
    16       that that's what the noncompete is.     10:26:00          16           And if you look at Exhibit         10:28:39
    17   QUESTIONS BY MR. CHALOS:                           10:26:04   17   Number 6, it has your final base salary with 10:28:46
    18       Q. Okay. How did you interpret           10:26:04         18   the company at the time of your termination 10:28:51
    19   the noncompete?                        10:26:06               19   as                                   10:28:53
    20       A. That it was specific to related 10:26:06               20           Do you see that?               10:28:57
    21   therapeutic areas or related areas. But I -- 10:26:11         21       A. Yes.                        10:28:58
    22   I went to work at Biomedical Systems, which 10:26:17          22       Q. Is that accurate?               10:28:58
    23   is not a pharma company.                   10:26:19           23       A. That's my recollection.            10:29:00
    24       Q. Ah, okay.                     10:26:20                 24       Q. And you received a bonus of            10:29:02
    25            Did you make your employment          10:26:21       25            in a lump sum, is that right, in that 10:29:06

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     1 year?                               10:29:12                           1 starts at the Bates number I just gave.          10:33:22
     2           MR. DAVISON: Objection.                10:29:12              2   We'll call it Exhibit 8. And you can take as 10:33:25
     3           THE WITNESS: Yes, that's my             10:29:12             3   much time as you need to review that.            10:33:36
     4      recollection.                    10:29:13                         4             My first question will be, do 10:33:37
     5 QUESTIONS BY MR. CHALOS:                                10:29:13       5   you know who prepared this presentation?           10:33:41
     6      Q.    Did they pay you at the time of       10:29:14              6       A. I can't recall.                 10:33:45
     7 your severance?                         10:29:15                       7       Q. And you can review as much of 10:33:48
     8      A.    I believe some time elapsed. I 10:29:16                     8   this as you need. I'll ask you specific       10:33:55
     9 can't remember what the -- but it was roughly 10:29:19                 9   questions about specific slides.             10:33:57
    10 the time of the separation.                 10:29:20                  10   Unfortunately they're not numbered, so we'll 10:34:00
    11      Q.    Okay. You can put that aside         10:29:22              11   just have to put them up on the screen here. 10:34:03
    12 then.                               10:29:46                          12             But the first page says it's a 10:34:07
    13           Have you ever seen your            10:30:16                 13   presentation to Argent dated 9/17 of 2007. 10:34:08
    14 personnel file at Mallinckrodt?                10:30:31               14             Do you know what Argent is?          10:34:13
    15      A.    Not that I can recall.          10:30:32                   15       A. I believe that they were the          10:34:15
    16           (Mallinckrodt-Wessler Exhibit 7        10:30:38             16   partner from where we licensed the asset, but 10:34:19
    17      marked for identification.)            10:30:39                  17   I can't remember specifically.               10:34:23
    18 QUESTIONS BY MR. CHALOS:                                10:30:39      18       Q. Okay. Okay. Have you had a               10:34:25
    19      Q.    Let's mark this as an exhibit.      10:30:39               19   chance to review Exhibit 8?                  10:37:08
    20 Okay. So we'll mark as Exhibit Number 7               10:31:06        20       A. I have.                        10:37:10
    21 MNK-T1_0007845318 through 5323. And these                   10:31:13 21        Q. Okay. Do you -- have you ever 10:37:11
    22 are handwritten notes, it looks like, of an      10:31:23             22   seen this document before today?               10:37:13
    23 interview. Somebody did an interview of you. 10:31:31                 23       A. It looks vaguely familiar, but 10:37:14
    24           Have you ever seen this before? 10:31:41                    24   I can't recollect the specifics.           10:37:17
    25      A.    I have not. Not to my            10:31:42                  25       Q. Do you have any idea who                10:37:19

                                                                   Page 87                                                           Page 89
     1 recollection.                         10:31:44                         1 originally prepared this document?              10:37:22
     2      Q.    Okay. Do you have any idea            10:31:45              2            MR. DAVISON: Objection.               10:37:24
     3 whose handwriting that is?                   10:31:50                  3            THE WITNESS: I can't remember. 10:37:24
     4      A.    I do not.                 10:31:51                          4   QUESTIONS BY MR. CHALOS:                            10:37:26
     5      Q.    Okay. Well, you can put that         10:31:52               5        Q. Okay. Let me just ask you           10:37:26
     6 aside then. I wanted you to see that so you        10:31:54            6   about a few -- the statements in here. So if 10:37:28
     7 can, when you look at your deposition, see          10:32:00           7   you flip over to the second page, it says, 10:37:34
     8 the interview notes from your first             10:32:03               8   "Franchise positioning."                  10:37:39
     9 interview.                           10:32:06                          9            Do you see that?              10:37:41
    10      A.    Duly noted.                 10:32:06                       10            Magnacet --                  10:37:42
    11      Q.    Yeah, doesn't really have           10:32:06               11        A. I'm sorry, is this -- is this   10:37:43
    12 anything to do with anything.                  10:32:06               12   the page you're on?                     10:37:44
    13      A.    They have pretty penmanship.          10:32:08             13        Q. Yeah, franchise positioning.         10:37:45
    14      Q.    They do. They do. Little like        10:32:09              14   And he's also got it up there.            10:37:47
    15 time capsules.                         10:32:12                       15        A. Oh, I'm sorry.                 10:37:49
    16           (Mallinckrodt-Wessler Exhibit 8        10:32:14             16        Q. Yeah. Yeah, they're not            10:37:50
    17      marked for identification.)            10:32:17                  17   numbered, so we'll just have to kind of        10:37:53
    18 QUESTIONS BY MR. CHALOS:                                10:32:17      18   follow along with each other.               10:37:55
    19      Q.    Let's talk about then Magnacet.       10:32:17             19            "Franchise positioning" is what 10:37:57
    20           We'll mark as the next numbered 10:32:46                    20   it says on the heading of the page. It says, 10:37:59
    21 exhibit a document, it looks like some kind         10:32:48          21   "The only pain relief product to combine four 10:38:01
    22 of presentation. This will be marked as           10:32:53            22   different dose strengths of oxycodone with 10:38:03
    23 Exhibit Number 8, MNK-T1_0002713694. And it                 10:32:55 23    400 milligrams of APAP."                    10:38:06
    24 ends -- oh, it's in native format, so we        10:33:17              24            Do you see that?              10:38:08
    25 don't have an end Bates. Okay. Well, it           10:33:20            25        A. Yes.                        10:38:09

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                                                           Page 90                                                                      Page 92
     1       Q. What is APAP?                      10:38:09              1       Q. Those were for products beyond 10:40:14
     2       A. Acetaminophen.                     10:38:10              2   just the branded Mallinckrodt products,      10:40:20
     3       Q. Okay. So there were -- the           10:38:11            3   including generics and others?           10:40:22
     4   dosage in Magnacet of acetaminophen stayed          10:38:24    4       A. Correct.                   10:40:23
     5   the same, but then the dose of oxycodone         10:38:16       5            MR. DAVISON: Objection.           10:40:23
     6   varied among the four different strengths; is 10:38:21          6   QUESTIONS BY MR. CHALOS:                         10:40:23
     7   that right?                        10:38:23                     7       Q. Okay. Did you ever, while you 10:40:24
     8       A. Correct.                     10:38:23                    8   were at Mallinckrodt, have any role with     10:40:26
     9       Q. If you turn to the, let me see, 10:38:25                 9   respect to generic products?            10:40:27
    10   one, two, three, fourth page, it says,       10:38:39          10       A. No.                       10:40:29
    11   "Physician sales aid," and there's a picture 10:38:45          11       Q. Who did the marketing messaging 10:40:29
    12   of a race car, The Pain Relief Challenge.       10:38:47       12   for generic products at Mallinckrodt?       10:40:32
    13            Do you see that?               10:38:58               13            MR. DAVISON: Objection.           10:40:34
    14       A. Okay. Yes.                      10:38:59                14            THE WITNESS: I don't recall.      10:40:34
    15       Q. Is this a marketing piece that 10:38:59                 15   QUESTIONS BY MR. CHALOS:                         10:40:35
    16   you developed?                          10:39:01               16       Q. Was it a different group         10:40:36
    17       A. Myself and others.                 10:39:01             17   entirely from your group?               10:40:38
    18       Q. Okay. But your team within             10:39:02         18       A. Yes.                      10:40:39
    19   Mallinckrodt developed this?                 10:39:04          19       Q. Was there also a bulk narcotics 10:40:40
    20       A. Yeah. I think at the time I         10:39:05            20   group or division within Mallinckrodt when 10:40:46
    21   was like just a product manager.             10:39:06          21   you were there?                     10:40:48
    22       Q. Okay.                        10:39:08                   22       A. I believe they were called API. 10:40:48
    23       A. So it would have been somebody 10:39:08                 23       Q. What is that?                10:40:51
    24   else's team, technically.                10:39:10              24       A. Active pharmaceutical            10:40:52
    25       Q. Right. Yeah, this is -- if         10:39:11             25   ingredients.                      10:40:54

                                                           Page 91                                                                      Page 93
     1 this is in '07, you were a senior product        10:39:13         1       Q.    Did they have a marketing unit         10:40:55
     2   manager; is that right?                  10:39:16               2 as well?                               10:40:57
     3       A. I can't remember my title. If 10:39:19                   3       A.    I don't --                 10:40:57
     4   that's what it says.                   10:39:21                 4            MR. DAVISON: Objection.                 10:40:58
     5       Q. Yeah. This is dated 9/17 of           10:39:22           5            THE WITNESS: I don't know.               10:40:59
     6   2007. According to your LinkedIn, you became 10:39:27           6 QUESTIONS BY MR. CHALOS:                                 10:40:59
     7   a senior product manager October of 2006 to 10:39:29            7       Q.    Okay. I don't know how to say          10:40:59
     8   November 2009.                           10:39:33               8 where this is, but it says, "Premium items."          10:41:09
     9            Does that sound right?           10:39:33              9 It's like not quite halfway through. It           10:41:18
    10       A. Yes. To my recollection.             10:39:34           10 looks like that. It's a picture of a pen.      10:41:21
    11       Q. Okay. If you look at the next 10:39:35                  11       A.    Okay. Is it the pen or the        10:41:24
    12   page, it's physician sales aid front cover     10:39:42        12 cube?                                  10:41:25
    13   continued. The second put there says,           10:39:45       13       Q.    Well, let me start with the       10:41:26
    14   "Mallinckrodt is launching a new product."        10:39:53     14 pen. Yeah.                              10:41:28
    15   Under that it says, "Leverage our reputation. 10:39:56         15            So if you look at the page it      10:41:29
    16   Number one producer of bulk narcotics."           10:40:00     16 says, "Premium items, Magnacet pens, MK8736." 10:41:33
    17            Do you see that?               10:40:03               17            Do you see that?                10:41:40
    18       A. Uh-huh.                        10:40:03                 18       A.    I do.                      10:41:41
    19       Q. What does that mean?                 10:40:03           19       Q.    Is this an example of the sales       10:41:41
    20            MR. DAVISON: Objection.               10:40:04        20 collateral that you talked about earlier?          10:41:43
    21   QUESTIONS BY MR. CHALOS:                            10:40:06   21       A.    Yeah, the tchotchkes or...        10:41:44
    22       Q. If you know?                     10:40:06               22       Q.    That's what I would call them,        10:41:47
    23       A. I mean, I think that that had        10:40:07           23 tchotchkes, yeah.                          10:41:49
    24   to do with our manufacturing of active          10:40:11       24            So what does MK8736 mean?                10:41:50
    25   pharmaceutical ingredients.                 10:40:13           25       A.    That refers to the order         10:41:55

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     1 number.                               10:41:56                       1      A.      Okay.                     10:43:45
     2       Q. Okay. Got it.                  10:41:57                     2      Q.      You find it?                10:43:45
     3            And then if you flip a couple     10:41:59                3            The third bullet says, "Proceed 10:43:46
     4   more, another one of the tchotchkes, or sales 10:42:00             4   with caution when positioning this product." 10:43:48
     5   collateral, is a Magnacet race car mint tin? 10:42:13              5            I should say, at the top of the 10:43:50
     6       A. Okay.                        10:42:16                       6   page it says, "Pharmacy sales aid, front       10:43:52
     7       Q. Do you see that?                 10:42:16                   7   cover continued."                       10:43:55
     8       A. Yes.                        10:42:17                        8            And then the third bullet says, 10:43:56
     9       Q. Does that -- did these ever go 10:42:18                     9   "Proceed with caution when positioning this 10:43:57
    10   into actual production and get handed out?      10:42:21          10   product to pharmacists."                  10:43:59
    11            MR. DAVISON: Objection.              10:42:24            11            And then the sub-bullet there      10:44:01
    12            THE WITNESS: Uh-huh.                10:42:24             12   says, "Mallinckrodt generics sells oxy/APAP 10:44:02
    13   QUESTIONS BY MR. CHALOS:                           10:42:25       13   combination products."                     10:44:06
    14       Q. Is that a yes?                10:42:25                     14            Do you see that?               10:44:08
    15       A. Yes, I'm sorry.                 10:42:26                   15       A. Yes.                         10:44:08
    16       Q. That's okay.                   10:42:26                    16       Q. So was one of the concerns when 10:44:09
    17            And if you flip over one more, 10:42:28                  17   marketing Magnacet that you didn't want to 10:44:10
    18   there's a die cast race car clock.        10:42:31                18   cannibalize the generics market for similar 10:44:17
    19            Do you see that?              10:42:35                   19   products?                            10:44:21
    20       A. Yes.                        10:42:36                       20            MR. DAVISON: Objection.               10:44:21
    21       Q. Is that something that got         10:42:36                21            THE WITNESS: I can't recall          10:44:22
    22   handed out as well?                     10:42:39                  22       specifically.                    10:44:26
    23            MR. DAVISON: Objection.              10:42:40            23   QUESTIONS BY MR. CHALOS:                            10:44:26
    24            THE WITNESS: That's my               10:42:40            24       Q. Okay. Do you recall a concern 10:44:27
    25       understanding, yeah.                10:42:41                  25   that -- with Magnacet that pharmacists would 10:44:50

                                                              Page 95                                                                Page 97
     1 QUESTIONS BY MR. CHALOS:                                 10:42:42    1 attempt to fill that prescription with a       10:44:54
     2       Q. Did you keep one of those?               10:42:42           2 generic?                                10:44:57
     3       A. I did not.                       10:42:44                   3             MR. DAVISON: Objection.               10:44:57
     4       Q. Ah, too bad. It's pretty cool. 10:42:44                     4             THE WITNESS: I'm sure that            10:44:58
     5             What was the purpose of the          10:42:48            5        that was something that came up.           10:45:03
     6   sales collateral such as these cars and the 10:42:55               6   QUESTIONS BY MR. CHALOS:                              10:45:07
     7   pens and pads and all that?                  10:42:58              7        Q. And one of the ways for dealing 10:45:10
     8             MR. DAVISON: Objection.                 10:42:59         8   with that was Mallinckrodt produced a             10:45:12
     9             THE WITNESS: Brand awareness. 10:43:00                   9   prescription pad that had a signature line 10:45:16
    10   QUESTIONS BY MR. CHALOS:                               10:43:03   10   that says "dispense as written"; is that       10:45:21
    11       Q. What would be done with these               10:43:04       11   right?                              10:45:25
    12   products? Would they be given to physicians? 10:43:06             12             MR. DAVISON: Objection.               10:45:25
    13       A. Yeah.                            10:43:08                  13             THE WITNESS: We didn't produce 10:45:25
    14             MR. DAVISON: Objection.                 10:43:10        14        a prescription pad that had "dispense 10:45:26
    15             THE WITNESS: Or nursing staff. 10:43:10                 15        as written."                      10:45:27
    16       But again, that was -- you know, they 10:43:11                16   QUESTIONS BY MR. CHALOS:                              10:45:28
    17       were handed out through the sales            10:43:13         17        Q. Okay.                          10:45:28
    18       force.                            10:43:15                    18        A. That might have been                 10:45:29
    19   QUESTIONS BY MR. CHALOS:                               10:43:15   19   illustrative in the sales aid, but we didn't 10:45:31
    20       Q. Okay. If you keep turning               10:43:23           20   produce a prescription pad with "dispense as 10:45:36
    21   to -- it says, "Pharmacy sales aid, front        10:43:24         21   written."                             10:45:38
    22   cover continued." Yeah, that's it, you got 10:43:27               22        Q. Okay. If you turn to -- yeah, 10:45:40
    23   it.                                 10:43:35                      23   it says, "Pharmacy sales aid inside spread," 10:45:45
    24             So it looks like -- it's after 10:43:35                 24   page 2.                              10:45:52
    25   another picture.                         10:43:44                 25             Well, let's start with the race 10:45:56

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     1 car. So is that -- I think I understand. So 10:45:58              1 piece, back cover, continued."                 10:47:39
     2 that prescription pad in the upper right of    10:46:05           2       A. Is this the --                 10:47:50
     3 that sales aid says "dispense as written," I   10:46:09           3       Q. No. If you would -- keep              10:47:51
     4 think.                             10:46:15                       4   going, I think.                       10:47:53
     5       A. Correct.                    10:46:15                     5            MR. DAVISON: One more.                  10:47:54
     6       Q. Okay. And so the graph --           10:46:16             6            THE WITNESS: Okay.                   10:47:55
     7   okay. And if you turn two more pages           10:46:18         7   QUESTIONS BY MR. CHALOS:                             10:47:57
     8   forward, yeah, it says "prescription pad."    10:46:22          8       Q. You see it says, "Pharmacy             10:47:57
     9           That's referencing the         10:46:28                 9   promotion piece, back cover, continued,           10:47:59
    10   prescription pad in that pharmacy sales aid? 10:46:30          10   details of the program." And it references a 10:48:01
    11           MR. DAVISON: Objection.              10:46:32          11   $40 per bottle rebate underneath that. It       10:48:04
    12           THE WITNESS: Okay.                  10:46:33           12   says, "Very attractive offer."              10:48:06
    13   QUESTIONS BY MR. CHALOS:                           10:46:34    13            Do you see that?                10:48:09
    14       Q. Is that -- is that what your      10:46:34              14       A. Uh-huh.                         10:48:09
    15   recollection is?                     10:46:36                  15       Q. Okay. Was there a rebate at            10:48:10
    16           MR. DAVISON: I think you're on 10:46:36                16   some point for pharmacies in connection with 10:48:12
    17       the wrong --                    10:46:37                   17   Magnacet?                              10:48:13
    18   QUESTIONS BY MR. CHALOS:                           10:46:38    18            MR. DAVISON: Objection.                10:48:13
    19       Q. Oh, yeah, I'm sorry.             10:46:39               19            THE WITNESS: Not that I can -- 10:48:13
    20       A. I'm sorry.                   10:46:40                   20       I can't recall, but based on this, it 10:48:15
    21       Q. Yeah.                       10:46:41                    21       seems that that's the case.            10:48:18
    22       A. Oh, this is it. Okay.           10:46:42                22   QUESTIONS BY MR. CHALOS:                             10:48:19
    23       Q. Yeah. So if you look -- it        10:46:44              23       Q. Okay. Do you recall some kind 10:48:19
    24   says "Prescription" -- "Pharmacy sales aid     10:46:46        24   of rebate program associated with Magnacet? 10:48:26
    25   inside spread, page 2, continued" at the top. 10:46:48         25            MR. DAVISON: Objection.                10:48:29

                                                            Page 99                                                            Page 101
     1        A. I'm sorry, yeah, okay. I think 10:46:50                 1            THE WITNESS: Not specifically. 10:48:29
     2   I'm in the right spot.                 10:46:53                 2   QUESTIONS BY MR. CHALOS:                            10:48:29
     3        Q. Yeah. And then it says             10:46:55             3       Q. Okay. Okay. If you could turn 10:48:30
     4   "prescription pad." And then the, whatever, 10:46:55            4   further along to -- it says, "Magnacet        10:48:35
     5   third or fourth bullet down it says,         10:46:55           5   patient access program."                  10:48:38
     6   "Signature on the 'dispense as written line' 10:46:58           6            I think most of the other       10:48:39
     7   reinforces that no substitution should occur 10:47:02           7   presentations have page numbers, so --          10:48:43
     8   with the product."                      10:47:04                8       A. Okay.                         10:48:45
     9        A. Okay.                        10:47:05                   9       Q. -- it won't be this tedious.       10:48:45
    10        Q. Do you see that?                 10:47:05              10   This one. Yeah, that's it.               10:48:50
    11             That's a reference, that       10:47:05              11       A. I'm sorry.                    10:48:51
    12   signature pad -- sorry, the prescription pad 10:47:06          12            MR. DAVISON: Next page.               10:48:52
    13   is a reference to the one in the sales aid? 10:47:06           13            THE WITNESS: Okay. Okay.               10:48:53
    14             MR. DAVISON: Objection.              10:47:09        14   QUESTIONS BY MR. CHALOS:                            10:48:57
    15             THE WITNESS: That's my --            10:47:10        15       Q. Yeah, there you got it.            10:48:58
    16        that's my recollection.             10:47:10              16            It says, "Magnacet patient        10:48:59
    17   QUESTIONS BY MR. CHALOS:                            10:47:11   17   access program, co-pay discount cards,          10:49:01
    18        Q. Okay. So Mallinckrodt, to your 10:47:11                18   discount from their third-party payer         10:49:05
    19   recollection, never produced a prescription 10:47:12           19   co-pay."                            10:49:09
    20   pad for doctors to use; is that right?       10:47:15          20            And the next bullet says, "$30 10:49:10
    21        A. That's my recollection.            10:47:17            21   off initial three fills with minimum         10:49:12
    22             MR. DAVISON: Objection.              10:47:18        22   patient" -- "with MIN patient responsibility 10:49:15
    23   QUESTIONS BY MR. CHALOS:                            10:47:18   23   of $5."                            10:49:17
    24        Q. Okay. Okay. If you could turn 10:47:20                 24            Do you see that?              10:49:18
    25   to the page that says, "Pharmacy promotion        10:47:36     25       A. Yes.                         10:49:18

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     1       Q. Do you recall a patient co-pay 10:49:19                  1       Q. Did you -- when you were at           10:51:30
     2   discount program with Magnacet?                 10:49:21        2   Mallinckrodt, did you ever recall seeing a 10:51:31
     3       A. Generally, yes.                 10:49:22                 3   script that was given to sales            10:51:40
     4       Q. And by that program, it would          10:49:24          4   representatives to simulate an interaction     10:51:41
     5   be some reduced co-pay for the patients?         10:49:27       5   with the doctor?                      10:51:44
     6       A. Correct.                      10:49:29                   6            MR. DAVISON: Objection.              10:51:45
     7       Q. Okay. If you flip over to the 10:49:30                   7            THE WITNESS: Did I ever, yes, 10:51:45
     8   next page, "Guaranteed sales program."           10:49:36       8       I'm sure.                     10:51:47
     9            Do you recall there being a       10:49:43             9   QUESTIONS BY MR. CHALOS:                           10:51:47
    10   guaranteed sales program for pharmacies           10:49:44     10       Q. Was that -- were those scripts 10:51:48
    11   associated with Magnacet?                   10:49:48           11   developed by the marketing department?           10:51:50
    12            MR. DAVISON: Objection.              10:49:50         12       A. We would participate, but I          10:51:51
    13            THE WITNESS: Not specifically, 10:49:50               13   think generally they were developed by the 10:51:54
    14       but, I mean, I see this here.        10:49:57              14   training department.                   10:51:55
    15   QUESTIONS BY MR. CHALOS:                            10:49:58   15       Q. Was the training department           10:51:55
    16       Q. Yeah, do you -- do you              10:49:58            16   separate from the marketing department?          10:52:01
    17   understand what a guaranteed sales program         10:49:59    17       A. Yes.                        10:52:02
    18   is?                               10:50:01                     18       Q. Was that located within the          10:52:02
    19            MR. DAVISON: Objection.              10:50:01         19   sales group?                        10:52:05
    20            THE WITNESS: I believe so.           10:50:02         20       A. To be honest, it probably           10:52:07
    21   QUESTIONS BY MR. CHALOS:                            10:50:06   21   varied over my tenure. I think initially it 10:52:11
    22       Q. How do those programs work in            10:50:07       22   was sales and sales training or sales        10:52:14
    23   general?                            10:50:09                   23   operations and training. I think it        10:52:17
    24            MR. DAVISON: Objection.              10:50:10         24   fluctuated over time.                  10:52:18
    25            THE WITNESS: Well, I think            10:50:11        25       Q. Okay. Were you ever part of           10:52:20

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     1       this might have been, looking at this, 10:50:13             1 the sales training group?                  10:52:21
     2       the only time that we did this, so      10:50:15            2       A. I was not part of the sales         10:52:22
     3       I -- I don't know generally how they       10:50:17         3   training group.                       10:52:24
     4       work, but I think specifically how       10:50:19           4       Q. Did you ever have a role in           10:52:24
     5       this one worked is -- well, I actually 10:50:21             5   sales training while you were at             10:52:26
     6       shouldn't speak to that. I basically 10:50:26               6   Mallinckrodt?                          10:52:27
     7       would have to read off of this.        10:50:27             7            MR. DAVISON: Objection.               10:52:28
     8   QUESTIONS BY MR. CHALOS:                            10:50:29    8            THE WITNESS: I'm -- not              10:52:28
     9       Q. Do you recall there being a          10:50:29            9       explicitly.                    10:52:33
    10   guaranteed sales program with Magnacet?            10:50:31    10   QUESTIONS BY MR. CHALOS:                            10:52:33
    11       A. Not before you put this in          10:50:34            11       Q. Was the division of labor            10:52:42
    12   front of me.                         10:50:36                  12   between the sales group and the marketing         10:52:45
    13       Q. Okay. Okay. You can put that 10:50:37                   13   group, was that consistent over time when you 10:52:46
    14   aside.                            10:50:45                     14   were at Mallinckrodt, or did that change?        10:52:49
    15             One of the tools that         10:50:46               15            MR. DAVISON: Objection.               10:52:53
    16   Mallinckrodt salespeople used was a -- was        10:51:10     16            THE WITNESS: I think it was           10:52:54
    17   scripts for selling scenarios and          10:51:16            17       pretty consistent over time.          10:52:57
    18   interactions with doctors; is that right?     10:51:21         18   QUESTIONS BY MR. CHALOS:                            10:52:58
    19             MR. DAVISON: Objection.              10:51:22        19       Q. Okay. So what did the sales           10:52:58
    20             THE WITNESS: Can you be more            10:51:23     20   group do versus the marketing group with          10:53:01
    21       specific or can you --              10:51:25               21   respect to the opioid products, let's say?     10:53:03
    22   QUESTIONS BY MR. CHALOS:                            10:51:26   22            MR. DAVISON: Objection.               10:53:06
    23       Q. Yeah.                         10:51:27                  23            THE WITNESS: The sales group 10:53:06
    24       A. I'm not sure I understand the        10:51:27           24       talked to physicians and promoted the 10:53:07
    25   question.                           10:51:30                   25       product, specifically the risks and      10:53:11

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     1       benefits of the product. They        10:53:16               1 with pharmacies?                          10:55:52
     2       educated them, the physicians.        10:53:17              2       A. He -- I know he worked in the          10:55:53
     3       Whereas the marketing really -- group 10:53:20              3   managed care area, which dealt with            10:55:55
     4       developed the marketing message.        10:53:22            4   pharmacies and dealt with managed care           10:55:57
     5   QUESTIONS BY MR. CHALOS:                         10:53:23       5   payers, but as I mentioned, I don't recollect 10:56:02
     6       Q. Okay. What was your role in         10:53:23             6   what position he was in at this time.        10:56:05
     7   developing the launch plan for Magnacet?       10:53:28         7       Q. Okay. And next line here is,         10:56:06
     8       A. I participated in that. I      10:53:32                  8   "Our sales force is actively creating demand 10:56:08
     9   think that at the time Geoffrey Arbuckle was 10:53:39           9   in physicians' offices in your proximity." 10:56:10
    10   the head of the marketing.              10:53:42               10            Do you see that?              10:56:13
    11           (Mallinckrodt-Wessler Exhibit 9 10:53:57               11       A. Yes.                        10:56:13
    12       marked for identification.)         10:53:57               12       Q. And that was one of the goals         10:56:14
    13   QUESTIONS BY MR. CHALOS:                         10:53:57      13   of the sales force, was to actively create    10:56:15
    14       Q. Let's mark as Exhibit Number 9 10:53:57                 14   demand for Mallinckrodt products?              10:56:17
    15   an e-mail, MNK-T1_0003065351.                 10:54:02         15            MR. DAVISON: Objection.              10:56:20
    16           Have you had a chance to review 10:54:16               16            THE WITNESS: The role of the 10:56:21
    17   that?                           10:54:40                       17       sales force was to educate physicians 10:56:22
    18       A. Yes.                       10:54:40                     18       on the risks and benefits of the       10:56:24
    19       Q. Okay. This is an e-mail dated 10:54:41                  19       product so the physicians could make 10:56:26
    20   February 21st of 2007 at 5:31 p.m. from you 10:54:44           20       the decision on the appropriate         10:56:27
    21   to somebody named Jason Jones.              10:54:49           21       patients for the therapy.           10:56:29
    22           Do you see that?             10:54:51                  22   QUESTIONS BY MR. CHALOS:                            10:56:34
    23       A. Yes.                       10:54:51                     23       Q. What does "actively" creating         10:56:35
    24       Q. Do you know who Jason Jones is? 10:54:52                24   demand mean here?                         10:56:37
    25       A. Yes.                       10:54:53                     25            MR. DAVISON: Objection.              10:56:38

                                                         Page 107                                                             Page 109
     1       Q. Who is that?                   10:54:54                  1            THE WITNESS: That -- that I          10:56:39
     2       A. He was a former employee of            10:54:55          2       can't really speculate on -- because I 10:56:39
     3   Mallinckrodt.                        10:54:58                   3       can't remember the context of this       10:56:41
     4       Q. I mean, what was his role?          10:54:59             4       e-mail at all.                  10:56:41
     5       A. It varied pretty substantially. 10:55:01                 5   QUESTIONS BY MR. CHALOS:                           10:56:42
     6       Q. Do you have any idea of what           10:55:04          6       Q. Okay. Was that phrase               10:56:43
     7   his role was in 2007?                  10:55:06                 7   "actively" creating demand something that you 10:56:45
     8       A. I don't, off the top of my        10:55:07               8   used when you worked at Mallinckrodt in terms 10:56:49
     9   head.                            10:55:10                       9   of the role of the sales force?           10:56:51
    10       Q. Okay. Well, in this e-mail you 10:55:10                 10            MR. DAVISON: Objection.              10:56:53
    11   said to Mr. Jones, "Magnacet is a product       10:55:11       11            THE WITNESS: Well, as it's          10:56:54
    12   which maximizes the analgesia provided in an 10:55:16          12       here in front of me in 2007, it       10:56:57
    13   oxycodone/APAP combination product while            10:55:20   13       appears I used it once, but I can't    10:56:59
    14   remaining below the 4-gram threshold at two 10:55:24           14       speak to whether I used it frequently 10:57:03
    15   tablet QID dosing by virtue of the unique       10:55:28       15       or not.                       10:57:05
    16   400-milligram dose."                    10:55:33               16   QUESTIONS BY MR. CHALOS:                           10:57:06
    17            The next line is, "Purchase now 10:55:34              17       Q. Okay. Well, is one of the           10:57:06
    18   and receive a $40 rebate per bottle, up to a 10:55:36          18   roles of the sales force at Mallinckrodt to 10:57:13
    19   maximum of $80 or two bottles per pharmacy." 10:55:39          19   actively create demand for Mallinckrodt         10:57:15
    20            Do you see that?             10:55:44                 20   products?                           10:57:17
    21       A. Yes.                       10:55:44                     21            MR. DAVISON: Objection.              10:57:18
    22       Q. Okay. Does that refresh your          10:55:44          22            THE WITNESS: One of the roles 10:57:18
    23   recollection as to what role Mr. Jones may      10:55:48       23       is to, again, educate physicians so     10:57:20
    24   have had?                           10:55:51                   24       that they can make the decision.        10:57:24
    25            Did he have something to do        10:55:51           25


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                                                                   Page 110                                                                   Page 112
     1 QUESTIONS BY MR. CHALOS:                                10:57:25         1 QUESTIONS BY MR. CHALOS:                                     10:59:06
     2      Q.    Right.                     10:57:25                           2      Q.      Okay. Were sales                10:59:07
     3           Was -- I understand it was that     10:57:25                   3 representatives told to call on pharmacies as 10:59:14
     4 a role, but was one of their goals of the        10:57:27                4 well with respect to Magnacet?                10:59:19
     5 sales force to actively create demand for         10:57:29               5            MR. DAVISON: Objection.              10:59:20
     6 Mallinckrodt products?                       10:57:32                    6            THE WITNESS: I can't recall         10:59:20
     7           MR. DAVISON: Objection.                 10:57:33               7       specifically. I mean, based on the      10:59:22
     8           THE WITNESS: In the                 10:57:33                   8       fact that we had a program, I'm sure     10:59:23
     9      appropriate patient types, subject to     10:57:34                  9       that they did call on pharmacies.       10:59:26
    10      physicians' discretion, yes.           10:57:37                    10   QUESTIONS BY MR. CHALOS:                           10:59:28
    11           (Mallinckrodt-Wessler Exhibit          10:57:42               11       Q. Okay. If you look at the           10:59:28
    12      10 marked for identification.)           10:57:44                  12   second -- well, third paragraph, it says,    10:59:32
    13 QUESTIONS BY MR. CHALOS:                                10:57:46        13   "Rep: I have been driving physician demand 10:59:35
    14      Q.    Okay. We'll mark Exhibit            10:57:46                 14   in the area for Magnacet, and my company is 10:59:38
    15 Number 10 here, which is MNK-T1_0003064798.                  10:57:47   15   so confident we will generate prescriptions 10:59:42
    16 And on the top of this document it says,           10:58:04             16   that we will guarantee it."              10:59:43
    17 "Pharmacy guaranteed sales program selling             10:58:06         17            Do you see that?              10:59:45
    18 scenario."                            10:58:11                          18       A. Uh-huh.                       10:59:45
    19           Do you see that?              10:58:11                        19       Q. Okay. Is that a message that        10:59:47
    20      A.    I do see that.              10:58:12                         20   came from the marketing department, to your 10:59:56
    21      Q.    Okay. You can take as much as          10:58:12              21   recollection?                        10:59:58
    22 you need to review the document. My first           10:58:14            22            MR. DAVISON: Objection.              10:59:58
    23 question will be is do you know who prepared            10:58:15        23            THE WITNESS: I don't recall.        10:59:59
    24 this document?                          10:58:18                        24       And I don't know if this was a draft     11:00:00
    25      A.    I do not know who prepared            10:58:20               25       document or -- you know, I don't         11:00:01

                                                                   Page 111                                                                   Page 113
     1 this.                              10:58:28                              1      really recall.                   11:00:03
     2            And I -- after we get through     10:58:29                    2 QUESTIONS BY MR. CHALOS:                               11:00:04
     3   these questions --                    10:58:31                         3      Q.      Okay. You don't know who             11:00:05
     4       Q. Yes.                        10:58:31                            4 prepared this?                         11:00:07
     5       A. -- could I use the restroom?        10:58:32                    5      A.      I don't -- I don't remember who 11:00:08
     6       Q. Absolutely. Yes.                 10:58:33                       6 prepared the --                        11:00:09
     7       A. Okay.                        10:58:33                           7      Q.      While you were at Mallinckrodt, 11:00:10
     8       Q. Let's finish with this           10:58:34                       8 did you -- do you recall ever hearing the         11:00:13
     9   document, if you can hold it.              10:58:35                    9 terms "driving physician demand" or something 11:00:16
    10       A. Absolutely, I can.              10:58:37                       10 like that?                         11:00:19
    11       Q. Okay. But if we get emergency 10:58:38                         11           MR. DAVISON: Objection.                 11:00:19
    12   status, let me know.                   10:58:40                       12           THE WITNESS: I can't recall.           11:00:20
    13       A. No, I just wanted to...           10:58:41                     13           MR. CHALOS: Okay. Okay. You                11:00:21
    14       Q. Yes, sure.                    10:58:43                         14      can put that aside for now, and let's    11:00:30
    15       A. So in answer to your question I 10:58:48                       15      take a quick break.                11:00:33
    16   believe you asked, I do not know who prepared 10:58:51                16           VIDEOGRAPHER: We are going off 11:00:34
    17   this document.                        10:58:53                        17      the record at 11 a m.               11:00:35
    18       Q. Okay. Is this the type of          10:58:53                    18       (Off the record at 11:00 a m.)         11:00:37
    19   document, when you were at Mallinckrodt, that 10:58:55                19           VIDEOGRAPHER: We are back on                11:09:49
    20   would come from the marketing department?           10:58:57          20      the record at 11:09 a m.              11:10:04
    21            MR. DAVISON: Objection.              10:58:58                21           (Mallinckrodt-Wessler Exhibit          11:10:06
    22            THE WITNESS: I can't remember 10:58:59                       22      11 marked for identification.)          11:10:07
    23       who would produce this. It could have 10:59:02                    23 QUESTIONS BY MR. CHALOS:                               11:10:07
    24       been marketing; it could have been        10:59:04                24      Q.      Okay. Let's mark as Exhibit      11:10:07
    25       sales training.                 10:59:06                          25 Number 11 MNK-T1_0001126586, and it's another 11:10:09


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     1 presentation with no page numbers.             11:10:21             1        The FDA -- there were products that          11:14:36
     2       A. Okay. No problem.                 11:10:25                 2        were unapproved. They were -- I don't 11:14:38
     3       Q. The first page says, "2009         11:10:26                3        know what kind of a -- I'm not a          11:14:40
     4   TussiCaps A&P budget presentation," and it's 11:10:28             4        regulatory expert, but I think they       11:14:42
     5   dated December the 10th of 2008.             11:10:33             5        were grandfathered or something like 11:14:46
     6            My first question to you will    11:10:36                6        that so they weren't officially         11:14:47
     7   be what is A&P?                        11:10:39                   7        subject to FDA approval. They              11:14:49
     8       A. I believe advertising and         11:10:42                 8        predated that, so I believe the FDA        11:14:50
     9   promotion.                          11:10:43                      9        removed them from the marketplace.            11:14:52
    10       Q. Okay. Okay. Have you had a            11:10:44            10   QUESTIONS BY MR. CHALOS:                              11:14:53
    11   chance to review that?                  11:13:10                 11        Q. If you turn to, I don't know,         11:15:05
    12       A. I have.                    11:13:10                       12   it's eight or ten pages in, it says, "2009     11:15:07
    13       Q. Okay. Have you seen this            11:13:11              13   A&P overview."                             11:15:10
    14   document before today?                   11:13:12                14        A. Okay.                          11:15:15
    15       A. I can't recall.              11:13:13                     15        Q. It says at the top,              11:15:18
    16       Q. Was this a document that you         11:13:14             16   "$7.11 million investment in total."            11:15:21
    17   prepared?                          11:13:18                      17             Do you see that?                11:15:26
    18            MR. DAVISON: Objection.             11:13:18            18        A. Yes.                          11:15:26
    19            THE WITNESS: I can't recall.       11:13:19             19        Q. And there's a breakdown among 11:15:27
    20   QUESTIONS BY MR. CHALOS:                          11:13:20       20   five categories.                        11:15:28
    21       Q. And was your role in 2008 with 11:13:21                   21             Do you see that?                11:15:29
    22   respect to TussiCaps related to preparing A&P 11:13:27           22        A. Yes, I see that.                 11:15:30
    23   budgets?                           11:13:33                      23        Q. Okay. So is that -- do you            11:15:31
    24       A. Yes.                       11:13:33                       24   recall that the -- well, let me back up.       11:15:35
    25       Q. Okay. Was there anybody else          11:13:34            25             Does that mean that the           11:15:36

                                                            Page 115                                                                   Page 117
     1 in that role as well at that time?             11:13:35             1 investment in A&P -- and what was A&P again?               11:15:38
     2       A. Whoever else would have been in 11:13:37                   2       A.    Advertising and promotion.           11:15:43
     3   marketing at that time.                    11:13:39               3       Q.    Yeah, the investment in            11:15:44
     4       Q. Okay. So you may have prepared 11:13:41                    4 advertising and promotion in 2009 for               11:15:45
     5   this; is that possible?                  11:13:44                 5 TussiCaps was -- the expenditure was                11:15:49
     6             MR. DAVISON: Objection.               11:13:47          6 $7.1 million?                          11:15:53
     7             THE WITNESS: It is possible.          11:13:48          7            MR. DAVISON: Objection.                11:15:54
     8   QUESTIONS BY MR. CHALOS:                              11:13:49    8            THE WITNESS: I don't know,               11:15:54
     9       Q. You just don't remember?                11:13:49           9       because I don't know if this is final,    11:15:56
    10       A. I do not.                      11:13:50                   10       a draft or this was what we may have          11:15:57
    11       Q. Okay. Well, let me ask you              11:13:52          11       proposed, so I frankly don't know.         11:16:00
    12   about a few things here. If you could turn 11:13:54              12 QUESTIONS BY MR. CHALOS:                                  11:16:05
    13   to -- to this third page, it says, "Cough and 11:13:57           13       Q.    Okay. If you turn over to the       11:16:06
    14   cold market."                           11:14:04                 14 next page, it says, "Operational tactic and         11:16:13
    15             It says, "The fiscal year '08     11:14:15             15 budget."                              11:16:16
    16   and '09 cough and cold market is in a state 11:14:16             16            The second big bullet says,         11:16:18
    17   of flux. September 28, 2007, FDA announced 11:14:20              17 "276 million incremented monthly based upon               11:16:23
    18   removal of approximately 200 hydrocodone             11:14:25    18 the initial tactical plan."                 11:16:25
    19   products from the market."                   11:14:26            19            Do you see that?                 11:16:27
    20             Do you see that?               11:14:27                20       A.    I'm losing --                11:16:28
    21       A. Yes.                          11:14:28                    21       Q.    Okay. It's "Operational            11:16:29
    22       Q. Do you recall what that was all 11:14:28                  22 tactics and budget."                        11:16:31
    23   about?                               11:14:30                    23       A.    This is where I'm at --          11:16:34
    24             MR. DAVISON: Objection.               11:14:31         24       Q.    Yeah.                     11:16:34
    25             THE WITNESS: Just vaguely.             11:14:31        25       A.    -- but that doesn't look like      11:16:35

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     1 that.                             11:16:36                         1 to peer: Budget and tactics, third-party            11:18:27
     2            MR. DAVISON: I think you went 11:16:36                  2   partnership, evaluating American College of 11:18:31
     3       too far.                     11:16:37                        3   Emergency Physicians as a possible partner." 11:18:34
     4            MR. CHALOS: I think one page         11:16:38           4            Do you see that?                  11:18:35
     5       prior to that.                11:16:39                       5       A. Yes.                            11:18:35
     6            THE WITNESS: Okay.                11:16:40              6       Q. Did you have any role as --              11:18:36
     7            MR. CHALOS: You're right,          11:16:40             7   with Mallinckrodt in determining which               11:18:39
     8       Peter. Yeah.                    11:16:42                     8   third-party partnerships the company should 11:18:42
     9   QUESTIONS BY MR. CHALOS:                          11:16:43       9   enter into?                            11:18:44
    10       Q. Do you see that?                11:16:44                 10            MR. DAVISON: Objection.                  11:18:44
    11       A. Yes.                       11:16:44                      11            THE WITNESS: Maybe identifying 11:18:45
    12       Q. And okay. It says, "276M            11:16:45             12       them but not owning those                   11:18:47
    13   incremented monthly based upon initial         11:16:49         13       partnerships, and I frankly don't           11:18:49
    14   tactical plan."                    11:16:51                     14       remember any of this.                    11:18:51
    15            Do you see that?             11:16:53                  15   QUESTIONS BY MR. CHALOS:                                11:18:52
    16       A. Yes.                       11:16:53                      16       Q. Okay. It says, "Personal                11:18:52
    17       Q. Is that -- what is 276 -- is     11:16:53                17   promotion: Budget and tactics" on top. And 11:19:24
    18   that 276 million?                    11:16:55                   18   then it says "trials" -- there it is, "trial 11:19:26
    19            MR. DAVISON: Objection.             11:16:56           19   scripts." Yeah.                           11:19:30
    20            THE WITNESS: I can't recall,       11:16:56            20       A. I'm sorry.                        11:19:59
    21       but that seems like that would be way 11:16:58              21       Q. That's okay. It's cumbersome              11:19:59
    22       inordinately high.               11:17:00                   22   here.                                11:20:01
    23   QUESTIONS BY MR. CHALOS:                          11:17:02      23       A. Okay.                            11:20:01
    24       Q. Yeah. Okay. Right.               11:17:02                24       Q. "Personal promotion" and "trial 11:20:03
    25            Did you have any role when you 11:17:16                25   scripts" is what it says.                   11:20:03

                                                           Page 119                                                                Page 121
     1 were at Mallinckrodt in developing any of the 11:17:17             1        A. Okay.                          11:20:03
     2 medical literature, medical studies,            11:17:20           2        Q. "Integral tool to garner            11:20:06
     3   regarding any of the Mallinckrodt products? 11:17:24             3   initial trial," under that it says, "Four     11:20:08
     4        A. The clinical trials and things 11:17:26                  4   free capsules with accompanying                  11:20:11
     5   like that?                           11:17:27                    5   prescription."                          11:20:13
     6        Q. No, I mean the -- well, let's       11:17:28             6             Do you see that?                11:20:14
     7   start with that, yes, clinical trials?      11:17:31             7        A. Yes.                          11:20:14
     8        A. No.                          11:17:33                    8        Q. Do you recall with TussiCaps if 11:20:14
     9        Q. Okay. What about the                 11:17:33            9   there was a program where patients would            11:20:15
    10   literature that -- postmarketing literature, 11:17:35           10   receive four free capsules with a              11:20:17
    11   did you have any role in developing any of         11:17:38     11   prescription?                           11:20:20
    12   that?                               11:17:40                    12             MR. DAVISON: Objection.                11:20:20
    13             MR. DAVISON: Objection.               11:17:40        13             THE WITNESS: Now that you've 11:20:21
    14             THE WITNESS: Writing it or -- 11:17:41                14        put this in front of me.              11:20:22
    15        no.                           11:17:43                     15   QUESTIONS BY MR. CHALOS:                               11:20:24
    16   QUESTIONS BY MR. CHALOS:                             11:17:43   16        Q. Okay. Do you also recall a             11:20:24
    17        Q. In deciding what areas needed          11:17:44         17   discount for patients, or is that something 11:20:28
    18   to be addressed through medical literature, 11:17:46            18   you were just -- if you look at -- sorry.       11:20:29
    19   did you have any role in deciding that?          11:17:49       19   Look at the next page, if you would.             11:20:31
    20        A. Not as it related to medical         11:17:50           20             "Personal promotion: Budget           11:20:33
    21   literature.                          11:17:52                   21   and tactics, co-pay discount coupons."            11:20:37
    22        Q. Okay. If you flip over to --        11:17:53            22             It says, "10 percent discount      11:20:42
    23   it says, "Clinical peer to peer: Budget and 11:17:59            23   of patient out-of-pocket costs."              11:20:46
    24   tactics."                            11:18:02                   24             Do you see that?                11:20:49
    25             This page says, "Clinical peer 11:18:20               25        A. It says, "$10 discount when            11:20:49

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                                                     Page 122                                                                        Page 124
     1 accompanied" --                      11:20:50                     1 remember if we fielded this initiative or        11:22:57
     2       Q.    Yeah. What did I say, 10     11:20:50                 2 not.                              11:23:00
     3   percent?                                                        3      Q.    Okay. Meaning whether you             11:23:00
     4       A. Yeah.                                                    4 implemented it?                            11:23:02
     5       Q. $10, yeah, $10.                                          5      A.    Correct.                   11:23:02
     6            Do you see that?                                       6      Q.    Okay. Is TussiCaps still on         11:23:03
     7       A. Yes.                                                     7 the market?                           11:23:11
     8       Q. Do you recall that program as 11:20:53                   8      A.    I honestly can't recall. Or I     11:23:11
     9   you sit here today?                   11:20:55                  9 don't -- I mean, I shouldn't say I can't       11:23:16
    10       A. Yeah, now that you put it in        11:20:55            10 recall. I don't know. Because as I             11:23:17
    11   front of me.                       11:20:57                    11 mentioned before, I think Mallinckrodt sold           11:23:20
    12       Q. Okay. If you turn to             11:20:57               12 this asset.                        11:23:21
    13   nonpersonal promotion website.               11:21:14          13      Q.    Okay. So we may only have one          11:23:22
    14            Do you recall there being a     11:21:24              14 copy.                              11:23:38
    15   website capthecough.com associated with          11:21:26      15           MR. DAVISON: We have some                   11:23:40
    16   TussiCaps?                           11:21:32                  16      copies here.                     11:23:41
    17       A. Now, again, now that you put it 11:21:33                17           (Mallinckrodt-Wessler Exhibit         11:23:53
    18   in front of me.                     11:21:35                   18      12 marked for identification.)           11:23:53
    19       Q. Okay. Did that ever go online, 11:21:36                 19 QUESTIONS BY MR. CHALOS:                                11:23:53
    20   do you remember, that website?               11:21:39          20      Q.    Let's mark as Exhibit 12 a         11:24:00
    21       A. I believe so. I can't recall 11:21:40                   21 document, MNK-T1_0007901756 through 1762.                   11:24:01
    22   specifically.                      11:21:43                    22 Here you are. And you can look at the entire 11:24:15
    23       Q. Flip to the next page, digital 11:21:43                 23 document.                             11:24:24
    24   advertising. It references, "Banner ads,     11:21:54          24           What I'm going to ask you about 11:24:24
    25   skyscraper ads, to drive health care        11:21:58           25 is under the marketing section on page 1760.          11:24:26

                                                          Page 123                                                                   Page 125
     1 practitioners and patients to our website."      11:22:00         1 There's also a 5 in the upper right corner of 11:24:31
     2            Do you see that?              11:22:04                 2 that page. But you can read as much of this       11:24:34
     3            MR. DAVISON: Objection.              11:22:04          3 as you need to get context.                11:24:37
     4            THE WITNESS: Uh-huh.                 11:22:05          4            And the date on the document       11:24:47
     5   QUESTIONS BY MR. CHALOS:                            11:22:05    5   was -- sorry about that. The date on the      11:24:48
     6        Q. Is that something that ever        11:22:05             6   document is July 6, 2004.                11:24:52
     7   happened?                             11:22:06                  7       A. Okay.                       11:26:44
     8        A. Or I should say yes. Sorry.         11:22:06            8       Q. Okay. So this is something          11:26:44
     9        Q. Yeah, you got it.               11:22:08                9   that is entitled "Monthly Report June."       11:26:50
    10            Was that -- were there ever       11:22:09            10            Do you see that?             11:26:53
    11   skyscraper ads associated with TussiCaps, to 11:22:11          11       A. Yes.                       11:26:53
    12   your knowledge?                         11:22:14               12       Q. Do you recognize this format? 11:26:54
    13        A. I can't recall.              11:22:14                  13       A. I don't recall it.           11:26:56
    14        Q. Okay. If you flip over to the 11:22:15                 14       Q. Okay. You're in 20 -- I'm          11:26:58
    15   page that says, "Nonpersonal promotion,          11:22:26      15   sorry, 2004. What was your role at           11:27:02
    16   budget and tactics, Catalina marketing         11:22:29        16   Mallinckrodt then? Do you remember?              11:27:06
    17   initiative. Target patients filling       11:22:32             17       A. I believe it was prior to my       11:27:11
    18   three-plus Tussionex prescriptions in rolling 11:22:44         18   role in marketing. I don't remember the        11:27:14
    19   three" -- sorry -- "rolling six-month        11:22:47          19   specific title.                   11:27:16
    20   period."                            11:22:50                   20       Q. Sales operation?                11:27:16
    21            Do you see where it says that? 11:22:50               21       A. Probably at that time.           11:27:17
    22        A. Yes.                        11:22:51                   22       Q. Okay. So if you look at that 11:27:20
    23        Q. Do you recall the Catalina          11:22:51           23   page --                          11:27:22
    24   marketing initiative?                   11:22:53               24       A. Yeah, actually --              11:27:23
    25        A. I recall it generally. I can't 11:22:56                25       Q. Sorry, yeah.                  11:27:24

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                                                          Page 126                                                            Page 128
     1       A. -- it says I got promoted to        11:27:25             1            MR. DAVISON: Objection.               11:30:17
     2   marketing manager, new products. So on            11:27:27      2            THE WITNESS: I believe I            11:30:18
     3   page 7.                            11:27:29                     3       certainly played a role in that.      11:30:20
     4       Q. Yeah.                        11:27:30                    4   QUESTIONS BY MR. CHALOS:                            11:30:21
     5       A. So that would have been before 11:27:30                  5       Q. You can take as much time as           11:31:13
     6   my role in marketing.                    11:27:32               6   you need to review this. My first question 11:31:16
     7       Q. Okay. So in the section here          11:27:33           7   will be about page 11, Exhibit 13.           11:31:18
     8   that -- on page 1760, it's page 5 of        11:27:36            8       A. Okay.                         11:31:43
     9   Exhibit 12, the marketing section?            11:27:40          9       Q. From a marketing standpoint,           11:31:44
    10       A. Yes.                        11:27:42                    10   was TussiCaps considered a success?             11:31:46
    11       Q. At that time did you have            11:27:43           11            MR. DAVISON: Objection.               11:31:48
    12   anything to do with preparing or presenting 11:27:45           12            THE WITNESS: I can't really          11:31:49
    13   the marking section here?                  11:27:49            13       recall. I don't know how it did        11:31:53
    14       A. I do not remember.                 11:27:50             14       relative to budget in terms of the      11:31:55
    15       Q. Okay. And what I'm asking              11:27:51         15       forecast goal.                   11:31:58
    16   specifically about is the section there that 11:27:54          16   QUESTIONS BY MR. CHALOS:                            11:31:58
    17   says, "Results against performance metrics, 11:27:56           17       Q. How about Exalgo? From a                11:32:00
    18   marketing physician productivity and ROI on 11:27:59           18   marketing standpoint, was Exalgo considered a 11:32:02
    19   marketing programs."                      11:28:03             19   success?                            11:32:05
    20            Do you see that?              11:28:04                20            MR. DAVISON: Objection.               11:32:05
    21       A. Yes.                        11:28:04                    21            THE WITNESS: I know that it -- 11:32:06
    22       Q. Okay. As you sit here today,          11:28:05          22       I probably don't believe so, given the 11:32:12
    23   do you recall having anything to do with that 11:28:07         23       really low market share. I think on      11:32:14
    24   portion of this report?                 11:28:09               24       page 12 it's, you know, less than       11:32:17
    25       A. Not that I can recall.           11:28:10               25       1 percent. It's .37 percent TRx        11:32:19

                                                          Page 127                                                            Page 129
     1       Q. Okay. Okay. We can put that            11:28:11          1       market share objective. So it was a      11:32:23
     2   aside then.                         11:28:15                    2       very small product.                11:32:25
     3            What was your role with respect 11:28:16               3   QUESTIONS BY MR. CHALOS:                           11:32:26
     4   to Exalgo at Mallinckrodt?                 11:28:27             4       Q. Was there ever a time where           11:32:28
     5       A. I was, I believe, the product       11:28:31             5   Exalgo, from a marketing standpoint, was         11:32:31
     6   director at that time.                 11:28:35                 6   considered successful?                   11:32:33
     7       Q. Okay. What does that mean in           11:28:36          7            MR. DAVISON: Objection.              11:32:34
     8   terms of your duties?                   11:28:38                8            THE WITNESS: Not that I can          11:32:35
     9       A. I was responsible for             11:28:40               9       recall. But I guess it would          11:32:36
    10   development of marketing messaging and            11:28:43     10       fundamentally depend on who you asked. 11:32:43
    11   development of the marketing collateral or       11:28:46      11   QUESTIONS BY MR. CHALOS:                           11:32:46
    12   sales pieces.                        11:28:49                  12       Q. And I think -- well, was           11:32:47
    13            (Mallinckrodt-Wessler Exhibit       11:29:27          13   Xartemis, from a marketing standpoint --        11:32:53
    14       13 marked for identification.)         11:29:27            14   sorry -- Xartemis, from a marketing           11:32:57
    15   QUESTIONS BY MR. CHALOS:                            11:29:27   15   standpoint, considered to be successful?       11:32:59
    16       Q. So we'll mark as Exhibit 13          11:29:37           16            MR. DAVISON: Objection.              11:33:00
    17   MNK-T1_0001192760. It's another native             11:29:40    17            THE WITNESS: Ah, no.                11:33:00
    18   document, but these slides have numbers on        11:29:50     18   QUESTIONS BY MR. CHALOS:                           11:33:01
    19   them.                              11:29:54                    19       Q. Probably doesn't depend on who 11:33:02
    20            So the first page says, "Fiscal 11:29:56              20   you asked for that one.                 11:33:04
    21   year '10, TussiCaps and Exalgo commercial         11:29:58     21       A. Well, I mean, I'm severed as a 11:33:05
    22   plans dated October 28th of 2009."            11:30:02         22   consequence.                         11:33:08
    23            Was it your responsibility at    11:30:10             23       Q. Okay. Let's look at page --         11:33:09
    24   that time in 2009 to develop the commercial 11:30:12           24   actually, page 8 of Exhibit 13. It says,     11:33:13
    25   plans for TussiCaps and Exalgo?               11:30:14         25   "Exalgo TOWS."                           11:33:23

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                                                          Page 130                                                            Page 132
     1            Do you see that?              11:33:25                 1        A. Yes.                       11:34:58
     2       A. Yeah.                         11:33:25                   2        Q. How was that a threat to           11:34:58
     3       Q. I think TOWS stands for              11:33:26            3   Exalgo?                             11:34:59
     4   threats, opportunities, weaknesses and         11:33:29         4             MR. DAVISON: Objection.             11:35:00
     5   strengths.                          11:33:31                    5             THE WITNESS: I think that          11:35:01
     6            Does that sound right?           11:33:31              6        would leave certainly a stain on the    11:35:06
     7            MR. DAVISON: Objection.              11:33:32          7        reputation of the company and on the 11:35:08
     8            THE WITNESS: Seems reasonable. 11:33:32                8        product, so we were diligent about       11:35:10
     9   QUESTIONS BY MR. CHALOS:                            11:33:34    9        trying to do what we could to make        11:35:14
    10       Q. Okay. I'm going to ask you            11:33:35          10        sure that the product was used in a     11:35:16
    11   about a couple of these phrases here.         11:33:36         11        safe manner. That was really           11:35:19
    12            First of all, let me back up.    11:33:39             12        important in our promotional efforts. 11:35:22
    13            How -- how were the threats,       11:33:40           13   QUESTIONS BY MR. CHALOS:                            11:35:23
    14   opportunities, weaknesses and strengths of       11:33:43      14        Q. What was -- what did the            11:35:24
    15   Exalgo determined in 2009?                   11:33:46          15   company do to prevent or reduce diversion of 11:35:26
    16            MR. DAVISON: Objection.              11:33:50         16   its products at that time?               11:35:30
    17            THE WITNESS: I can't recall at 11:33:50               17             MR. DAVISON: Objection.             11:35:31
    18       that time.                      11:33:52                   18             THE WITNESS: I can't recall        11:35:32
    19   QUESTIONS BY MR. CHALOS:                            11:33:52   19        specifically. That was outside my       11:35:34
    20       Q. Was that something within your 11:33:53                 20        area of expertise.               11:35:36
    21   area of responsibility?                  11:33:54              21   QUESTIONS BY MR. CHALOS:                            11:35:37
    22       A. I probably would have               11:33:55            22        Q. Okay. The next bullet says,         11:35:38
    23   contributed.                         11:33:59                  23   "Possible Palladone reentry."              11:35:41
    24       Q. Okay. If you look at the            11:34:00            24             Do you see that?             11:35:43
    25   weaknesses box on page 8 of Exhibit 13, do        11:34:05     25        A. Yes.                       11:35:43

                                                          Page 131                                                            Page 133
     1 you see that?                         11:34:10                    1       Q. What was -- what is Palladone? 11:35:44
     2       A. Yes.                       11:34:10                      2       A. Palladone, I believe, was a        11:35:46
     3       Q. The second bullet point says,       11:34:11             3   hydromorphone extended release product that 11:35:48
     4   "Physician concerns regarding abuse potential 11:34:13          4   another company had at one time, had in        11:35:51
     5   related to hydromorphone."                11:34:15              5   development. I can't remember the specifics. 11:35:56
     6             Do you see that?           11:34:18                   6       Q. Okay. And the next bullet           11:35:58
     7       A. Yes.                       11:34:18                      7   says, "Reluctance to use potent opioids for 11:36:00
     8       Q. Do you have any idea what that 11:34:19                  8   chronic, noncancer pain."                11:36:03
     9   means?                            11:34:20                      9            Do you see that?            11:36:05
    10       A. I think physicians were           11:34:20              10       A. Yes.                       11:36:06
    11   concerned about the potency of hydromorphone 11:34:26          11       Q. What does that mean?               11:36:06
    12   relative to morphine.                  11:34:30                12            MR. DAVISON: Objection.             11:36:07
    13       Q. Hydromorphone being more potent 11:34:31                13            THE WITNESS: I can't recall        11:36:08
    14   than morphine?                        11:34:34                 14       specifically.                  11:36:11
    15       A. Yes.                       11:34:36                     15   QUESTIONS BY MR. CHALOS:                          11:36:11
    16       Q. And how did you know that at          11:34:36          16       Q. Was one of the goals of the         11:36:13
    17   that time?                        11:34:38                     17   Exalgo marketing to give information to        11:36:16
    18       A. I can't recall specifically,     11:34:38               18   physicians about using Exalgo for chronic, 11:36:20
    19   but it's in the literature.          11:34:42                  19   noncancer pain?                       11:36:24
    20       Q. If you go down to threats, that 11:34:43                20       A. The product was studied            11:36:26
    21   section?                          11:34:48                     21   predominantly in chronic, noncancer pain.       11:36:29
    22       A. Yes.                       11:34:50                     22   The whole pivotal phase III trial was based, 11:36:33
    23       Q. The third bullet, "Abuse,         11:34:50              23   I believe, predominantly on even low back       11:36:37
    24   misuse and diversion."                  11:34:55               24   pain, so consistent with the package insert 11:36:40
    25             Do you see that?           11:34:57                  25   is how we promoted the product.              11:36:44

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                                                           Page 134                                                              Page 136
     1        Q. And one of the marketing             11:36:46            1             THE WITNESS: I'm pretty sure 11:38:30
     2   messages for promoting Exalgo was that Exalgo 11:36:48           2        that this is a draft. I don't know      11:38:32
     3   could be used with chronic, noncancer pain; 11:36:52             3        that this represents the final        11:38:34
     4   is that fair?                       11:36:55                     4        tactical tactics that we fielded.      11:38:37
     5        A. I'm not sure that we were           11:36:55             5   QUESTIONS BY MR. CHALOS:                              11:38:40
     6   specific in terms of whether it was chronic, 11:36:57            6        Q. And do you think there were             11:38:41
     7   noncancer or cancer pain. I believe the         11:36:59         7   more tactics and tools or fewer tactics and 11:38:46
     8   indication wasn't that specific.            11:37:02             8   tools that were ultimately used?               11:38:48
     9        Q. So the marketing message was            11:37:04         9        A. I can't say. I mean, I can          11:38:49
    10   Exalgo can be used for patients with chronic 11:37:08           10   tell you specifically that the Portenoy         11:38:51
    11   pain, irrespective --                   11:37:11                11   Summit, I don't think that was ever used,         11:38:54
    12             MR. DAVISON: Objection.              11:37:13         12   that was ever a tactic that was fielded, so 11:38:56
    13             THE WITNESS: Who are                 11:37:13         13   that's why it stands out to me.              11:38:58
    14        opioid-tolerant.                  11:37:15                 14        Q. Got it.                       11:38:59
    15   QUESTIONS BY MR. CHALOS:                             11:37:16   15             Do any of these other tactics      11:39:00
    16        Q. Right.                       11:37:16                   16   and tools stand out to you as tactics and        11:39:02
    17        A. And I believe there were other 11:37:17                 17   tools that were not used to promote Exalgo? 11:39:06
    18   nuances to that as well. So we promoted the 11:37:18            18        A. I don't know that we ever did a 11:39:11
    19   product consistent with the product            11:37:20         19   MOD video.                               11:39:14
    20   indication.                          11:37:21                   20        Q. What is an MOD video?                   11:39:17
    21        Q. Okay. But one of the               11:37:21             21        A. I can't remember. I think it         11:39:20
    22   indications was chronic pain, irrespective of 11:37:23          22   has to do with a method of action or -- you 11:39:21
    23   whether it was cancer or noncancer?             11:37:26        23   know.                                11:39:26
    24        A. It wasn't that specific. It       11:37:27              24        Q. That's under the patient            11:39:26
    25   was silent on that, so it didn't say the     11:37:29           25   welcome kit --                          11:39:28

                                                           Page 135                                                              Page 137
     1 specific source of the chronic pain.           11:37:31            1      A.     Yes.                     11:39:28
     2       Q. Okay. So the marketing               11:37:35             2      Q.     -- you're talking about?        11:39:29
     3   message -- one of the marketing messages with 11:37:36           3            Okay. Any others stand out as 11:39:32
     4   Exalgo is this is indicated for patients with 11:37:40           4   not being used for Exalgo?                 11:39:33
     5   chronic pain, period?                    11:37:42                5        A. Not that I can recall.          11:39:35
     6            MR. DAVISON: Objection.              11:37:43           6        Q. Okay. Do any of these stand          11:39:36
     7            THE WITNESS: I believe it was 11:37:44                  7   out to you as things that you did, in fact, 11:39:39
     8       opioid-tolerant, chronic pain.         11:37:44              8   use with Exalgo?                       11:39:42
     9   QUESTIONS BY MR. CHALOS:                            11:37:47     9        A. Well, I know that we had a          11:39:43
    10       Q. Okay. If you turn to page 17          11:37:47           10   master sales and leave-behinds, so, yes.       11:39:45
    11   of Exhibit 13, it says, "Tactics and tools" 11:37:51            11        Q. You did lunch and learn            11:39:48
    12   on top.                            11:37:57                     12   programs?                            11:39:50
    13       A. Okay.                        11:38:04                    13            MR. DAVISON: Objection.              11:39:51
    14       Q. Do you see that?                 11:38:04                14            THE WITNESS: I believe so.           11:39:51
    15            And there's three columns and       11:38:06           15   QUESTIONS BY MR. CHALOS:                            11:39:52
    16   three rows --                        11:38:10                   16        Q. Used clinical reprints?          11:39:53
    17       A. Okay. Yeah.                     11:38:14                 17        A. I can't recall.             11:39:54
    18       Q. -- of different tactics and        11:38:15              18        Q. How about physician welcome             11:39:55
    19   tools.                            11:38:17                      19   kit?                             11:39:56
    20            Do you see that?              11:38:17                 20        A. I can't recall.             11:39:57
    21       A. Yes.                        11:38:18                     21        Q. Dosing conversion tool?            11:39:58
    22       Q. Does this page include the           11:38:18            22        A. I believe so.                11:40:01
    23   tactics and tools that Mallinckrodt used to 11:38:20            23        Q. I think you did an iPad app for 11:40:03
    24   promote Exalgo?                         11:38:29                24   that as well?                       11:40:06
    25            MR. DAVISON: Objection.              11:38:29          25        A. I believe so.                11:40:07

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                                                         Page 138                                                           Page 140
     1        Q. Okay. What is a Fingertip          11:40:07            1       Q. Okay. Direct mail campaign?           11:41:57
     2   Formulary?                           11:40:10                  2       A. I can't recall.              11:42:00
     3        A. Fingertip Formulary is a tool       11:40:10           3       Q. Okay. With respect to             11:42:01
     4   where you can see for a specific managed care 11:40:14         4   wholesalers, retail pharmacy and MCO, what is 11:42:04
     5   plan how Exalgo is covered, what tier it is, 11:40:22          5   MCO?                               11:42:07
     6   tier 1, 2, 3, et cetera.             11:40:25                  6       A. I believe it stands for managed 11:42:08
     7        Q. Did the company prepare a            11:40:28          7   care organizations.                   11:42:10
     8   Fingertip Formulary for Exalgo?               11:40:31         8       Q. Okay. Were there pharmacy             11:42:11
     9        A. I believe they partnered with      11:40:32            9   sales aids produced in -- associated with     11:42:13
    10   Fingertip Formulary for that, yes.          11:40:34          10   Exalgo?                            11:42:17
    11        Q. Oh, okay.                   11:40:36                  11       A. I believe so. I don't know if 11:42:17
    12             How about a product monograph? 11:40:38             12   it was separate from the physician sales aid 11:42:18
    13        A. I believe so.               11:40:39                  13   or not. I can't recall.              11:42:21
    14        Q. Okay. And Mallinckrodt used            11:40:40       14       Q. Okay. Were there leave-behinds 11:42:22
    15   speaker programs for -- to promote Exalgo?        11:40:43    15   for wholesalers, retailer pharmacy and MCOs? 11:42:24
    16        A. Yes.                      11:40:45                    16       A. I believe so.                11:42:28
    17        Q. Used advisory boards as well to 11:40:46              17       Q. What about lunch and learn           11:42:29
    18   promote Exalgo?                        11:40:48               18   programs?                           11:42:30
    19        A. An advisory board is used to        11:40:49          19       A. I can't recall specifically.     11:42:31
    20   generate feedback from physicians, but it's 11:40:54          20       Q. Were there clinical preprints       11:42:32
    21   not necessarily used as a promotional tool. 11:40:56          21   for that group?                      11:42:38
    22   But I can't remember. I believe we did an       11:40:59      22       A. I can't recall for that group. 11:42:38
    23   advisory board for Exalgo.                11:41:01            23       Q. How about Fingertip               11:42:40
    24        Q. Okay. What is a product            11:41:03           24   Formularies?                         11:42:42
    25   theature?                          11:41:07                   25       A. Yeah, as I mentioned, I believe 11:42:42

                                                           Page 139                                                         Page 141
     1       A. A product theature, I honestly 11:41:08                 1 that was a tactic that was developed.         11:42:44
     2   don't know because I don't believe we did        11:41:11      2       Q. Stocking request forms, were         11:42:45
     3   those.                              11:41:13                   3   those done?                         11:42:50
     4       Q. Okay. Did Mallinckrodt use a 11:41:13                   4       A. I believe so.                11:42:50
     5   PR campaign in association with Exalgo?            11:41:18    5       Q. How about trade -- well, let me 11:42:51
     6       A. We had a PR -- we had a PR              11:41:22        6   go back. What are stocking request forms? 11:42:53
     7   group that we used, though I don't know          11:41:25      7       A. It would be a piece of paper       11:42:56
     8   that -- I don't recall what tactics we used. 11:41:28          8   that a physician would sign indicating their 11:42:58
     9   That was -- usually fell under the auspices 11:41:31           9   desire to prescribe Exalgo. That would then 11:43:05
    10   of our communications group.                  11:41:34        10   go to the pharmacy as sort of a testament for 11:43:09
    11       Q. Okay. Was there a publication 11:41:35                 11   them to stock the product because they had a 11:43:12
    12   strategy for Exalgo?                     11:41:36             12   physician that wanted to prescribe the       11:43:14
    13       A. I believe our medical affairs 11:41:37                 13   product.                          11:43:15
    14   group developed one.                      11:41:39            14       Q. How would those stocking             11:43:15
    15       Q. Okay. And how about a product 11:41:40                 15   request forms get to the pharmacy?           11:43:17
    16   website?                             11:41:42                 16            MR. DAVISON: Objection.             11:43:19
    17       A. We did have a product website. 11:41:42                17            THE WITNESS: I don't know            11:43:19
    18       Q. Was there a direct mail             11:41:44           18       specifically.                  11:43:21
    19   program?                              11:41:47                19   QUESTIONS BY MR. CHALOS:                          11:43:21
    20       A. I can't recall specifically.       11:41:47            20       Q. Is that something that the        11:43:22
    21       Q. Okay. How about an MD alert? 11:41:48                  21   sales reps would bring to the pharmacy?        11:43:23
    22       A. I can't recall on that.          11:41:51              22            MR. DAVISON: Objection.             11:43:25
    23       Q. Okay. Were there journal ads 11:41:53                  23            THE WITNESS: I believe they         11:43:25
    24   associated with Exalgo?                    11:41:54           24       could, but I don't know specifically. 11:43:26
    25       A. Yes, I believe so.               11:41:55              25


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                                                         Page 142                                                                 Page 144
     1 QUESTIONS BY MR. CHALOS:                           11:43:27     1       Q. And the MOD video you don't -- 11:45:06
     2       Q. Okay. What are trade              11:43:29             2       A. I can't remember.                  11:45:09
     3   communications?                        11:43:31               3       Q. Okay. How about a transition            11:45:10
     4       A. I don't know.                 11:43:31                 4   tool?                               11:45:12
     5       Q. How about product monographs?           11:43:32       5       A. I can't remember that               11:45:12
     6       A. Yeah, that -- that was           11:43:34              6   specifically.                         11:45:13
     7   developed.                         11:43:36                   7       Q. Okay. Was there a product              11:45:14
     8       Q. Okay. Did you have any role in 11:43:36                8   website developed that had a section intended 11:45:15
     9   determining whether wholesalers would get        11:43:39     9   to target patients?                     11:45:20
    10   rebates on any of the Mallinckrodt products? 11:43:43        10       A. I believe there was a section         11:45:22
    11       A. I did not.                 11:43:44                   11   for patients that is written in a language      11:45:24
    12       Q. Were there speaker programs for 11:43:45              12   that patients can understand their            11:45:29
    13   the wholesalers, retail pharmacies or MCOs? 11:43:48         13   requirements about, you know, the education 11:45:31
    14       A. Generally not.                11:43:51                14   level that you have to target for that        11:45:33
    15       Q. How about an advisory board?          11:43:53        15   language.                             11:45:35
    16       A. Not that I can recall.          11:43:55              16       Q. Okay. And if you flip to the          11:45:36
    17       Q. Okay. Did you have any role in 11:43:56               17   next page, page 18, yeah, budget allocation, 11:45:40
    18   discussions with third-party payers about     11:44:02       18   I haven't added all these up, but do you         11:45:51
    19   getting Exalgo on formularies?             11:44:05          19   recall whether the final budget allocation        11:45:56
    20       A. No.                       11:44:07                    20   for fiscal year 2010 ended up breaking down 11:45:59
    21       Q. Okay. What is a pharmacy             11:44:07         21   the way it's depicted on page 18 of            11:46:06
    22   Pharm/alert?                        11:44:11                 22   Exhibit 13?                            11:46:12
    23       A. I think it's like a -- an      11:44:12               23       A. I can't recall.                 11:46:12
    24   e-mail blast.                      11:44:16                  24       Q. Okay. You can put that aside            11:46:13
    25       Q. Okay. And did -- were there         11:44:17          25   for now.                             11:46:15

                                                         Page 143                                                                 Page 145
     1 any pharmacy Pharm/alerts associated with         11:44:19      1           (Mallinckrodt-Wessler Exhibit          11:46:41
     2 Exalgo?                               11:44:23                  2      14 marked for identification.)          11:46:41
     3       A. I can't recall specifically.      11:44:23             3 QUESTIONS BY MR. CHALOS:                                11:46:42
     4       Q. Okay.                        11:44:25                  4      Q.     Let's mark as Exhibit 14 a       11:46:42
     5       A. I believe so.                 11:44:25                 5 document, Bates MNK-T1_0001188838. And it is 11:46:44
     6       Q. But you believe so, you said?         11:44:26         6 a presentation that says, "Specialty          11:46:53
     7       A. Yes.                        11:44:27                   7 pharmaceuticals, medical affairs team               11:46:56
     8       Q. Okay. How about an MCO                  11:44:28       8 meeting, February 18, 2010."                  11:46:59
     9   contracting?                         11:44:30                 9           Hand you that. And it's a         11:47:02
    10       A. I'm sure we contracted with          11:44:30         10 relatively long document here. I'm going to          11:47:08
    11   managed care organizations.                 11:44:32         11 focus you on the Exalgo section. You can             11:47:11
    12       Q. Okay. And then with respect to 11:44:33               12 feel free to review as much of this as you          11:47:17
    13   tactics and tools associated with patients, 11:44:35         13 want, but the Exalgo plan which starts, it        11:47:21
    14   was there a patient welcome kit developed?        11:44:38   14 looks like, page 21 and goes through page 36. 11:47:25
    15       A. I believe so.                 11:44:42                15 But you can look through the whole document             11:47:43
    16       Q. Okay. What does patient              11:44:42         16 if you'd like.                        11:47:45
    17   education mean there?                     11:44:44           17           Tell me when you've had a          11:47:46
    18       A. I believe it was a brochure         11:44:44          18 chance to review all of that.               11:49:32
    19   that -- that talked about how to safely use 11:44:47         19      A.     Certainly.                 11:49:33
    20   the product, so it reinforced the medication 11:44:53        20      Q.     My first question is going to     11:49:37
    21   guide developed by the FDA for the product in 11:44:56       21 be -- if you look at the second page, it         11:49:41
    22   association with the package insert.         11:44:58        22 says, "Exalgo plan, Mike."                   11:49:42
    23       Q. Okay. Was there a co-pay             11:45:02         23           My question is going to be, is     11:49:43
    24   discount program for Exalgo?                 11:45:04        24 that you?                             11:49:48
    25       A. I believe so.                 11:45:05                25      A.     I can't recall this          11:49:48

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     1 specifically, but I would presume that "Mike" 11:50:04              1       I can't recall.                11:51:55
     2 is me.                               11:50:07                       2   QUESTIONS BY MR. CHALOS:                           11:51:55
     3        Q. Okay. So let's start at --       11:50:08                 3       Q. Is there an opioid problem in        11:52:07
     4   let's see here. We'll look at the Exalgo      11:50:13            4   the US today?                         11:52:09
     5   section here starting on page 21. It's not 11:50:15               5            MR. DAVISON: Objection.              11:52:10
     6   numbered, but it comes --                  11:50:21               6            THE WITNESS: That's a very           11:52:10
     7        A. Oh, I thought it was numbered. 11:50:23                   7       broad question.                   11:52:15
     8        Q. It is. I'm saying but that       11:50:25                 8   QUESTIONS BY MR. CHALOS:                           11:52:17
     9   page is not numbered.                     11:50:28                9       Q. Yeah.                        11:52:17
    10        A. Oh, okay.                     11:50:28                   10       A. Can you be more specific?            11:52:17
    11        Q. It says, "Exalgo plan." It's 11:50:32                    11       Q. Yeah. Have you heard anything 11:52:18
    12   on the cover page.                      11:50:32                 12   about the issue of opioids in the United      11:52:20
    13        A. Yes.                        11:50:32                     13   States today?                        11:52:23
    14        Q. It's between 21 and -- I'm         11:50:34              14            MR. DAVISON: Objection. Form. 11:52:23
    15   sorry, it's between 20 and 22, so we'll call 11:50:34            15            THE WITNESS: Sure, it's on the 11:52:24
    16   it 21.                            11:50:36                       16       news.                         11:52:25
    17        A. Okay.                        11:50:36                    17   QUESTIONS BY MR. CHALOS:                           11:52:26
    18        Q. So do you know whether you             11:50:39          18       Q. Yeah.                        11:52:26
    19   prepared this section of the presentation? 11:50:44              19            What have you heard about it?      11:52:26
    20        A. I do not.                    11:50:46                    20       A. Just what you mentioned, that         11:52:27
    21        Q. Okay. Do you recall presenting 11:50:46                  21   there's an opioid problem.               11:52:30
    22   this section at a medical affairs team        11:50:49           22       Q. Do you think that                11:52:31
    23   meeting in 2010?                        11:50:51                 23   Mallinckrodt's marketing of opioids had any 11:52:40
    24             MR. DAVISON: Objection.              11:50:53          24   role in causing or contributing to the opioid 11:52:44
    25             THE WITNESS: I do not.             11:50:53            25   problem that we have today?                 11:52:47

                                                               Page 147                                                         Page 149
     1 QUESTIONS BY MR. CHALOS:                               11:50:54     1            MR. DAVISON: Objection.              11:52:48
     2      Q.    Okay. Let's look at then         11:50:57                2            THE WITNESS: No.                   11:52:48
     3 page 24 --                            11:51:09                      3   QUESTIONS BY MR. CHALOS:                            11:52:48
     4      A.    Okay.                      11:51:10                      4       Q. Why do you say that?                11:52:50
     5      Q.    -- "Exalgo brand strategy."       11:51:11               5       A. I believe our materials were         11:52:51
     6           Is the brand strategy something       11:51:17            6   compliant with FDA regulations, and I believe 11:52:53
     7 that you had a role in developing?               11:51:19           7   we marketed the products responsibly. And 11:52:56
     8      A.    I believe so.               11:51:20                     8   ultimately it was physicians who made           11:53:00
     9      Q.    Okay. First, on the left-hand        11:51:21            9   decisions on to whom to prescribe products. 11:53:02
    10 side, the top bullet point there says,          11:51:26           10       Q. Do you think physicians ever          11:53:05
    11 "Barriers, negative perceptions of              11:51:28           11   prescribed Mallinckrodt products              11:53:09
    12 hydromorphone: Old, too potent and street            11:51:31      12   inappropriately?                       11:53:10
    13 value, and in parentheses, abuse."              11:51:35           13            MR. DAVISON: Objection.              11:53:11
    14           Do you see that?               11:51:37                  14            THE WITNESS: I can't               11:53:11
    15      A.    Yes.                      11:51:38                      15       speculate.                     11:53:12
    16      Q.    Okay. Do you have any idea            11:51:38          16   QUESTIONS BY MR. CHALOS:                            11:53:12
    17 what that means as you sit here today?             11:51:39        17       Q. If you'd look at page 27 --         11:53:16
    18      A.    I think that that was a         11:51:41                18   sorry, 25, "Exalgo brand strategy." Look at 11:53:20
    19 perception that was common for Dilaudid,              11:51:44     19   the left side of strategy, bottom bullet     11:53:40
    20 which was the immediate release hydromorphone 11:51:47 20               point: "Disrupt and gradient prescribing       11:53:44
    21 product.                             11:51:51                      21   habits through the value proposition for       11:53:46
    22      Q.    How did you know that at the          11:51:51          22   Exalgo."                           11:53:49
    23 time?                                11:51:53                      23            Do you see that?              11:53:49
    24           MR. DAVISON: Objection.                 11:51:53         24       A. Yes.                        11:53:49
    25           THE WITNESS: I can't remember.            11:51:54       25       Q. What does that mean?                11:53:49

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                                                          Page 150                                                            Page 152
     1            MR. DAVISON: Objection.              11:53:51          1 Mallinckrodt whether physicians prescribed         11:55:30
     2            THE WITNESS: Differentiate            11:53:52         2   competitors' products or their own products? 11:55:31
     3       Exalgo from competitive products.          11:53:54         3            MR. DAVISON: Objection.             11:55:35
     4   QUESTIONS BY MR. CHALOS:                            11:53:56    4            THE WITNESS: Does it matter          11:55:35
     5       Q. Okay. Let's go back one page          11:53:58           5       whether -- well, it was -- we were      11:55:39
     6   to page 24, under Barriers. The last bullet 11:53:59            6       most concerned with making sure that 11:55:40
     7   said, "One of the barriers is engrained       11:54:06          7       physicians wrote the product for        11:55:42
     8   prescribing habits that reserve use."        11:54:08           8       patients for whom they felt made the 11:55:44
     9            Do you see that?              11:54:11                 9       most sense for Exalgo and they were       11:55:47
    10       A. No.                        11:54:11                     10       the appropriate patients.           11:55:49
    11       Q. Bottom left under "Reposition          11:54:12         11   QUESTIONS BY MR. CHALOS:                           11:55:51
    12   Hydromorphone Barriers."                    11:54:16           12       Q. Right.                      11:55:51
    13       A. Oh, okay.                     11:54:17                  13            At the end of the day, though, 11:55:51
    14       Q. "Engrained prescribing habits         11:54:18          14   the bottom line was, your goal as a marketing 11:55:52
    15   that reserve use."                    11:54:19                 15   man was to get physicians to prescribe        11:55:54
    16            Do you see that?              11:54:20                16   Mallinckrodt products, right?              11:55:56
    17       A. Yes.                        11:54:21                    17            MR. DAVISON: Objection.             11:55:57
    18       Q. What does that mean?                11:54:22            18            THE WITNESS: For the               11:55:57
    19            MR. DAVISON: Objection.              11:54:23         19       appropriate patients.              11:55:57
    20            THE WITNESS: I can't recall.        11:54:24          20   QUESTIONS BY MR. CHALOS:                           11:55:59
    21   QUESTIONS BY MR. CHALOS:                            11:54:24   21       Q. Yes, for the appropriate          11:55:59
    22       Q. Okay. Is one of the goals of        11:54:27            22   patients?                          11:56:00
    23   Mallinckrodt's marketing of Exalgo to change 11:54:30          23       A. Yes, for the appropriate          11:56:00
    24   the physician's prescribing habits to include 11:54:33         24   patients.                         11:56:01
    25   Mallinckrodt's product?                  11:54:37              25       Q. Okay. If you look at page 27         11:56:02

                                                          Page 151                                                            Page 153
     1            MR. DAVISON: Objection.              11:54:38          1 of Exhibit 14, "Exalgo positioning."            11:56:06
     2            THE WITNESS: I would say the          11:54:39         2            Do you see that?             11:56:17
     3       goal of our product promotion is to      11:54:40           3       A. Yes.                       11:56:17
     4       educate physicians on the safe and       11:54:45           4       Q. It says, "For opioid-tolerant       11:56:17
     5       appropriate use of Exalgo and           11:54:49            5   patients with moderate to severe chronic        11:56:24
     6       differentiate it from the competition 11:54:51              6   pain, Exalgo provides smooth, steady           11:56:26
     7       so that they could make a decision on 11:54:53              7   hydromorphone blood levels that eliminate the 11:56:29
     8       to whom to prescribe the product.        11:54:55           8   peaks and troughs resulting in 24-hour,        11:56:31
     9   QUESTIONS BY MR. CHALOS:                           11:54:57     9   continuous chronic pain relief."            11:56:34
    10       Q. Was the hope of -- or I'm           11:55:00            10            Do you see that?             11:56:36
    11   sorry. Was the goal of the marketing effort 11:55:01           11       A. Yes.                       11:56:37
    12   to have physicians prescribe competitors'      11:55:03        12       Q. That is an accurate statement        11:56:38
    13   products?                           11:55:08                   13   of the positioning of Exalgo in the market? 11:56:39
    14            MR. DAVISON: Objection.              11:55:08         14            MR. DAVISON: Objection.              11:56:42
    15            THE WITNESS: I don't believe         11:55:09         15            THE WITNESS: As I recall.           11:56:43
    16       that was a goal unless it was for -- I 11:55:10            16   QUESTIONS BY MR. CHALOS:                            11:56:44
    17       mean, it's all about prescribing it    11:55:14            17       Q. Yeah. Okay.                     11:56:44
    18       for the appropriate patients, so if    11:55:15            18            And the marketing messages that 11:56:49
    19       competitive product made more sense         11:55:19       19   were associated with Exalgo were in support 11:56:51
    20       for that particular physician. But     11:55:20            20   of this positioning?                   11:56:54
    21       that's all within the purview of the    11:55:22           21            MR. DAVISON: Objection.              11:56:56
    22       physician and their decision,         11:55:24             22            THE WITNESS: Assuming this is 11:56:57
    23       ultimately.                     11:55:28                   23       the final positioning statement. I     11:56:57
    24   QUESTIONS BY MR. CHALOS:                           11:55:28    24       think this might have been a document 11:56:59
    25       Q. So it didn't matter to           11:55:28               25       that was developed prior to the         11:57:01

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                                                          Page 154                                                            Page 156
     1       launch.                        11:57:03                     1       categories throughout the life of       11:59:01
     2   QUESTIONS BY MR. CHALOS:                            11:57:04    2       Exalgo, I believe that is the case.     11:59:02
     3       Q. Okay. Do you recall any              11:57:04            3   QUESTIONS BY MR. CHALOS:                            11:59:03
     4   changes to the positioning of Exalgo?          11:57:05         4       Q. Okay. If you flip over to the 11:59:04
     5       A. I don't remember.                 11:57:07               5   next page, 35, "Critical success factors for 11:59:05
     6       Q. If you flip over to 28, Core        11:57:08             6   Exalgo."                            11:59:14
     7   Messaging, the first bullet point is, "New     11:57:15         7           Do you see that?                11:59:14
     8   therapies are needed in the treatment of       11:57:27         8       A. Yes.                        11:59:15
     9   chronic pain."                        11:57:28                  9       Q. Okay. The third one, "Pharmacy 11:59:15
    10           Do you see that?               11:57:29                10   stocking to enable demand generation."           11:59:19
    11       A. Yes.                        11:57:29                    11           Do you see that?                11:59:21
    12       Q. What does that mean?                11:57:29            12       A. Yes.                        11:59:21
    13           MR. DAVISON: Objection.               11:57:31         13       Q. There is that "demand               11:59:22
    14           THE WITNESS: I believe that it 11:57:31                14   generation" phrase again.                  11:59:25
    15       means that it's important for         11:57:32             15           Did that come out of your          11:59:26
    16       physicians to have multiple options in 11:57:34            16   mouth; do you think?                      11:59:28
    17       managing patients with chronic pain.       11:57:36        17           MR. DAVISON: Objection.                11:59:28
    18   QUESTIONS BY MR. CHALOS:                            11:57:38   18           THE WITNESS: I don't remember. 11:59:29
    19       Q. Let's flip over to page 34 in       11:57:47            19   QUESTIONS BY MR. CHALOS:                            11:59:29
    20   Exhibit 14, "Exalgo Tactical Components."         11:57:52     20       Q. Okay. "Pharmacy stocking to             11:59:30
    21           Do you see that?               11:57:59                21   enable demand generation," what does that         11:59:31
    22       A. Yes.                        11:58:00                    22   mean?                               11:59:33
    23       Q. Okay. These -- it's got, let       11:58:02             23           MR. DAVISON: Objection.                11:59:33
    24   me see, five categories here: nonpersonal, 11:58:06            24           THE WITNESS: I believe that            11:59:34
    25   medical education, personal, planning and        11:58:10      25       means having the product available for 11:59:35

                                                          Page 155                                                            Page 157
     1 market research.                        11:58:13                  1       physicians when they prescribed the       11:59:39
     2            Do you see that?             11:58:14                  2       product for appropriate patients.      11:59:43
     3       A. Yes.                        11:58:15                     3   QUESTIONS BY MR. CHALOS:                           11:59:44
     4       Q. Are these all categories that      11:58:15              4       Q. Okay. And who was going to             11:59:44
     5   ultimately Mallinckrodt undertook tactics in 11:58:18           5   generate the demand in this concept?          11:59:45
     6   with respect to Exalgo?                  11:58:22               6            MR. DAVISON: Objection.             11:59:48
     7            MR. DAVISON: Objection.             11:58:23           7            THE WITNESS: That has to do           11:59:50
     8            THE WITNESS: I can't recall in 11:58:23                8       with physicians prescribing the        11:59:52
     9       2010.                         11:58:28                      9       product, so the sales force would be     11:59:54
    10   QUESTIONS BY MR. CHALOS:                           11:58:28    10       responsible for educating physicians 11:59:56
    11       Q. Okay. What about throughout            11:58:29         11       on the product for the appropriate      11:59:59
    12   the life of the Exalgo product's promotion? 11:58:30           12       patients.                     12:00:01
    13       A. I'm not sure I understand the       11:58:34            13   QUESTIONS BY MR. CHALOS:                           12:00:01
    14   question.                          11:58:35                    14       Q. Okay. With the goal of            12:00:01
    15       Q. Yeah, these -- I'm saying, did 11:58:35                 15   generating demand for prescriptions for        12:00:03
    16   Mallinckrodt use tactics from all five of     11:58:37         16   appropriate patients?                  12:00:05
    17   these categories in connection with promoting 11:58:40         17            MR. DAVISON: Objection.             12:00:06
    18   Exalgo at any time?                     11:58:44               18            THE WITNESS: With the goal of, 12:00:06
    19            MR. DAVISON: Objection.             11:58:44          19       you know, the physician writing the       12:00:08
    20            THE WITNESS: Perhaps. I             11:58:45          20       product when appropriate.             12:00:09
    21       believe so. I can't recall         11:58:49                21   QUESTIONS BY MR. CHALOS:                           12:00:10
    22       specifically. I believe so.         11:58:50               22       Q. Okay. You can put that aside         12:00:11
    23            If you're asking did         11:58:52                 23   then.                            12:00:15
    24       Mallinckrodt embark upon, you know,         11:58:53       24            THE WITNESS: Are we going to 12:00:33
    25       tactics from each one of these five     11:58:58           25       be taking take a lunch break soon?       12:00:33

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                                                        Page 158                                                        Page 160
     1           MR. CHALOS: Well, what I was          12:00:35       1            Do you recall a launch meeting 12:12:08
     2      hoping is maybe we can get through        12:00:36        2   for Exalgo at some point?                  12:12:10
     3      this and skip lunch and just be done, 12:00:38            3       A. There were lots of launch            12:12:12
     4      if you guys can power through a little 12:00:39           4   meetings.                           12:12:15
     5      bit.                        12:00:41                      5            Can you be more specific?          12:12:15
     6           MR. DAVISON: Why don't we take 12:00:41              6       Q. Yeah. I mean, was there one           12:12:16
     7      a quick break and we can discuss --      12:00:42         7   big, like, kickoff launch event?            12:12:19
     8           THE WITNESS: Yeah, I just need 12:00:43              8       A. With the sales force or period 12:12:21
     9      a quick --                     12:00:44                   9   or --                             12:12:23
    10           MR. CHALOS: No problem. And            12:00:44     10       Q. Well, let's start with the        12:12:23
    11      then I think I could probably do the    12:00:45         11   sales force.                        12:12:25
    12      rest in 45 minutes, so...          12:00:47              12            Was there one with the sales       12:12:25
    13           MR. DAVISON: Okay.                 12:00:48         13   force?                             12:12:27
    14           VIDEOGRAPHER: We are going off 12:00:49             14       A. There was one with the sales          12:12:27
    15      the record at 12 p.m.              12:00:50              15   force where we trained them on, you know, the 12:12:29
    16       (Off the record at 12:00 p m.)       12:00:52           16   new marketing tools.                     12:12:30
    17           VIDEOGRAPHER: We are back on             12:07:49   17       Q. Okay. Was there one with              12:12:31
    18      the record at 12:07 p.m.            12:07:50             18   anybody other than the sales force?           12:12:32
    19           (Mallinckrodt-Wessler Exhibit      12:07:52         19       A. Not that I recall. But, I         12:12:33
    20      15 marked for identification.)        12:07:53           20   mean, there were all kinds of meetings that 12:12:36
    21   QUESTIONS BY MR. CHALOS:                         12:07:53   21   talked about the launch of the product --      12:12:37
    22      Q. Okay. Let's mark as Exhibit 15 12:07:54               22       Q. Okay.                         12:12:39
    23   MNK-T1_0000778285 through 8350. It's             12:07:56   23       A. -- certainly.                 12:12:40
    24   Exhibit 15.                        12:08:09                 24       Q. Let's look at the page -- let      12:12:42
    25      A. Okay.                        12:08:09                 25   me see. It's 8288. It's like the fourth     12:12:46

                                                         Page 159                                                          Page 161
     1       Q. You can take as much time as           12:08:09       1   page of Exhibit 15.                    12:12:51
     2   you need to review that.                 12:08:15            2            Market opportunity?             12:12:54
     3             My first question will be what 12:08:24            3       A. Yeah.                        12:12:58
     4   role, if any, did you have in preparing this 12:08:26        4       Q. It says, "High-strength            12:12:59
     5   document?                            12:08:28                5   prescriptions make up 66 percent of the         12:13:02
     6       A. Okay.                        12:08:28                 6   market dollars."                      12:13:10
     7       Q. Okay. So what role, if any,         12:11:31          7            Do you see that?              12:13:11
     8   did you have in preparing this document?         12:11:35    8       A. Yes.                        12:13:12
     9       A. I don't recall specifically,      12:11:37            9       Q. Okay. There's a source,             12:13:13
    10   but I'm sure I participated in, you know,      12:11:39     10   IMS/NSP, written on the bottom left.            12:13:15
    11   development of the market -- some of the         12:11:43   11            Do you see that?              12:13:18
    12   marketing components of this.               12:11:44        12       A. Yes.                        12:13:18
    13       Q. Okay.                        12:11:46                13       Q. Is this data that you think you 12:13:19
    14       A. But I can't recall specifically 12:11:46             14   pulled together for this presentation?        12:13:20
    15   who developed this.                     12:11:47            15       A. I don't recall. I think         12:13:22
    16       Q. Was this launch update              12:11:48         16   generally this type of information would be 12:13:24
    17   presented at a meeting of some kind?           12:11:51     17   pulled from the ops team.                 12:13:26
    18       A. It seems so.                  12:11:53               18       Q. The ops team?                    12:13:28
    19       Q. Okay.                        12:11:55                19       A. Sales operations.                12:13:30
    20       A. I don't know if this was           12:11:55          20       Q. Okay.                        12:13:31
    21   ultimately presented, but it would make         12:11:56    21       A. Because I don't remember having 12:13:31
    22   sense.                            12:12:01                  22   access to IMS/NSP.                       12:13:33
    23       Q. Okay. The front page it says, 12:12:02               23       Q. Okay. If you would turn,             12:13:37
    24   "32-milligram launch update, June 25th of        12:12:03   24   please, to 8293, Launch Objectives.            12:13:42
    25   2012."                             12:12:07                 25            Did you have any role in         12:13:55

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                                                          Page 162                                                            Page 164
     1 preparing this section, do you think, launch      12:14:02       1        A. Yes.                      12:15:55
     2 objectives?                            12:14:06                  2        Q. Okay. And you can look at all 12:15:56
     3        A. I really don't remember.          12:14:06             3   this, but the recommendation ultimately was 12:15:59
     4        Q. Okay. If you look at -- and        12:14:07            4   that a 5 percent premium price on the        12:16:03
     5   let's back up here.                   12:14:10                 5   32-milligram dose at launch realizes about 8 12:16:07
     6            The 32-milligram launch, this 12:14:11                6   million in net sales.                12:16:10
     7   is a new dosage of an existing product on the 12:14:14         7            Do you see that?            12:16:11
     8   market, Exalgo, right?                   12:14:17              8        A. Yes.                      12:16:12
     9        A. Correct.                     12:14:18                  9            MR. DAVISON: Objection.            12:16:13
    10        Q. So prior to this launch, the -- 12:14:18              10   QUESTIONS BY MR. CHALOS:                          12:16:13
    11   Exalgo was available in up to 16-milligram        12:14:22    11        Q. Did you have any role in         12:16:13
    12   dosage?                             12:14:25                  12   forming that recommendation?               12:16:16
    13        A. Specifically 8-milligram,          12:14:25           13        A. Not that I can recall.        12:16:17
    14   12-milligram and 16-milligram strengths.         12:14:27     14        Q. You can flip then to page 8305. 12:16:19
    15        Q. Okay. So what was being              12:14:28         15   It says, "Wholesaler off invoice-OI."       12:16:31
    16   launched here in 2012 was same drug but at a 12:14:31         16            Do you see that?            12:16:36
    17   higher dosage level; is that right?         12:14:35          17        A. Yes.                      12:16:36
    18        A. Yes.                       12:14:37                   18        Q. What does that mean?             12:16:38
    19        Q. Okay. The -- under launch           12:14:38          19        A. I don't recall.            12:16:39
    20   objectives, back to page 8923, the fifth row 12:14:45         20        Q. Did you have any role in         12:16:40
    21   says, "Exalgo mean dose exit as a launch         12:14:49     21   establishing an off-invoice program for      12:16:45
    22   objective." Fiscal year '12 was            12:14:54           22   wholesalers?                        12:16:49
    23   21 milligrams. Fiscal year '13 was            12:14:57        23            MR. DAVISON: Objection.            12:16:49
    24   32 milligrams.                        12:14:59                24            THE WITNESS: Not that I can         12:16:49
    25            Do you see that?              12:15:00               25        recall. That was generally handled by 12:16:51

                                                          Page 163                                                            Page 165
     1       A. Yes.                       12:15:00                     1        our sort of trade group.            12:16:53
     2       Q. Do you have any idea what all         12:15:00          2   QUESTIONS BY MR. CHALOS:                             12:16:53
     3   of that means?                       12:15:01                  3        Q. Okay. If you flip then to          12:16:54
     4       A. I do not recall.              12:15:02                  4   8307, "Retail stocking incentive program." 12:17:02
     5       Q. Was one of the launch              12:15:03             5   It's "pharmacy stock incentive program           12:17:09
     6   objectives to increase the mean dose of       12:15:07         6   considerations for 32-milligram launch."         12:17:12
     7   Exalgo among patients?                    12:15:09             7             Did you have any role in the      12:17:14
     8            MR. DAVISON: Objection.             12:15:10          8   retail stocking incentive program for          12:17:16
     9            THE WITNESS: Not that I can          12:15:13         9   pharmacies?                           12:17:19
    10       recall.                     12:15:14                      10        A. Similar to the previous            12:17:20
    11   QUESTIONS BY MR. CHALOS:                           12:15:14   11   question, not that I can recall. It was      12:17:22
    12       Q. Okay. Were you involved in the 12:15:19                12   usually handled by our trade group.            12:17:24
    13   pricing of Exalgo?                     12:15:20               13        Q. Okay. Let's flip these to         12:17:28
    14       A. I participated in meetings on       12:15:22           14   8309, "Stocking Tools."                    12:17:33
    15   the pricing.                       12:15:24                   15             "Physician stocking request       12:17:34
    16       Q. Okay. Did you have input into 12:15:25                 16   pad."                              12:17:45
    17   the pricing strategy?                 12:15:26                17             Do you see that pad?           12:17:45
    18       A. Limited.                     12:15:28                  18        A. Yes.                        12:17:46
    19       Q. Limited to what?                 12:15:30              19        Q. Is this -- in the bottom right 12:17:47
    20       A. I mean, I had input, but I        12:15:31             20   there's a little picture of something called 12:17:50
    21   wasn't a decision-maker on the final price. 12:15:34          21   a physician stocking request.               12:17:51
    22       Q. Okay. If you look at             12:15:36              22             Do you see that?             12:17:53
    23   page 8303, "Pricing sensitivity analysis,     12:15:45        23        A. Yes.                        12:17:54
    24   executive summary."                      12:15:53             24        Q. Is that something that was          12:17:54
    25            Do you see that?             12:15:53                25   printed by Mallinckrodt and given to doctors? 12:17:56

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                                                           Page 166                                                            Page 168
     1       A. It wasn't printed by              12:17:59                1       Q. Okay. Let's please turn to          12:19:25
     2   Mallinckrodt; it was printed by one of our       12:18:00        2   8312, "New Dose Conversion Tools."               12:19:32
     3   printing vendors. But, yes, it was -- it was 12:18:02            3           First bullet point is, "New      12:19:39
     4   used by the sales representatives.           12:18:07            4   dosing guide rolled out at April POA           12:19:50
     5       Q. Okay. And they would present             12:18:10         5   meeting."                           12:19:53
     6   this to a doctor for the doctor's signature? 12:18:11            6           Do you see that?               12:19:54
     7            MR. DAVISON: Objection.               12:18:14          7       A. Yes.                        12:19:54
     8            THE WITNESS: I believe so.            12:18:15          8       Q. What's POA?                      12:19:55
     9   QUESTIONS BY MR. CHALOS:                             12:18:18    9       A. I think it's plan of action.      12:19:55
    10       Q. Okay.                         12:18:21                   10       Q. Okay. Was there a new dosing 12:19:57
    11       A. I know that's how they were           12:18:22           11   guide produced in connection with Exalgo          12:19:58
    12   trained.                            12:18:24                    12   32 milligrams?                        12:20:00
    13       Q. That is how they were trained? 12:18:24                  13       A. I believe so, but I can't        12:20:01
    14       A. I believe so.                  12:18:26                  14   recall.                           12:20:03
    15       Q. Okay. Were they also trained           12:18:27          15       Q. Okay. Was there a free trial 12:20:03
    16   to then carry the physician stocking request 12:18:28           16   program for patients to receive a free trial 12:20:07
    17   to the pharmacy themselves, meaning the sales 12:18:31          17   of Exalgo?                           12:20:10
    18   reps do that?                         12:18:35                  18       A. I believe so.                 12:20:10
    19            MR. DAVISON: Objection.               12:18:36         19       Q. Okay. Was there a new iPad app 12:20:11
    20            THE WITNESS: I believe they            12:18:37        20   introduced at some point?                 12:20:14
    21       would.                          12:18:40                    21       A. I believe so.                 12:20:14
    22   QUESTIONS BY MR. CHALOS:                             12:18:40   22       Q. And do you know, was there an 12:20:15
    23       Q. Is that how they were trained? 12:18:40                  23   Exalgo regional teleconference series?         12:20:17
    24       A. I believe so.                  12:18:41                  24       A. That, I don't know.              12:20:20
    25       Q. Okay.                         12:18:42                   25       Q. Okay. If you'd flip to the         12:20:22

                                                          Page 167                                                             Page 169
     1       A. But I can't recall              12:18:42                  1 next page, 8313.                         12:20:23
     2   specifically.                       12:18:43                     2       A. Yes.                         12:20:30
     3       Q. All right. Let's go back to         12:18:44              3       Q. Was there a three-star             12:20:31
     4   8308, which is the preceding page. It's        12:18:46          4   prescriber and 16-milligram pharmacy            12:20:33
     5   "Trade Communications."                      12:18:53            5   targeting program rolled out with respect to 12:20:35
     6            Do you see that?               12:18:54                 6   Exalgo 32 milligrams?                     12:20:37
     7       A. Yes.                        12:18:54                      7            MR. DAVISON: Objection.              12:20:38
     8       Q. "e-Pharm alert to coincide with 12:18:55                  8            THE WITNESS: Not that I can           12:20:38
     9   product availability, reaching 176,000         12:18:58          9       recall.                        12:20:39
    10   pharmacists."                         12:19:01                  10   QUESTIONS BY MR. CHALOS:                            12:20:39
    11            Do you see that?               12:19:01                11       Q. Okay. Let's flip, please, to       12:20:40
    12       A. Yes.                        12:19:01                     12   82 -- sorry, 8323.                     12:20:52
    13       Q. Was that actually done in            12:19:02            13       A. Sorry, you said 8323?               12:20:55
    14   connection with the Exalgo 32 milligrams?          12:19:04     14       Q. 8323, yes, sir, "Concept rank." 12:20:58
    15       A. I can't recall.               12:19:05                   15       A. Okay.                         12:21:01
    16       Q. Was there a product                12:19:06              16       Q. And there are one, two, three, 12:21:02
    17   announcement letter to retailers in          12:19:07           17   four, five marketing concepts outlined here 12:21:08
    18   connection with this launch?                12:19:10            18   with little pictures on the right.        12:21:14
    19       A. I can't recall if that ever       12:19:11               19            Do you see that?              12:21:16
    20   went out.                          12:19:13                     20       A. Yes.                         12:21:16
    21       Q. Okay. Do you know whether any 12:19:14                   21       Q. Were all five of these concepts 12:21:17
    22   of the bullet points on page 8308 of          12:19:15          22   ultimately used with connection -- in         12:21:19
    23   Exhibit 15 ever actually occurred with          12:19:21        23   connection with Exalgo 32 milligrams?            12:21:22
    24   respect to Exalgo 32 milligrams?              12:19:22          24       A. No.                          12:21:23
    25       A. I cannot recall.                12:19:24                 25       Q. Which ones were used, if you           12:21:24

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                                                          Page 170                                                            Page 172
     1 remember?                              12:21:25                  1       Q. Okay. How about if you flip to 12:22:58
     2       A. I believe just the top one.       12:21:25              2   the next page, "Adheris Marketing              12:22:59
     3       Q. "Change the face of pain"?          12:21:27            3   Persistency."                        12:23:05
     4       A. Correct.                    12:21:28                    4            Was this program ever            12:23:12
     5       Q. Okay. With the woman peeling           12:21:29         5   implemented with respect to Exalgo?              12:23:14
     6   her face off?                      12:21:33                    6       A. Not to my knowledge.                 12:23:15
     7            MR. DAVISON: Objection.             12:21:34          7            (Mallinckrodt-Wessler Exhibit       12:23:32
     8            THE WITNESS: Correct.              12:21:34           8       16 marked for identification.)          12:23:32
     9   QUESTIONS BY MR. CHALOS:                           12:21:35    9   QUESTIONS BY MR. CHALOS:                             12:23:32
    10       Q. Okay. Did you design that           12:21:36           10       Q. I'll mark as Exhibit 16            12:23:41
    11   concept?                           12:21:37                   11   MNK-T1_0000942223, and it says "FY '15               12:23:48
    12       A. I did not.                  12:21:37                   12   Xartemis XR Brand Planning, Key Strategic           12:23:58
    13       Q. Do you know who did?                12:21:38           13   Imperatives and Critical Success Factors,        12:24:01
    14       A. Our advertising agency.            12:21:40            14   August 7, 2014, Michael Wessler, product           12:24:05
    15       Q. Okay. If you can flip to 8337 12:21:42                 15   director."                          12:24:08
    16   of Exhibit 15, "Catalina marketing           12:21:47         16            First question will be, did you 12:24:09
    17   persistency."                       12:22:03                  17   prepare this or was this prepared at your       12:24:26
    18            Do you see that?             12:22:04                18   direction.                          12:24:27
    19       A. Yes.                       12:22:05                    19            Okay. You ready?                12:26:49
    20       Q. There's a program design with a 12:22:05               20       A. Yes.                         12:26:50
    21   set of bullet points about messaging Exalgo 12:22:07          21       Q. So did you prepare this             12:26:50
    22   patients.                         12:22:08                    22   preparation or was it prepared at your         12:26:53
    23            Did that ever actually happen? 12:22:08              23   direction?                          12:26:55
    24       A. Not to my recollection.           12:22:11             24       A. I don't recall specifically.       12:26:55
    25       Q. Catalina marketing, is that an 12:22:12                25       Q. Do you recall giving this           12:26:59

                                                          Page 171                                                            Page 173
     1 outside vendor?                         12:22:14                 1   presentation somewhere?                      12:27:01
     2       A. I believe so.                 12:22:15                  2        A. I don't recall.               12:27:02
     3       Q. Okay. Was there ever any            12:22:16            3        Q. Xartemis was -- well, let's         12:27:04
     4   messaging to existing Exalgo patients         12:22:18         4   flip over to the second page. We'll just        12:27:11
     5   directly?                         12:22:26                     5   look at this.                       12:27:14
     6            MR. DAVISON: Objection.             12:22:27          6        A. Sure.                       12:27:15
     7            THE WITNESS: Not that I can          12:22:27         7        Q. The brand vision for Xartemis          12:27:15
     8       recall.                      12:22:29                      8   was to establish Xartemis XR as the              12:27:17
     9   QUESTIONS BY MR. CHALOS:                           12:22:29    9   first-line opioid agent for acute pain in      12:27:22
    10       Q. In other words, they're out        12:22:30            10   targeted accounts; is that right?            12:27:25
    11   running a program where -- messages going out 12:22:34        11        A. That's what it says, yes.          12:27:27
    12   to Exalgo patients when they're filling the 12:22:36          12        Q. What is a targeted account?           12:27:29
    13   prescription, between the fills and being     12:22:38        13        A. That would be physicians'             12:27:32
    14   late on fills.                    12:22:41                    14   offices where our sales representatives were 12:27:34
    15            Is there any such program,       12:22:42            15   educating.                           12:27:38
    16   whether it's Catalina or any other vendor?     12:22:44       16        Q. Okay. If you flip, please,          12:27:40
    17            MR. DAVISON: Objection.             12:22:47         17   to -- well, no page numbers. Strategic          12:28:00
    18            THE WITNESS: Is there any such 12:22:47              18   imperative number 1, the second page of it, 12:28:04
    19       a program, or did Exalgo use any such 12:22:49            19   it says, "key insight" -- oh, wait. Whoa,       12:28:08
    20       a program?                      12:22:51                  20   wait a minute. What? There are --              12:28:10
    21   QUESTIONS BY MR. CHALOS:                           12:22:52   21             So "Strategic imperative         12:28:13
    22       Q. Right, did Exalgo use any such 12:22:52                22   number 1, key insight, surgery center            12:28:15
    23   a program.                          12:22:54                  23   show" -- no, it's the next one, I think.      12:28:20
    24       A. Not to my knowledge. Not that 12:22:55                 24   Yeah, there it is.                    12:28:24
    25   I can remember.                       12:22:58                25             Okay. Well, it says,           12:28:25

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                                                        Page 174                                                                Page 176
     1 "Strategic imperative number 1, CSF 2,           12:28:30       1       A. Yes.                        12:30:32
     2   explore leveraging hospital sales force."     12:28:36        2       Q. Do you know what that means?              12:30:32
     3            Do you see that?             12:28:40                3       A. I don't remember specifically. 12:30:34
     4       A. Yes.                       12:28:40                    4   I believe that there weren't any sort of      12:30:39
     5       Q. Okay. I'm looking at the third 12:28:41                5   guidelines from any physician society around 12:30:41
     6   major bullet on the right, "Although not a     12:28:59       6   specifically what products to use and how to 12:30:47
     7   strong revenue driver, hospital channel       12:28:47        7   treat acute pain.                    12:30:49
     8   provides access to discharge RX."            12:28:50         8       Q. Were there ever any established 12:30:51
     9            Do you see that?             12:28:53                9   guidelines developed for treatment of acute 12:30:53
    10       A. Yes.                       12:28:53                   10   pain, to your knowledge?                   12:30:54
    11       Q. Okay. What role did you have, 12:28:54                11            MR. DAVISON: Objection.               12:30:55
    12   if any, at Mallinckrodt in marketing to      12:28:55        12            THE WITNESS: I don't know.             12:30:55
    13   hospitals?                         12:28:59                  13   QUESTIONS BY MR. CHALOS:                             12:30:56
    14       A. I believe that at this time,     12:29:04             14       Q. What was MNK 155?                     12:30:57
    15   this was around the time of the OFIRMEV sales 12:29:10       15       A. That was a product in              12:31:00
    16   force, which was -- which was an             12:29:14        16   development at Mallinckrodt.                 12:31:04
    17   acetaminophen IV product that came on board, 12:29:16        17       Q. Did it ever make it to market? 12:31:05
    18   and this is talking about leveraging that    12:29:19        18       A. I do not recall. I don't         12:31:07
    19   sales force in the promotion of Xartemis XR. 12:29:22        19   believe so.                         12:31:09
    20       Q. Okay. OFIRMEV is                    12:29:25          20       Q. Let's flip to "Strategic          12:31:09
    21   O-F-I-R-M-E-V?                          12:29:29             21   imperative number 3, key insights, around         12:31:19
    22       A. Sorry, I almost have to see it 12:29:30               22   30 percent of commercial ads." Yeah, that's 12:31:25
    23   written out. I believe so.             12:29:32              23   it. You got it.                     12:31:27
    24       Q. I'm just reading it from that      12:29:33           24            Strategic imperative number 3, 12:31:29
    25   page.                            12:29:36                    25   I'm looking at the third bullet point, "Top 12:31:33

                                                        Page 175                                                                Page 177
     1       A. Oh, okay. Oh, there it is,          12:29:37           1 limitations to use Xartemis XR prescribing         12:31:36
     2   yes, I'm sorry.                      12:29:38                 2 are patient out-of-pocket costs and managed          12:31:39
     3       Q. Okay. What was OFIRMEV?                    12:29:39    3 care coverage."                        12:31:41
     4       A. An intravenous acetaminophen             12:29:43      4           Do you see that?             12:31:42
     5   product.                            12:29:46                  5      A.    Yes.                     12:31:43
     6       Q. Okay. Nonopioid?                    12:29:46           6      Q.    What does that mean?             12:31:44
     7       A. Correct.                      12:29:48                 7      A.    That means that we were not         12:31:46
     8       Q. Okay. So did you have any role 12:29:48                8 well-covered on managed care plans. Our              12:31:48
     9   in marketing OFIRMEV?                         12:29:49        9 Xartemis XR was not well-covered on managed             12:31:52
    10       A. Very peripherally towards the          12:29:51       10 care plans.                         12:31:55
    11   end of my time at Mallinckrodt.               12:29:58       11      Q.    Did you play a role in         12:31:55
    12       Q. And what was your role?               12:29:59        12 marketing Xartemis to managed care plans?            12:31:56
    13       A. I think I reviewed a couple of 12:30:00               13           MR. DAVISON: Objection.              12:31:59
    14   tactics. It was, like I said, towards the    12:30:02        14           THE WITNESS: No. That was               12:31:59
    15   end of my time at Mallinckrodt. I don't         12:30:04     15      handled by our managed care group.           12:32:00
    16   remember what specifically they were, though. 12:30:10       16 QUESTIONS BY MR. CHALOS:                              12:32:02
    17       Q. Did you have any role in             12:30:11         17      Q.    Okay. Next bullet is,          12:32:02
    18   marketing to hospital formularies?             12:30:12      18 "Coverage is consistent with other recently       12:32:06
    19       A. Not to hospital formularies,         12:30:15         19 launched brands; however, market is             12:32:08
    20   no.                               12:30:19                   20 ubiquitously generic."                    12:32:13
    21       Q. Okay. If you flip to the next 12:30:19                21           Do you see that?             12:32:15
    22   page, "Key insights, lack of consensus and no 12:30:21       22      A.    Yes.                     12:32:15
    23   established guidelines for the treatment of 12:30:29         23      Q.    What does that mean?             12:32:15
    24   acute pain."                         12:30:31                24      A.    That means the acute pain        12:32:18
    25            Do you see that?               12:30:31             25 market is -- consists mostly of generic        12:32:20

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                                                                             Review
                                                        Page 178                                                Page 180
     1 products.                            12:32:24                   1             CERTIFICATE
                                                                       2
     2      Q. That was a challenge to             12:32:24            3           I, CARRIE A. CAMPBELL, Registered
     3   marketing Xartemis?                      12:32:34                 Diplomate Reporter, Certified Realtime
     4      A. Yeah, the fact that Xartemis XR 12:32:38
                                                                       4   Reporter and Certified Shorthand Reporter, do
                                                                           hereby certify that prior to the commencement
     5   had a high co-pay relative to the competitive 12:32:41        5   of the examination, Michael Wessler was duly
     6   products, yes.                       12:32:46                     sworn by me to testify to the truth, the
                                                                       6   whole truth and nothing but the truth.
     7      Q. And Mallinckrodt put in place a 12:32:46                7           I DO FURTHER CERTIFY that the
     8   co-pay discount program for Xartemis at some 12:32:50             foregoing is a verbatim transcript of the
                                                                       8   testimony as taken stenographically by and
     9   point?                            12:32:56                        before me at the time, place and on the date
    10      A. I believe so.                  12:32:56
                                                                       9   hereinbefore set forth, to the best of my
                                                                           ability.
    11           MR. CHALOS: Okay. You can put 12:33:04               10
    12      that aside for now.                12:33:04                            I DO FURTHER CERTIFY that I am
                                                                      11   neither a relative nor employee nor attorney
    13           I may be about finished, so why 12:33:06                  nor counsel of any of the parties to this
    14      don't we -- we don't have to get up.     12:33:08
                                                                      12   action, and that I am neither a relative nor
                                                                           employee of such attorney or counsel, and
    15      If you can just let Peter and I go     12:33:11           13   that I am not financially interested in the
    16      talk for just a minute, and then -- so 12:33:14
                                                                           action.
                                                                      14
    17      we may be just about finished, or may 12:33:17            15
                                                                      16
    18      be finished.                     12:33:20                         ____________________________
    19           VIDEOGRAPHER: We are going off 12:33:20              17      CARRIE A. CAMPBELL,
                                                                              NCRA Registered Diplomate Reporter
    20      the record at 12:33 p.m.             12:33:21             18      Certified Realtime Reporter
    21       (Off the record at 12:33 p m.)        12:33:23                   Notary Public
                                                                      19      Dated: January 16, 2019
    22           VIDEOGRAPHER: We are back on              12:35:55   20
                                                                      21
    23      the record at 12:35 p.m.             12:35:56             22
    24           MR. CHALOS: Okay. Thank you             12:35:58     23
                                                                      24
    25      for being here today, Mr. Wessler. I 12:35:59             25

                                                        Page 179                                                Page 181
     1      have no more questions for you at this 12:36:01            1         INSTRUCTIONS TO WITNESS
     2      time subject to our discussion at the 12:36:02             2
     3      beginning of the deposition. So thank 12:36:03             3           Please read your deposition over
     4      you.                         12:36:04                      4   carefully and make any necessary corrections.
     5           THE WITNESS: Thank you.             12:36:04          5   You should state the reason in the
     6           VIDEOGRAPHER: We are going off 12:36:06               6   appropriate space on the errata sheet for any
     7      the record at 12:35 p.m.            12:36:07               7   corrections that are made.
     8     (Deposition concluded at 12:35 p m.)      12:36:09          8           After doing so, please sign the
     9            –––––––                                              9   errata sheet and date it. You are signing
    10                                                                10   same subject to the changes you have noted on
    11                                                                11   the errata sheet, which will be attached to
    12                                                                12   your deposition.
    13                                                                13           It is imperative that you return
    14                                                                14   the original errata sheet to the deposing
    15                                                                15   attorney within thirty (30) days of receipt
    16                                                                16   of the deposition transcript by you. If you
    17                                                                17   fail to do so, the deposition transcript may
    18                                                                18   be deemed to be accurate and may be used in
    19                                                                19   court.
    20                                                                20
    21                                                                21
    22                                                                22
    23                                                                23
    24                                                                24
    25                                                                25


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                                                                             Review
                                                  Page 182                                        Page 184
     1        ACKNOWLEDGMENT OF DEPONENT                      1          –––––––
     2                                                                   LAWYER'S NOTES
     3                                                        2          –––––––
     4            I,______________________, do                3   PAGE LINE
         hereby certify that I have read the foregoing
     5   pages and that the same is a correct
                                                              4   ____ ____ _____________________________
         transcription of the answers given by me to          5   ____ ____ _____________________________
     6   the questions therein propounded, except for         6   ____ ____ _____________________________
         the corrections or changes in form or                7   ____ ____ _____________________________
     7   substance, if any, noted in the attached             8   ____ ____ _____________________________
         Errata Sheet.                                        9   ____ ____ _____________________________
     8
     9
                                                             10   ____ ____ _____________________________
    10                                                       11   ____ ____ _____________________________
    11                                                       12   ____ ____ _____________________________
    12   ________________________________________            13   ____ ____ _____________________________
         Michael Wessler   DATE                              14   ____ ____ _____________________________
    13                                                       15   ____ ____ _____________________________
    14
                                                             16   ____ ____ _____________________________
    15   Subscribed and sworn to before me this
    16   _______ day of _______________, 20 _____.
                                                             17   ____ ____ _____________________________
    17   My commission expires: _______________              18   ____ ____ _____________________________
    18                                                       19   ____ ____ _____________________________
    19   Notary Public                                       20   ____ ____ _____________________________
    20                                                       21   ____ ____ _____________________________
    21
    22
                                                             22   ____ ____ _____________________________
    23
                                                             23   ____ ____ _____________________________
    24                                                       24   ____ ____ _____________________________
    25                                                       25

                                                  Page 183
     1          –––––––
                  ERRATA
     2          –––––––
     3   PAGE LINE CHANGE/REASON
     4   ____ ____ _____________________________
     5   ____ ____ _____________________________
     6   ____ ____ _____________________________
     7   ____ ____ _____________________________
     8   ____ ____ _____________________________
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